EXHIBIT 2
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

MARTA VALENTINA RIVERA               Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MIFAMILIA VOTAEDUCATION
FUND, UNIDOSUS, and VAMOS4PR,

      PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

      DEFENDANTS.

                  DECLARATION OF MARK ANDERSEN,

             SUPERVISOR OF ELECTIONS OF BAY COUNTY

      I, Mark Andersen, according to 28 U.S.C. § 1746, hereby state:

      1.     My name is Mark Andersen. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.

      2.     I have served as Bay Supervisor of Elections for over 17 years. As

Supervisor, my duties include preparation of ballots, administering all aspects of

voting, including vote-by-mail voting, early voting, and Election Day voting,
hiring and training election workers, voter registration activities, voter education,

and maintaining election equipment. In Bay County, we have 44 voting precincts

throughout the County, which is an area that covers over 1,000 square miles and

has a population of over 180,000, with approximately 120,000 registered voters.

      3.       I have been advised of the relief that the Plaintiffs in this case are

seeking, which includes injunctive relief ordering thirty-two of the State's

Supervisors of Elections, including myself, to provide several forms of aide to non-

English speaking Puerto Rican voters. As detailed further below, it would be

impossible for my office to comply with these items in time for the General

Election.

      4.       Currently, this office is:

            a. In the process of additional security upgrades and security

               requirements to ensure that the integrity of the election process is

               successful in this office and in the eyes of the public. In an office the

               size of my office, this in itself is extremely tasking and requires multi-

               tasking of staff with specific expertise.

            b. Involved in Vote By Mail Processing and Early Voting as well as

               Election Day Prep requirements for the August 28th 20 18 Primary

               Election. This involves communication and management of over 500




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              Precinct Election Officials (poll workers) and Polling Location access

              validation/delivery planning.

           c. Finishing and validating the final equipment and material preparation

              by August 30th for the November 6th election.

      5.      Once we conclude the August 28th Primary Election, we have a short

window of time to report and certify the Primary Election results and meet other

deadlines for the General Election. Those include the following items or

deadlines:

           a. August 31st - report unofficial returns of Primary Election to the

              Department of State;

           b. September 4th- deadline to certify results of Primary Election to the

              Department of State;

           c. September 7th - Ballot Certification is expected from the Division of

              Elections;

           d. September 1Oth to 11th - Ballot Coding;

           e. September 12th- Vote By Mail Test Deck must be printed and

              created;

           f. September 14th - Vote By Mail testing;

           g. September 17th - first Vote By Mail ballots are mailed out.




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      6.     As indicated above, there is a short period of time (13 days) between

certifying the Primary Election results and sending out the first set of Vote By Mail

ballots. During this period of time, we need to have the General Election ballots

finalized, approved and printed and test our systems for the Vote By Mail ballots.

We also need to have supplies on hand to print the ballots and prepare envelopes

for mailing. At this point, we have already ordered the supplies (paper, envelopes,

printer supplies and other materials) based on the format of the ballots we

anticipate using and have templates done for the General Election ballots.

      7.     In the event we are required to prepare bi-lingual ballots, especially

those for Vote By Mail, it would double the size of the ballot (from the current 2

sheet, 4 page ballot to a 4 sheet, 8 page ballot), which would impact the necessary

supplies and materials and envelope sizes (which we currently do not have on

hand) and the ballot template. Without regard to other supervisors of elections that

could similarly be impacted, it would be difficult to obtain the additional supplies

needed in short order to meet such a change. However, since Plaintiffs' lawsuit

affects 32 counties in Florida, it would be impossible to obtain the necessary

additional supplies in a matter of a few days. This is just one example of the

logistical impossibility of meeting the requirements of what the Plaintiffs are

seeking in terms of injunctive relief in this case.




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      8.      When it comes to the Early and Election Day voting for the General

Election, a smaller county like Bay County is also unable to meet the requests the

Plaintiffs seek in this case. For instance, Plaintiffs' request for bilingual assistance

with Early and Election Day voting and absentee voting would require:

           a. Training of bilingual poll workers, which has never been performed in

              Bay County and would require development of written procedures and

              a training program.

           b. At least 88 bi-lingual Poll Workers to cover 44 precincts (1 bilingual

              Democratic poll worker and 1 bilingual Republican poll worker for

              each precinct) which is currently not available. In addition,

              independent or other third-parties could request bi-lingual Poll

              Workers, thereby increasing this number.

           c. A bi-lingual ballot (going from the current 2 sheet, 4 page ballot to a 4

              sheet, 8 page ballot) creates recording, storage and transportation

              logistical issues that have never been performed in the history of Bay

              County and would be extremely problematic. This would essentially

              double the amount of materials in terms of ballots that would need to

              be transported to and from each precinct and stored thereafter. Our

              office has not anticipated or planned for such requirements for the

              20 18 General Election.


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      9.       Finally, I understand that Plaintiffs want each Supervisor to provide

Spanish-language election materials, voting guides, registration materials and

sample ballots. In my opinion and based upon my experience, I do not think this is

necessary and any cost to provide such would be outweighed by any benefit that

this would provide:

            a. Bay County has not had this request in the past.

            b. Some Spanish language materials are available on the Florida

               Secretary of State Website, which include information of voting

               guides and registration materials.

            c. The limited amount of time available and the need for creation of new

               materials, training programs and testing within the time period for the

               relief requested by the Plaintiffs is not realistic.

            d. Complete documentation overhaul to include the Spanish language

               materials creates an additional unplanned task on this office.

      10.      To date, my office has not been notified of any need for or problems

with assistance to non-English speaking Puerto Rican voters in Bay County. In the

past, we have always met the needs of our voters while I have been serving as

Supervisor of Elections, and I am not aware of any instances where non-English

speaking Puerto Rican voters' needs have not been met.




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       11.   Due to the fact that Plaintiffs waited until this date to file their lawsuit

and seek the injunctive relief requested in this case, it is fiscally impossible for my

office. Our budgeting for the current year has already been completed, and our

budget did not include allocations to accommodate the additional material and

labor requirements (detailed above) to meet the injunctive requests made by the

Plaintiffs. A budget request and approval would be required prior to being able to

meet the unfunded proposed relief requested.

       12.   As I understand it, Plaintiffs' expert has identified 380 registered

voters in Bay County who were born in Puerto Rico and 573 adults in Bay County

who are 18 and over, who speak Spanish at home, and who speak English less than

"very well." 1 These statistics are not the equivalent of there being 573 non-English

speaking Puerto Rican voters in Bay County who would need assistance as

requested by Plaintiffs in this case. Even taking the higher 573 adult number, this

is less than 0.45% of the total registered voters in Bay County. To completely redo

the ballot, election materials, voting guides, registration materials, sample ballots

and Vote By Mail materials and add bi-lingual Poll Workers is not only fiscally

and logistically impossible at this date, it appears such would be a strain on

resources based on even the potential (yet unproven) claim that there are affected

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  These statistics are cited as Plaintiffs' "best case scenario" and not an admission
that such demonstrate any affected voters. Further, exception is taken with regard
to individuals who speak English "less than well" as being voters who would
require assistance.
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voters in Bay County. Plaintiffs' requests in this case are not tailored toward the

needs (if any) of any non-English speaking Puerto Rican voters in Bay County who

might need assistance. In the event any injunctive relief should be entered which

would affect my office and Bay County, Plaintiffs should be required to address

and prove whether there are any voters actually affected, and such relief should be

tailored to address our specific needs. As stated above, I have been in office for

over 17 years and am unaware of any unaddressed needs in Bay County.

      13.    Despite this fact, Plaintiffs seek injunctive relief which would affect

the other 99.55+% of the 120,000 voters in Bay County, whom have never seen

before or are familiar with a multi-language ballot. Due to the limited amount of

time available, it would not allow our office to adequately educate the Bay County

voters and I anticipate it would cause confusion to most voters.

      14.    Based on my experience and the specific circumstances here in Bay

County, I have no confidence that we would be able to comply with any of the

requested relief in time for the November 6, 2018 General Election based on the

fiscal, logistical and other issues described above.

      15.    In summary, the focus during this critical election time is to provide

secure, fair, and accurate elections free from confusion and errors while also

maintaining voter confidence. Months of preparation and planning have gone into

the Primary and General Elections, and the current planned election timeline and


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budget simply do not allow for the massive amount of changes and considerations

that would be required in order to successfully provide the relief the Plaintiffs are

requesting. These changes would put great strain on our available resources and are

potentially physically and logistically impossible to pull off in the requested

timeline.




On August 24, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct:




Bay County Supervisor of Elections.




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EXHIBIT 3
                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

MARTA VALENTINARIVERA
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MIFAMILIA VOTAEDUCATION
FUND, UNIDOSUS, and V AMOS4PR,
                                                Case No. 1:18-cv-00152-MW-GRJ
      Plaintiffs,
v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

      Defendants.
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                   DECLARATION OF SUSAN GILL,
             CITRUS COUNTY SUPERVISOR OF ELECTIONS

      In accordance with 28 U.S.C. § 1746, I hereby state:

      1.     My name is Susan Gill. I am over 18 years old, competent to testify,

and declare the following based on my personal knowledge.

      2.     I have served as the Citrus County Supervisor of Elections since 1997.

My office is located at 120 N. Apopka Ave., Inverness, FL 34450. I oversee a staff

of nine (9) full-time employees.
       3.     As Supervisor of Elections, my duties include preparation of ballots,

administering all aspects of voting, including vote-by-mail voting, early voting, and

election day voting, hiring and training election workers, voter registration activities,

voter education, and maintaining election equipment.

       4.     The Supervisor of Elections is an elected, constitutional office

established under Article 8, Section 1 of the Florida Constitution. The duties and

responsibilities of the office are described under section 98.015, Fla. Stat., among

other statutes.

       5.     Under Florida law and the Citrus County Code of Ordinances, the

Citrus County Board of County Commissioners ("BOCC") funds the Citrus County

Supervisor of Elections.      This is accomplished through the County's annual

budgetary process, which culminates with the issuance of a fiscal year budget on or

about October 1 of each year. The budgetary and funding process generally involves

submitting a budgetary request to the Department of Management & Budget

("DMB") each year, which is analyzed by DMB along with the County's other

budgetary concerns and responsibilities. DMB, through County Administration,

then makes a recommendation to the BOCC, who has budgetary decision-making

authority, including the amount allocated to the Supervisor.

      6.     At this time, I have submitted my budgetary request for fiscal year

2019, which begins on October 1, 2018.

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       7.    My office is currently administering the November 2018 general

election in Citrus County. Preparation for this (and any) election is a year-round

process, which involves considerable advance planning, coordination, and careful

budgetary allocations.

       8.    The primary election will be held on August 28, 2018. We are in the

process of conducting early voting, and preparing for the primary by setting up

polling places, receiving and canvassing absentee ballots, and addressing voter

concerns. My staff and I are all working late nights and weekends as necessitated

by the busy election schedule. Immediately after primary election voting closes, we

will commence the handing of election night reporting, and begin reconciling ballots

and results the next day. Provisional ballots will also have to be researched and

canvassed. And, it is always possible that there will be a need for a recount.

      9.     Immediately after certification of the primary election results, we will

begin preparing for the general election. The deadline to mail overseas ballots for

the general election is September 22, 2018. Before that, we have to prepare the

ballot with the certified candidates for the general election, as well as monitor the

results of any pending lawsuits concerning amendments which may be struck from

the ballot. Notably, security sleeves for vote-by-mail ballots have already been

printed.




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       10.   On September 18, 2018, we will begin equipment training for the

general election, for poll workers, who have already been hired and vetted. For this

election, we have a new voting system and new electronic poll books that poll

workers and staff are using for the first time.

       11.   The voter registration books close on October 9, 2018. There is always

increased registration activity in the run up to the closing of the registration books.

       12.   We are actively setting schedules for polling places, and scheduling

equipment drop-offs and pick-ups. Precinct supplies have to be replenished for the

general election, after the primary election. And, equipment must be reprogrammed

and tested for the general election. The equipment "logic and accuracy test" will

occur on October 19, 2018. Early voting will begin October 26, 2018, and the

canvassing of ballots and preparation for election night activities for the general

election will proceed in earnest.

      13.    We are also actively working with candidates on various reports as they

request, and respond to public records requests on a regular basis.

      14.    There are numerous statutory, constitutionally and federally-mandated,

deadlines which apply to the conduct of any election. I have attached as Exhibit 1 a

copy of the Florida Department of State's Election Dates and Activities Calendar for

the 2018 election cycle. The Calendar provides a summary of the dozens of key

dates and deadlines. Among other imminent deadlines, I would again note: the

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primary election is set to take place on August 28, 2018 (see section 100.061, Fla.

Stat.); September 6, 2018 is the deadline to certify the primary election results (see

section 102.111, Fla. Stat.); and September 22, 2018 is the deadline to send vote-by-

mail ballots to absent stateside uniformed and overseas voters for the general

election (see section 101.62, Fla. Stat.).

       15.   My office works year-round to comply with these various key dates and

deadlines. It is fair to say that, as of the preparation of this declaration, we are in

"crunch time" as to the 2018 general election, and any delay or disruption of my

office's long-planned and carefully-coordinated activities will send the 2018

election in Citrus County into chaos and disarray.

      16.    I understand a lawsuit titled Rivera Madera, et al., v. Ken Detzner, et

al., was recently filed in the United States District Court for the Northern District of

Florida, Gainesville Division, under case no. 1:18-cv-00152-MW-GRJ. I have

reviewed the case filings as are available on the "pacer" website. It appears I am

identified in the complaint as a member of the proposed defendant class, along with

several other Supervisors of Elections. It appears the Alachua County Supervisor

has been named by the plaintiffs as the proposed defendant class representative. To

date, I have not been served process, and do not understand myself to be a party in

the above matter.




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      17.    I understand the plaintiffs in the case seek an injunction ordering thirty-

two of the State's Supervisors, including myself, to provide several forms of aid to

non-English speaking Puerto Rican voters within coverage of Section 4(e) of the

Voting Rights Act ("VRA").

      18.    As a general and preliminary matter, the allegations in the complaint,

and claims as asserted through the various, voluminous documents attached to

complaint, and the accompanying motions for class certification and preliminary

injunction, are incomplete and misleading with regard to my office, and my office's

efforts and practices as to assisting and accommodating voters or potential voters

with limited or no English proficiency.

      19.    During my tenure, I have counselled my employees and volunteers to

apprise me of any inquires, requests, complaints, or concerns received from voters

or potential voters with limited English proficiency, namely Spanish-speaking voters

or potential voters, in terms of requests for assistance or accommodation. During

my tenure, notwithstanding any alleged presuit communications from the plaintiffs

as referenced in the various court filings, my office has not received any inquiries,

requests, complaints, or concerns in this respect. I can recall one instance where an

individual requested a Spanish-language voter registration form, and we provided

the same over the counter.




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       20.   I am not aware of any electors, including but not limited to voters

educated in Puerto Rico, covered by Section 4( e) of the VRA, in Citrus County who

have requested language assistance and have not been provided with the same.

      21.    I should note, via a declaration filed in Rivera Madera, et al., v. Ken

Detzner, et al., a litigation assistant of one of plaintiffs' law firms claims he called

my office on August 1, 2018, at "(941) 833-5400," and spoke to "Luke." (Dk. 2-3,

p. 7). The above number is not my office's number, and I do not employ anyone

named "Luke." It appears the above number is the number for the Charlotte County

Supervisor of Elections. (I d., p. 6).

      22.    I have reviewed the "[Proposed] Order Granting Plaintiffs' Motion for

a Preliminary Injunction" (dk. 2-1 0) submitted by the plaintiffs, which includes a list

of thirteen (13) actions they seemingly wish to have the Court order the Supervisors

to undertake before the November 6, 2018 general election.

      23.    I have reviewed these actions in detail, and discussed the same with my

staff. Notwithstanding whether the claims asserted in the above lawsuit have or lack

merit, I am of the considered opinion that it would be impractical and impossible for

my office to implement such actions before the November 6, 2018 general election.

Against the backdrop of the above, present activities of my office, below I provide

brief explanations as to such impracticability and impossibility, as to each action

(many of which overlap):


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•   REQUESTED ACTION NO. 1: "Provide information in
    Spanish about all stages of the electoral process pertaining to
    the issuance of notifications, announcements, and other
    informational materials concerning the opportunity to register,
    voter registration deadlines, the times, places, and subject
    matters or elections, and the absentee and early voting
    processes."

          As a basic matter, various "stages" of the upcoming
          primary and general elections have already passed.
          Further, my office does not have certified translators on
          staff to translate all documents relating to Citrus County
          elections. As of this writing, I do not know where in or
          near Citrus County I might locate certified Spanish
          translators, or how long it would take to translate and
          reprint all of the involved election materials. There is
          currently no funding budgeted for the hiring and training
          of translators. The BOCC approved the budget for our
          current operations last year, and the budget did not
          consider the demanded activities of plaintiffs. Our
          proposed budget for fiscal year 2019 (which begins
          October 1, 2018) has already been submitted to DMB, and
          likewise does not consider the demanded activities.

          Given the short timeframe, it is not possible to acquire
          funding for, and hire and train, certified translators to
          translate all materials before the election, and then print
          and place the materials, and further, train all of my
          employees and poll workers as to such revised materials,
          which would add additional, unbudgeted costs.

•   REQUESTED ACTION NO. 2: "Provide, in English and
    Spanish, the following election-related materials: a) the official
    ballot: b) sample ballots: c) absentee and early voting
    applications and ballots: d) provisional ballots: e) voter
    registration cards and applications:f) voting instructions: g) any
    voter information guides or pamphlets: h) notification of
    elections and polling place changes: and i) polling place
    signage."

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Please see my concerns discussed above. Of additional
concern, our new computer voting system is programmed
for English. Our vendor, Election Systems and Software,
has advised it would take well over a month to change the
system to a bi-lingual system, which would involve
ordering Spanish language software, sending it to the State
Division of Elections for verification/certification, and
finally installation and testing. Of course, there would be
considerable unbudgeted expense associated with such
reprogramming and modification.

Moreover, the deadline to mail overseas ballots is
September 22, 20 18. The window for mailing stateside
vote-by-mail ballots is October 2-9,2018. We do not have
certified translators on staff to translate the ballot, which
will not be available until after the primary election results
are certified. The Division has provided a Spanish
translation ofthe 13 amendments on the ballot. But, there
would be the unbudgeted costs to re-print the ballot in
English and Spanish. Re-printing in English and Spanish
would at least double the size of the ballot, adding
additional, unbudgeted cost with regard to the printing and
mailing of the ballots. Again, the demanded timeframe
makes this impossible to accomplish, along with the other
election-related activities. We do have Spanish voter
registration applications in our office, with directions
available in Spanish.

Finally, there are a very limited number of vendors state-
wide who are capable of, and have been certified to, print
and prepare ballots and related materials, bearing in mind
the considerable security and quality concerns. Like the
numerous other Supervisors, my office works with the
printing vendors as to the design and preparation of
election materials far in advance of the primary and
general elections, so that candidate names and referendum
items can simply be "plugged into" the materials. Not
only would any emergency basis modification of such

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          materials result in significant unbudgeted expenses and
          likely lead to mistakes and missed statutory deadlines, but
          assuming all of the proposed defendant class Supervisors
          were required to modify their elections materials at the
          same time on an emergency basis, there would not be
          enough vendors to accomplish the same before the
          election.

•   REQUESTED ACTION NO. 3: "Provide Spanish translations
    of election-related materials, offices up for election, candidates
    who have qualified, and local issues or referenda and
    announcements applicable to elections in the Counties, including
    materials and announcements provided by the State ofFlorida."

          Please see my concerns discussed above.

•   REQUESTED ACTION NO. 4: "Provide the Spanish-English
    Election Terms Glossary prepared by the United States Election
    Assistance Commission at each polling place."

          We have downloaded the aforementioned glossary. We
          would need to have the 62-page document printed for the
          31 polling places, and 4 early vote sites. This is an
          unbudgeted expense, and would require a reallocation of
          work time for employees already committed to other,
          time-sensitive election activities.

•   REQUESTED ACTION NO.5: "Utilize a certified translator to
    prepare translated materials. The translator shall ensure that
    bilingual and Spanish-language material are complete,
    accurate, and accessible for the Counties ' Spanish-speaking
    voters educated in Puerto Rico."

          Please see my concerns discussed above.

•   REQUESTED ACTION NO. 6: "Ensure that English-language
    election information and services available on the County's
    website are available in equivalent and accurate form in
    Spanish, including, but not limited to, information concerning a)

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    polling place location: b) voter information: c) absentee voting:
    and d) poll workers. Spanish-language information and
    materials shall be readily accessible through easily visible and
     identifiable Spanish-language links on each County's website in
    font comparable to that of English-language sections of the
    website."

          Please see my concerns discussed above. Additionally,
          the expense to essentially create a new website, which
          would likely require the hiring of an outside vendor with
          certified translators, is unbudgeted. Such a redesign of our
          website, on an emergency basis in the midst of the run-up
          to the election, would also disrupt and interfere with our
          office's already-busy workload as to the upcoming
          primary and general elections. I do not know how long it
          would take to create a new website, which allows full
          Spanish-language translation of all text and materials
          available through our current website. I should note, our
          website does provide real-time results in multiple
          languages, via Google Translate, by clicking on the "Click
          Here for more information of Live Turnout View" link on
          the main page of the website.

•   REQUESTED ACTION NO. 7: "Provide information in
    Spanish on the County's website and at polling places that any
    voter who requires assistance to vote in English may bring a
    helper to assist them in reading the ballot."

          Please see my concerns discussed above. Further, even if
          time and funding were available for new signs to be made,
          or obtained from the State Division of Elections, or for our
          website to be designed, there is no formulated plan as to
          how to serve the voters needing language assistance, other
          than simply allowing them bring a helper to assist them in
          reading the ballot.     This represents an unbudgeted
          expense, and any such system could not be designed and
          implemented before the general election.




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•   REQUESTED ACTION NO. 8: "Recruit, hire, train, and assign
    bilingual poll workers who are able to understand, speak, write,
    and read English and Spanish .fluently and can provide effective
    translation assistance to Spanish-speaking voters at the polls on
    election days and at early voting locations."

          Please see my concerns discussed above. Additionally, I
          have already hired poll workers for the general election.
          At this point, I do not know how many of them may be
          fluent in Spanish. Recruiting additional workers who are
          fluent in Spanish, during the limited time before the
          general election, would not be possible considering the
          various time constraints discussed, along with the lack of
          budgeted funding for additional workers.

•   REQUESTED ACTION NO. 9: "Provide a) at least one
    bilingual poll worker at any election precinct in which there are
    between 100 and 249 registered voters with Spanish surnames:
    b) at least two bilingual poll workers at any election precinct in
    which there are between 250 and 500 registered voters with
    Spanish surnames: c) at least three bilingual poll workers at any
    election precinct in which there are between 250 and 500
    registered voters with Spanish surnames: d) at least two
    bilingual election officials at each early voting location: and e)
    bilingual personnel, trained in Spanish-language election
    terminology, on call and available by telephone during all early
    voting hours and all hours when the polls are open to provide
    assistance to any Spanish-speaking voters."

          Please see my concerns discussed above. Additionally, I
          have no way of reasonably determining or identifying
          "Spanish surnames," and have no knowledge as to whether
          a "Spanish surname" would accurately identify Puerto
          Rican voters with limited English language ability covered
          by Section 4( e) of the VRA, which I understand to be the
          supposed basis for the above lawsuit. At a minimum, I
          would need to have a list of surnames provided to me, and
          then my office would have to individually identify voters
          with the identified names. This is impractical, subjective,

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           and time consuming. We do know there are Citrus County
           voters who have self-identified as Hispanic on their voter
           registration forms, but these are not necessarily voters with
           "Spanish surnames," Puerto Rican voters, voters with
           limited English proficiency, or voters covered by Section
           4(e) of the VRA.

•   REQUESTED ACTION NO. 10: "Prominently post at each
    polling place signs in English and Spanish explaining how voters
    can obtain Spanish-language assistance."

           Please see my concerns discussed above.

•   REQUESTED ACTION NO. 11: "Recruit, hire, train, and
    assign bilingual personnel who are able to understand, speak,
    write, and read English and Spanish fluently and can provide
    effective translation assistance to Spanish-speaking voters,
    including those who are seeking to register to vote in the
    Counties or seeking to vote by absentee ballot."

           Please see my concerns discussed above. There is simply
           not enough time, or available funding, to accomplish this
           before the November 6, 2018 general election.

•   REQUESTED ACTION NO. 12: "Train all poll officials and
    other election personnel regarding the requirements of Section
    4(e) of the federal Voting Rights Act, 52 USC. §10303(e),
    including the legal obligation and means to make effective
    Spanish-language assistance and materials available to voters."

          Please see my concerns discussed above. Further, such
          training might require the retention of legal consultants,
          which would cause additional, unbudgeted expense.

•   REQUESTED ACTION NO. 13: "In addition to the above
    general training, include in the training ofbilingual poll officials
    the following election-related materials: the official ballot:
    sample ballots: absentee and early voting applications and
    ballots: provisional envelopes: voter registration cards and

                          13
                   applications: voting instructions: any voter information or
                   pamphlets, notification of elections and polling place changes,
                   and polling place signage: Spanish translations of election-
                   related iriformation, materials and announcements applicable to
                   elections in the Counties that are provided by the State of
                   Florida: and a copy of the Spanish-English Election Terms
                   Glossary prepared by the United States Election Assistance
                   Commission."

                          Please see my concerns discussed above.

      24.    By addressing above the actions as requested by the plaintiffs in Rivera

Madera, et al., v. Ken Detzner, et al., I am in no way conceding or agreeing their

claims are valid, or warrant any relief. I am simply addressing whether it might be

hypothetically possible to implement the relief they seek before the November 6,

2018 general election. Again, I am of the considered opinion that it would be

impractical and impossible for my office to implement such actions before

November 6, 2018, and any effort to do so would send the 2018 election in Citrus

County into chaos and disarray.

      25.    I respectfully submit the Court should be cognizant of the fact that

Florida elections officials and staff work tirelessly for successful elections. We are

dedicated to conducting fair, honest, and accurate elections. But, when we are asked

to accomplish last-minute, major changes to plans we have spent months and years

implementing, the integrity of the entire process can be jeopardized.




                                         14
      26.    Another consideration, especially recently, is cybersecurity.        In

addition to the tasks outlined above, we respond to daily questions and concerns over

cybersecurity. At the end of July 2018, the various Supervisors received federal

grant money, through the State, to be used on election security. We were/are,

however, required to use the monies toward new security measures, including the

purchase and implementation of security equipment and software, for the November

6, 2018 general election. While grant monies are certainly welcome, the sudden

receipt of such monies, coupled with the requirement that it must be used toward the

November 6, 2018 general election, has placed an additional time and workload

strain upon my staff.

      27.    Also, we are in the process of planning for a new office, and remodeling

is scheduled to begin on October 1, 2018, which will cause a further strain on staff

time and productivity, while construction activities are taking place.

      28.    Finally, I note again the Alachua County Supervisor has been named as

the putative defendant class representative, based on plaintiffs' claims that: there

are common issues of law and fact which relate to the proposed defendant class; the

"class members have all engaged in and intend to engage in the same course of

conduct against Plaintiffs;" the Alachua County Supervisor's defenses "are typical

of the claims or defenses of the proposed defendant class;" and the Alachua County

Supervisor "can fairly and adequately protect the interests of the Defendant class of

                                          15
Supervisors." Contrary to plaintiffs' assertions, each of the potential defendant class

member Supervisors is a separately-elected constitutional officer, which operates

independent of other Supervisors. For example, I do not coordinate my efforts as

the Citrus County Supervisor, with the Alachua County Supervisor (or any other

Supervisor). And, each Supervisors, including myself, implements local, state, and

federal elections law in accordance with the circumstances of his or her respective

county, including circumstances as to budgetary constraints, and relevant

demographics and population characteristics and distribution.

      29.    It is inaccurate to surmise the factual and legal issues are all the "same"

for each of the proposed defendant class member Supervisors, so as to justify any

conclusion that the Alachua County Supervisor-or any other Supervisor-may be

deemed a reasonable proxy for myself with regard to the above lawsuit.




                                          16
      I, on this 24th day of August, 20 18, declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.




                                       Is/

                                              Supervisor of Elections,
                                              Citrus County, Florida




                                         17
EXHIBIT 1
Election Dates
and Activities
   Calendar

      Updated July 2018
 Florida Department of State



            EXHIBIT 1
                                                   2018 Highlights

                                             Candidate Qualifying Period

U.S. Senator, U.S. Representative, Judicial, State
Attorney (20th Circuit Only) and Public Defender (20th           Noon, April 30- Noon, May 4, 2018
Circuit Only)

Governor and Cabinet, State Senator, State
                                                                 Noon, June 18- Noon, June 22, 2018
Representative, County Office and Special Districts


                                    Voter Registration "Book Closing" Deadline

Primary Election                                                 July 30, 2018
General Election                                                 October 9, 2018

                                        Vote-by-Mail Ballot "Send" Deadline

                For absent stateside and overseas uniformed and civilian voters ("UOCA VA voters")
                                        {45-day deadline before election):
Primary Election                                                 July 14, 2018
General Election                                                 September 22, 2018
                                     For domestic voters {7-day mailing window):
Primary Election                                                 July 24- July 31, 2018
General Election                                                 October 2 - October 9, 2018

                                                  Early Voting Period


 A minimum of 8 days of early voting must be held beginning on the 10th day and ending on the 3rd day before
  Election Day. Each county Supervisor of Elections may offer additional days of early voting on any or more of
       the following days: the 15th, 14th, 13th, 12th or 11th day and the last Sunday before Election Day.

Primary Election                                                 August 18 - 25, 2018
General Election                                                 October 27- November 3, 2018

                                                      Election Day

                     For information about county or municipal election dates, please contact
                   the county Supervisor of Elections office or the city clerk's office, respectively.
Primary Election                                                 August 28, 2018
General Election                                                 November 6, 2018




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 1
                                                         EXHIBIT 1
                                                2017 Election Dates

         Date                                      Event                                        Legal Reference

                       Deadline for voting systems vendors to file a written
                       disclosure with the Department of State identifying
                                                                                     Section 101.56065, F.S.- On
                       any known defect in their voting systems or the fact
   January 1 {Sun)                                                                   January 1 of every odd-numbered
                       there is no known defect, the effect of any known
                                                                                     year.
                       defect on the operation and use of the system, and
                       any known corrective measures to cure the defect.

                       Deadline for Department of State to report to the             Section 98.0981, F.S.; Rule 15-
                       Florida Legislature updated voting and voter                  2.041, F.A.C.- Within 45 days after
   January 6 (Fri)
                       information history information for the General               certification of election results for
                       Election.                                                     General Election.

                       Deadline for Supervisors of Elections to certify to the       Sections 98.065 and 98.075, F.S.;
  January 31 {Tue)     Division of Elections address and registration list           Rule 1S-2.041, F.A.C.- No later
                       maintenance activities for prior six months.                  than January 31 of each year.

                       Deadline for Department of State to submit to the
                       Governor, President of the Senate, and Speaker of the Section 101.595, F.S.- On January
  January 31 (Tue)     House of Representatives a report regarding overvotes 31 of each year following a
                       and undervotes cast in the "President and Vice        General Election.
                       President" race.

                                                                                     National Voter Registration Act
                                                                         {NVRA) {52 U.S.C. § 20508),
                  Deadline for Department of State and Supervisors of
                                                                         Uniformed and Overseas Citizens
                  Elections to submit initial responses to U.S. Election
 February 1 {Wed)                                                        Absentee Voting Act (UOCAVA) {52
                  Assistance Commission's 2016 Election Administration
                                                                         U.S.C. § 20302), and Help America
                  and Voting Survey.
                                                                         Vote Act (HAVA) {42 U.S.C. §§
                                                                         15301-15545).

 February 5 {Sun) - Period in which the Constitution Revision Commission             Art. XI, §2(a), Fla. Const. {Every 20
   March 7(Tue)     is established.                                                  years).

                                                                                     National Voter Registration Act
                                                                                     (NVRA) (52 U.S.C. § 20508),
                       Deadline for Department of State and Supervisors of
                                                                                     Uniformed and Overseas Citizens
                       Elections to submit final responses to U.S. Election
   March 1 (Wed)                                                                     Absentee Voting Act (UOCAVA) (52
                       Assistance Commission's 2016 Election Administration
                                                                            U.S.C. § 20302), and Help America
                       and Voting Survey.
                                                                            Vote Act (HAVA) (42 U.S.C. §§
                                                                            15301-15545).

   March 7 (Tue)       First day of regular Legislative Session.                     Art. Ill, §3(b), Fla. Const.

                                                                                     Section 99.021, F.S.- 365 days
                       Deadline for U.S. Senator, U.S. Representative, State         before the beginning of applicable
   April 30 (Sun)      Attorney, and Public Defender candidates to change            qualifying preceding the General
                       party affiliation.                                            Election (Qualifying begins noon,
                                                                                     Monday, April 30, 2018).



Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 2
                                                           EXHIBIT 1
                                                2017 Election Dates

         Date                                     Event                                         Legal Reference
                                                                                     Art Ill, Sec 3(d), Fla. Const.-
     May 5 (Fri)       Last day of regular Legislative Session.                      Regular session not to extend
                                                                                     beyond 60 days.

                                                                                     Section 99.021, F.S.- 365 days
                       Deadline for Governor and Cabinet, State Senator,             before the beginning of applicable
    June 18 (Sun)      State Representative, County Office and Special               qualifying preceding the General
                       District candidates to change party affiliation.              Election (Qualifying begins noon,
                                                                                     Monday, June 18, 2018).

                       Deadline for Secretary of State to submit report
                                                                                     Chapter 2016-242, Section 9, Laws
     July 1 (Sat)      containing the recommendations of the Military and
                                                                                     of Florida.
                       Overseas Voting Assistance Task Force.
                       Deadline for Supervisor of Elections to submit HAVA
                                                                                     Help America Vote Act
   July 31 (Mon)       "Balance" Report (i.e., remaining balance of HAVA
                                                                                     (HAVA)(U.S.C. §§ 15301-15545)
                       funds as of June 30, 2017).

                       Deadline for Supervisors of Elections to certify to the       Sections 98.065 and 98.075, F.S.;
   July 31 (Mon)       Division of Elections address and registration list           Rule 1S-2.041, F.A.C.- No later
                       maintenance activities for prior six months.                  than July 31 of each year.

                       Deadline for Division of Elections to certify the total
                       number of registered voters in Florida as of June 30,
   July 31 (Mon)                                                                     Section 106.34(3), F.S.
                       2017 for purposes of the State Public Campaign Match
                       Funds Program for 2018 election cycle.

                       Deadline to implement Online Voter Registration
  October 1 (Sun)                                                                    Section 97.0525, F.S.
                       System (RegisterToVoteFiorida.gov).


                  Deadline for Supervisors of Elections to submit to the
                  Department of State their HAVA Funds Expenditure
                  Reports for use of funds relating to voter education,
                                                                                     Help America Vote Act, 42 U.S.C.
December 31 (Sun) poll worker training, federal election activities, voting
                                                                                     §§ 15301-15545.
                       systems assistance, optical scan and ballot-on-demand
                       for the reporting period October 1, 2016 through
                       September 30, 2017.

                  Election administrators to review records against
                  Records Retention Schedule for Election Records
December 31 {Sun) (GS-3) and internal office retention schedule, and                 Florida Public Records Law.
                       identify and schedule disposition of records that have
                       met retention.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 3
                                                          EXHIBIT 1
                                                2018 Election Dates

         Date                                      Event                                        Legal Reference
  January 9 (Tue)      First day of regular Legislative Session.                     Ch. 2016-218, Laws of Florida.

                  Deadline for Supervisors of Elections to certify to the            Sections 98.065 and 98.075, F.S.;
 January 31 (Wed) Division of Elections address and registration list                Rule 1S-2.041 F.A.C- No later than
                  maintenance activities for prior six months.                       January 31 of each year.

                                                                                     Art. XI, §5, Fla. Const.- No later
                                                                                     than February 1 of the General
  February 1 (Thu)     Initiative petition signature certification deadline.
                                                                                     Election year; Section 100.371(1),
                                                                                     F.S.
                                                                                     Art Ill, Sec 3(d), Fla. Canst.-
    March 9 (Fri)      Last day of regular Legislative Session.                      Regular session not to extend
                                                                                     beyond 60 days.
                       Department of State to publish Notice of General              Section 100.021, F.S.- During the
                       Election in a newspaper of general circulation in each        30 days prior to the first day of
   March 31 (Sat)
                       county twice before beginning of the specified                qualifying (Qualifying begins April
                       qualifying period.                                            30, 2018).

                       Deadline for candidates for U.S. Senator, U.S.
                                                                                     Section 99.095, F.S.- Before noon
                       Representative, judge, state attorney, and public
    April 2 (Mon)                                                                    of the 28th day preceding the first
                       defender seeking to qualify by the petition method to
                                                                                     day of the qualifying period.
                       submit signed petitions to Supervisors of Elections.

                       14-day period begins allowing qualifying officers to
                                                                                Sections 99.061 and 105.031, F.S.-
                       accept and hold qualifying papers for U.S. Senator, U.S.
                                                                                No earlier than 14 days prior to the
   April16 (Mon)       Representative, judicial, state attorney and public
                                                                                first day of the applicable
                       defender candidates to be processed and filed during
                                                                                qualifying period.
                       the qualifying period.

                       Written resignations due for officers qualifying as a
                                                                                     Section 99.012, F.S.- At least 10
                       candidate for judicial, state attorney or public
    April 20 (Fri)                                                                   days prior to the first day of
                       defender office if the terms of the offices, or any part
                                                                                     qualifying.
                       thereof, run concurrently with each other.

                       Deadline for Supervisors of Elections to certify the
                                                                                     Sections 99.095, 105.035, and
                       number of valid signatures for U.S. Senator, U.S.
                                                                                     105.035 (4) (b) F.S.- No later than
   April 23 (Mon)      Representative, judicial, state attorney and public
                                                                                     the seventh day before the first
                       defender candidates seeking to qualify by the petition
                                                                                     day of qualifying.
                       method.
                                                                                     Sections 99.061 and 105.031, F.S.-
                       Qualifying period begins for U.S. Senator, U.S.
                                                                                     At any time after noon of the
   April30 (Mon)       Representative, judicial, state attorney and public
                                                                                     120th day prior to the Primary
                       defender candidates.
                                                                                     Election.
                                                                                     Sections 99.061 and 105.031, F.S.-
                       Qualifying period ends for U.S. Senator, U.S.
                                                                                     No later than noon of the 116th
     May 4 (Fri)       Representative, judicial, state attorney and public
                                                                                     day prior to the date of the
                       defender candidates.
                                                                                     Primary Election.


Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 4
                                                           EXHIBIT 1
                                                2018 Election Dates

         Date                                     Event                                         legal Reference

                       First day state write-in absentee ballots made available Section 101.6951, F.S.- 180 days
    May 10 (Thu)
                       to overseas voters.                                      prior to the General Election.

                       Deadline for Constitution Revision Commission to file
    May 10 (Thu)       with the Secretary of State its proposed revisions to         Art. XI, §2(c), Fla. Const.
                       the Florida Constitution.

                       Deadline for Department of State to certify to the
                       Supervisors of Elections the names of all duly qualified
                                                                                Section 99.061, F.S.- Within seven
    May 11 (Fri)       U.S. Senator, U.S. Representative, judicial, state
                                                                                days after close of qualifying.
                       attorney and public defender candidates who have
                       qualified with the Department.

                       Deadline for statewide, multi-county, county and
                                                                                     Section 99.095, F.S.- Before noon
                       district candidates (other than judicial, state attorney
                                                                                     of the 28th day preceding the first
   May 21 (Mon)        or public defender candidates) seeking to qualify by
                                                                                     day of the qualifying period for the
                       the petition method to submit their signed petitions to
                                                                                     office sought.
                       Supervisors of Elections.

                       Department of State to remit to the respective state
                       executive committees of political parties, 95% of their Section 99.103, F.S.- No later than
    May 24 (Thu)       entitled filing fees and party assessments from U.S.    20 days after the close of
                       Senator, U.S. Representative, state attorney, and       qualifying.
                       public defender candidates.

                                                                                Section 100.025, F.S.- At least 90
                       Deadline for Supervisors of Elections to notify overseas
   May 30 (Wed)                                                                 days prior to regular primary and
                       voters of upcoming Primary Election.
                                                                                general elections.

                       Last day for Supervisors of Elections to complete any         Section: 98.065, F.S.; National
                       address list maintenance program activities including         Voter Registration Act (NVRA) (52
                       removal of "inactive" registered voters who have not          U.S.C. 820507) (Note: 90-day
   May 30 (Wed)        voted, requested a vote-by-mail ballot, or updated            moratorium on removal does not
                       their voter registration records after two general            apply to voters ineligible for
                       federal elections since the voters were first made            reasons such as felony conviction,
                       inactive.                                                     mental incapacity, death, etc.).

                       14-day period begins for qualifying officers to accept
                       qualifying papers for statewide, multi-county, county,        Section 99.061, F.S.- No earlier
   June 4 (Mon)        and district candidates (other than judicial, state           than 14 days prior to the first day
                       attorney, and public defender candidates) to be               of qualifying.
                       processed and filed during the qualifying period.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 5
                                                          EXHIBIT 1
                                               2018 Election Dates

        Date                                      Event                                         legal Reference

                       Written resignations due for officers qualifying as a
                       candidate for statewide, multi-county, county, or         Section 99.012, F.S. -At least 10
     June 8 (Fri)      district office (other than judicial, state attorney, and days prior to the first day of
                       public defender candidates) if the terms of the offices, qualifying.
                       or any part thereof, run concurrently with each other.

                       Deadline for Supervisors of Elections to certify the
                                                                                Section 99.095, F.S.- No later than
                       number of valid signatures for statewide, multi-county,
   June 11 (Man)                                                                the seventh day before the first
                       county and district candidates seeking to qualify by the
                                                                                day of qualifying.
                       petition method.

                       Qualifying begins for all statewide, multi-county,            Section 99.061, F.S.- Noon of the
   June 18 (Man)       county, and district candidates (other than judicial,         71st day prior to the Primary
                       state attorney, and public defender candidates).              Election.

                       Qualifying ends for all statewide, multi-county, county, Section 99.061, F.S.- No later
    June 22 (Fri)      and district candidates (other than, judicial, state     than noon of the 67th day prior to
                       attorney, and public defender candidates).               the Primary Election.

                       Supervisors of Elections to submit to the Department
                       of State a list containing the names, party affiliations, Section 99.092, F.S. -Immediately
    June 23 (Sat)
                       and addresses of all candidates who have qualified        after the last day for qualifying.
                       with them, and the offices for which persons qualified.

                                                                                     Section 101.62, F.S.; Rule 1S-2.043,
                       First day for Supervisors of Elections to prepare and
                                                                                     F.A.C.- 60 days prior to the
                       upload daily electronic files of vote-by-mail ballot
    June 29 (Fri)                                                                    Primary Election on a daily basis by
                       request information and to the Department of State
                                                                                     8 a.m. and continuously until15
                       for the Primary Election and General Election.
                                                                                     days after the General Election.

                       Deadline for Department of State to certify to the
                                                                                Section 99.061, F.S.- Within seven
                       Supervisors of Elections the names of all duly qualified
    June 29 (Fri)                                                               days after the closing date for
                       statewide, multi-county, county, and district
                                                                                qualifying.
                       candidates who have qualified with the Department.

                                                                                     Section 101.015, F.S.; Rule 1S-
                       Deadline for Supervisors of Elections to submit any           2.015, F.A.C.- At least 45 days
   June 29 (Fri) -
                       revisions to county security procedures to the                before early voting begins, specific
    July 4 (Wed)
                       Department of State.                                          date will depend on when county
                                                                                     will begin conducting early voting.

                       Department of State to remit to the respective state
                       executive committees of political parties, 95% of their Section 99.103, F.S.- No later than
    July 12 (Thu)      entitled filing fees and party assessments from         20 days after the close of
                       statewide, multicounty, county, and district            qualifying.
                       candidates.


Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 6
                                                          EXHIBIT 1
                                               2018 Election Dates

        Date                                      Event                                          legal Reference

                       Deadline for Supervisors of Elections to send vote-by-        Section 101.62, F.S.- No fewer
    July 14 (Sat)      mail ballots to absent stateside uniformed and                than 45 days before the Primary
                       overseas voters (UOCAVA) for the Primary Election.            Election.

                       Division of Elections to submit to the U.S. Department
                       of Justice information on county compliance with 45-          43 days before the Primary
   July 16 (Mon)
                       day UOCAVA vote-by-mail ballot send-out for the               Election.
                       Primary Election.
                       Deadline for Supervisors of Elections to remit filing
                                                                                     Section 99.061, F.S.- Within 30
    July 22 (Sun)      fees to the state executive committee of the political
                                                                                     days after the close of qualifying.
                       party of the candidates.
                       Mandatory seven day window for Supervisors of
                                                                                     Section 101.62, F.S.- Between
   July 24 (Tue)-      Elections to mail vote-by-mail ballots to all domestic
                                                                                     35th and 28th day before the
   July 31 (Tue)       (non-UOCAVA) voters who requested vote-by-mail
                                                                                     election.
                       ballots.

                       Deadline for Supervisors of Elections to designate early
                                                                                Section 101.657, F.S.- No later
                       voting sites for the Primary Election and to provide the
    July 29 (Sun)                                                               than the 30th day prior to the
                       Division of Elections with addresses, dates and hours
                                                                                election.
                       for early voting sites.

                       First day a registered voter or poll watcher may file a
                                                                                     Section 101.111, F.S.- No sooner
    July 29 (Sun)      voter challenge in the same county for the Primary
                                                                                     than 30 days before an election.
                       Election.

                                                                                     Section 101.5612, F.S.- At least 15
                       Deadline for Supervisors of Elections to mail notice of
                                                                                     days prior to the beginning of early
   July 29 (Sun) -     time and location of logic and accuracy test (L&A test)
                                                                                     voting, specific date will depend on
   August 3 {Fri)      to county party chairs and candidates who did not
                                                                                     when county will begin conducting
                       receive notice at qualifying.
                                                                                     early voting.

                                                                                     Section 97.055, F.S.- On the 29th
                                                                                     day before each election. If the
                                                                                     29th day falls on a Sunday or a
                       Deadline to register to vote (book closing) for the
   July 30 (Mon)                                                                     legal holiday, the registration
                       Primary Election.
                                                                                     books must be closed on the next
                                                                                     day that is not a Sunday or a legal
                                                                                     holiday.

                                                                                     Section 101.131, F.S.- Before
                                                                                     noon at least 14 days before early
  July 30 (Mon)-       Deadline to submit poll watcher designations for early
                                                                                     voting begins, specific date will
   August 4 {Sat)      voting sites for Primary Election.
                                                                                     depend on when county will begin
                                                                                     conducting early voting.


                       Deadline to submit HAVA "Balance" Report (i.e.,       Help America Vote Act
    July 31 {Tue)
                       remaining balance of HAVA funds as of June 30, 2018). (HAVA)(U.S.C. §§ 15301-15545)

Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 7
                                                          EXHIBIT 1
                                                2018 Election Dates

         Date                                     Event                                          Legal Reference

                       Deadline for Supervisors of Elections to certify to the       Sections 98.065 and 98.075, F.S.;
    July 31 (Tue)      Division of Elections address and registration list           Rule 1S-2.041, F.A.C. -No later
                       maintenance activities for the prior six months.              than July 31 of each year.

                       Period in which logic and accuracy (L&A) test for
                                                                            Section 101.5612, F.S.- Not more
   August 3 (Fri)-     Primary Election may be conducted (Specific L&A date
                                                                            than 10 days prior to beginning of
   August 17 (Fri)     during this period will depend on when each county
                                                                            early voting.
                       begins early voting).
                                                                                     Section 100.032, F.S.- At least
                       Deadline for Supervisors of Elections to post election
  August 6 (Mon)                                                                     three months before a General
                       preparation report on official website.
                                                                                     Election.

                                                                                     Section 101.131, F.S.- No later
                       Deadline for Supervisors of Elections to approve poll         than seven days before early
 August 6 (Mon) -
                       watchers and provide poll watcher identification              voting begins, specific date will
  August 11 (Sat)
                       badges for early voting sites for the Primary Election.       depend on when county will begin
                                                                                     conducting early voting.

                       Deadline for Supervisors of Elections to appoint poll         Section 102.012, F.S.- At least 20
  August 8 (Wed)
                       workers for the Primary Election.                             days prior to any election.
                       Last day state write-in ballot is made available to           Section 101.6951, F.S.- 90 days
  August 8 (Wed)
                       overseas voters.                                              prior to a General Election.
                                                                                Section 100.025, F.S.- At least 90
                       Deadline for Supervisors of Elections to notify overseas
  August 8 (Wed)                                                                days prior to regular Primary and
                       voters of upcoming General Election.
                                                                                General Elections.
                       Canvassing board may begin canvassing vote-by-mail
                                                                                     Section 101.68, F.S.- 7 a.m. on the
  August 13 (Mon)      ballots for the Primary Election (the earliest start
                                                                                     15th day before the election.
                       date).

                                                                                     Section 101.657, F.S.- Early voting
                       Early voting may begin prior to the mandatory early           may be offered at the discretion of
  August 13 (Mon)      voting period, at the discretion of the Supervisor of         the Supervisor of Elections on the
                       Elections.                                                    15th, 14th, 13th, 12th, 11th,
                                                                                     and/or 2nd day before an election.



                                                                                     Section 101.131, F.S.- Prior to
                       Deadline to submit poll watcher designations for
  August 14 (Tue)                                                                    noon of the second Tuesday
                       election day for the Primary Election.
                                                                                     preceding the election.



                       If early voting begins on August 13, first day for            Section 101.657, F.S.; Rule 1S-
                       Supervisors of Elections to prepare and upload daily          2.043, F.A.C.- No later than noon
  August 14 (Tue)
                       electronic files of early voting summary and early            of each day for the previous day's
                       voting details to the Department of State.                    activities.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 8
                                                          EXHIBIT 1
                                                2018 Election Dates

         Date                                      Event                                         Legal Reference
                                                                                     Section 101.657, F.S.- Early voting
                       Mandatory early voting begins for the Primary
   August 18 (Sat)                                                                   shall begin on the lOth day before
                       Election.
                                                                                     an election.

                       First day after start of mandatory early voting period   Section 101.657, F.S.; Rule lS-
                       for Supervisors of Elections to prepare and upload       2.043, F.A.C.- No later than noon
  August 19 {Sun)
                       daily electronic files of early voting summary and early of each day for the previous day's
                       voting details to the Division of Elections.             activities.

                       Deadline for Supervisors of Elections to approve poll         Section 101.131, F.S.- On or
  August 21 (Tue)      watchers and provide poll watcher identification              before the Tuesday before the
                       badges for the Primary Election.                              election.

                       Deadline for Supervisors of Elections to mail or email        Section 101.20, F.S.- At least
  August 21 {Tue)
                       sample ballots to voters for the Primary Election.            seven days prior to any election.

                       Deadline for Supervisors of Elections to receive              Section 101.62, F.S.- No later than
  August 22 {Wed)      requests for vote-by-mail ballots to be mailed to             5 p.m. on the sixth day before the
                       voters for the Primary Election.                              election.
                       First day that a voter designee can pick-up a vote-by-        Section 101.62, F.S.- Up to five
  August 23 {Thu)
                       mail ballot for the Primary Election.                         days prior to the election.

                       Deadline for Supervisors of Elections to mail vote-by-        Section 101.62, F.S.- No later than
   August 24 {Fri)
                       mail ballots requested for the Primary Election.              four days before the election.


                       Deadline for late registration for specified subcategory
                       of UOCAVA individuals: any uniformed services or
                       Merchant Marine member discharged or separated, or
   August 24 {Fri)     returned from military deployment or activation after Section 97.0555, F.S.
                       29-day registration deadline; or for any overseas U.S.
                       citizen who left employment after 29-day registration
                       deadline, and any family member accompanying them.


                                                                                     Section 101.657, F.S.- Mandatory
                       Mandatory early voting period ends for the Primary
  August 25 {Sat)                                                                    early voting shall end on the third
                       Election.
                                                                                     day before an election.

                                                                                     Section 101.657, F.S.- Early voting
                                                                                     may also be offered at the
                       Optional extension of early voting period ends for the
  August 26 {Sun)                                                                    discretion of the supervisor of
                       Primary Election.
                                                                                     elections on the second day before
                                                                                     an election.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                       Page 9
                                                           EXHIBIT 1
                                               2018 Election Dates

        Date                                      Event                                         Legal Reference

                                                                       Art XI, Sec 5{d), Fla. Const.- Once
                                                                       in the tenth week, and once in the
                                                                       sixth week immediately preceding
                   First period in which proposed constitutional
 August 26 (Sun)-                                                      the week in which the election is
                   amendments are advertised in a newspaper of general
 September 1 {Sat)                                                     held, the proposed amendment
                   circulation in each county.
                                                                       shall be published in one
                                                                       newspaper of general circulation in
                                                                       each county.

                                                                                     Section 101.68{4), F.S.- Until 5
                       Deadline for voter to submit vote-by-mail ballot cure
  August 27 (Mon)                                                                    p.m. on the day before the
                       affidavit for the Primary Election.
                                                                                     election
                                                                                     Section 101.657, F.S.; Rule lS-
                  Last day for Supervisors of Elections to prepare and
                                                                                     2.043, F.A.C.- No later than noon
  August 27 (Mon) upload daily electronic files of early voting summary
                                                                                     of each day for the previous day's
                  and early voting details to the Department of State.
                                                                                     activities.
                  last day to publish sample ballot in newspaper of
                                                                                     Section 101.20, F.S.- Prior to the
  August 27 {Mon) general circulation in the county for the Primary
                                                                                     day of the election.
                  Election.

                       last day for Supervisor of Elections to deliver "no
  August 27 {Mon)      excuse" vote-by-mail ballot to voter or for designee to Section 101.62, F.S.
                       pick up "no excuse" vote-by-mail ballot.

                       Deadline for Supervisors of Elections to upload into
                       county election management system the results of all Section 102.141 (4)(a), F.S. -By 7
 August 27 (Mon)       early voting and vote-by-mail ballots that have been   p.m. on the day before the
                       canvassed and tabulated by the end of the early voting election.
                       period.
                                                                              Section 100.061, F.S.- On the
  August 28 (Tue)      PRIMARY ELECTION                                       Tuesday 10 weeks prior to the
                                                                              General Election.

                      "Emergency excuse" affidavit required for delivery of
                      vote-by-mail ballot on election day. Supervisors of
                                                                                     Section 101.62, F.S.; Rule 1S-2.052,
                      Elections may not deliver vote-by-mail ballots to
                                                                                     F.A.C.- Exception exists for
  August 28 (Tue)     electors or electors' immediate family members on
                                                                                     supervised voting in assisted living
                      election day unless voters affirm in an affidavit that an
                                                                                     facilities as provided in s. 101.655.
                      emergency that keeps them from being able to go to
                      their polling places.

                                                                                     Section 101.67, F.S.- All vote-by-
                       Deadline for receipt of vote-by-mail ballots for the
  August 28 (Tue)                                                                    mail ballots must be received by 7
                       Primary Election.
                                                                                     p.m. election day.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 10
                                                          EXHIBIT 1
                                                2018 Election Dates

         Date                                     Event                                          Legal Reference

                       County canvassing boards to file preliminary election         Section 102.141, F.S.- All election
                       results with the Department of State within 30                day ballots cast, early voting
                       minutes after polls close and report updates in 45-           ballots, and for vote-by-mail
  August 28 (Tue)
                       minute increments thereafter until all results for            ballots, those that are canvassed
                       election day ballots, early voting ballots, and vote-by-      and tabulated by each reporting
                       mail ballots are completely reported.                         increment.

                       Department of State to remit remainder of filing fees
                                                                                     Section 99.103, F.S.- No later than
  August 28 (Tue)      and party assessments to the respective political
                                                                                     the date of the Primary Election.
                       parties.
                                                                                     Section 102.141, F.S.- On or
                       Deadline for all polling place returns to be submitted
  August 29 (Wed)                                                                    before 2 a.m. of the day following
                       to county canvassing boards.
                                                                                     any election.
                                                                                     Section 101.048, F.S.; Rule 1S-
                       Deadline for persons voting a provisional ballot to
                                                                                     2.037, F.A.C.- No later than 5 p.m.
  August 30 (Thu)      provide evidence of eligibility to Supervisors of
                                                                                     on the second day following the
                       Elections.
                                                                                     election.
                   Deadline for county canvassing boards to file First               Section 102.141, F.S.- No later
   August 31 (Fri) Unofficial Results of the Primary Election with the               than noon of the third day after a
                   Department of State.                                              Primary Election.
                   Deadline for county canvassing boards to file Second              Section 102.141, F.S.- No later
 September 2 (Sun) Unofficial Results for the Primary Election, only if              than 3 p.m. of the fifth day after a
                       recount was conducted.                                        Primary Election.
                       Deadline for county canvassing boards to submit               Section 102.112, F.S.- 5 p.m. on
September 4 (Tue) Official Results to the Department of State for the                the seventh day following a
                  Primary Election.                                       primary.
                   Deadline for county canvassing boards to submit        Section 102.141, F.S.- At the same
 September 4 {Tue) Conduct of Election reports on Primary Election to the time that the results of an election
                       Division of Elections.                                        are certified.
                                                                                     Section 101.591, F.S.; Rule 1S-
                                                                                     5.026, F.A.C. -Immediately
    September 5        County canvassing boards to begin publicly noticed
                                                                                     following the certification of the
      (Wed)            audit of the voting system for the Primary Election.
                                                                                     election by the county canvassing
                                                                                     board.
                  Elections Canvassing Commission meets to certify                   Section 102.111, F.S.- 9 a.m. on
September 6 {Thu) Official Results for federal, state, and multicounty               the ninth day after a Primary
                       offices.                                                      Election.

                                                                                     Section 101.015, F.S.; Rule 1S-
September 7 (Fri)- Deadline for Supervisors of Elections to submit any               2.015. F.A.C.- At least 45 days
  September 12     revisions to county security procedures to the                    before early voting begins, specific
       (Wed)           Department of State.                                          date will depend on when county
                                                                                     will begin conducting early voting.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 11
                                                          EXHIBIT 1
                                                2018 Election Dates

         Date                                      Event                                         legal Reference

                                                                                      Section 101.591, F.S.; Rule 1S-
                       Deadline for county canvassing boards to complete the 5.026, F.A.C.- No later than 11:59
    September 11
                       voting system audit and for the results to be made    p.m. on the seventh day following
         (Tue)
                       public.                                                        certification of the election by the
                                                                                      county canvassing board.

                   Deadline for Supervisors of Elections to send vote-by-            Section 101.62, F.S.- Not less than
September 22 (Sat) mail ballots to absent stateside uniformed and                    45 days before the General
                       overseas voters (UOCAVA) for the General Election.            Election.


                                                                                     Art XI, Sec S(d), Fla. Const.- Once
                                                                                     in the tenth week, and once in the
                                                                      sixth week immediately preceding
   September 23   Second period in which proposed constitutional
                                                                      the week in which the election is
 (Sun)- September amendments are advertised in a newspaper of general
                                                                      held, the proposed amendment
      29 (Sat)    circulation in each county.
                                                                      shall be published in one
                                                                      newspaper of general circulation in
                                                                      each county.

                       Division of Elections to submit to the U.S. Department
   September 24        of Justice information on county compliance with 45-
                                                                               43 days before General Election.
        (Mon)          day UOCAVA vote-by-mail ballot send-out for the
                       General Election.
                       Deadline for Supervisors of Elections to submit reports Section 101.591, F.S.; Rule 1S-
   September 26
                       on post-election certification voting system audit to   5.026, F.A.C.- Within 15 days after
        (Wed)
                       Division of Elections.                                  completion of the audit.
                       last day by when Supervisor of Elections must make
                                                                               Section 101.048, F.S. - No later
   September 27        information about provisional ballot available to
                                                                               than 30 days following the
       (Thu)           individual voters on free access system for the Primary
                                                                               election.
                       Election.
                  Mandatory seven-day window for Supervisors of
                                                                                     Section 101.62, F.S.- Between
 October 2 (Tue)- Elections to mail vote-by-mail ballots to all domestic
                                                                                     35th and 28th day before the
 October 9 (Tue) (non-UOCAVA) voters who requested vote-by-mail
                                                                                     election.
                       ballots.

                                                                                Section 98.0981, F.S.; Rule 1S-
                                                                                2.043, F.A.C.- Within 30 days after
                       Deadline for Supervisors of Elections to update official
  October 6 (Sat)                                                               certification of election results by
                       voting history for Primary Election.
                                                                                Elections Canvassing Commission
                                                                                for Primary Election.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 12
                                                           EXHIBIT 1
                                                2018 Election Dates

         Date                                      Event                                        Legal Reference

                                                                                     Section 98.0981, F.S.; Rule 1S-
                       Deadline for Supervisors of Elections to file with the
                                                                                     2.043, F.A.C.- Within 30 days after
                       Division of Elections precinct-level election results of
   October 6 (Sat)                                                                   certification of election results by
                       the Primary Election and a reconciliation of voting
                                                                                     Elections Canvassing Commission
                       history and precinct-level election results.
                                                                                     for Primary Election.

                       First day a registered voter or poll watcher may file a
                                                                                     Section 101.111, F.S.- No sooner
  October 7 (Sun)      voter challenge in the same county for the General
                                                                                     than 30 days before an election.
                       Election.

                                                                                     Section 101.5612, F.S. -At least 15
                   Deadline for Supervisors of Elections to mail notice of
                                                                                     days prior to the beginning of early
  October 7 (Sun)- time and location of logic and accuracy (L&A) test to
                                                                                     voting, specific date will depend on
  October 12 (Fri) county party chairs and candidates, who did not
                                                                                     when county will begin conducting
                   receive notice at qualifying.
                                                                                     early voting.

                  Deadline for Supervisors of Elections to designate early
                                                                           Section 101.657, F.S.- No later
                  voting sites for the General Election and to provide the
  October 8 (Mon)                                                          than the 30th day prior to the
                  Division of Elections with addresses, dates and hours
                                                                           election.
                  for early voting sites.

                                                                         Section 101.131, F.S.- Before
                                                                         noon at least 14 days before early
 October 8 (Mon)- Deadline to submit poll watcher designations for early
                                                                         voting begins, specific date will
 October 13 (Sat) voting sites for General Election.
                                                                         depend on when county will begin
                                                                         conducting early voting.

                                                                                     Section 97.055, F.S.- On the 29th
                                                                                     day before each election. If the
                                                                                     29th day falls on a Sunday or a
                       Deadline to register to vote (book closing) for the
  October 9 (Tue)                                                                    legal holiday, the registration
                       General Election.
                                                                                     books must be closed on the next
                                                                                     day that is not a Sunday or a legal
                                                                                     holiday.

                   Period in which logic and accuracy (L&A) test for
                                                                                     Section 101.5612, F.S.- Not more
 October 12 (Fri)- General Election may be conducted. (Specific L&A
                                                                                     than 10 days prior to beginning of
 October 26 (Fri) date during this period will depend on when the
                                                                                     early voting.
                   county begins early voting).

                                                                                     Section 101.131, F.S.- No later
                  Deadline for Supervisors of Elections to approve poll              than seven days before early
October 15 (Man)
                  watchers and provide poll watcher identification                   voting begins, specific date will
 October 20 (Sat)
                  badges for early voting sites for the General Election.            depend on when county will begin
                                                                                     conducting early voting.

                       Deadline for Supervisors of Elections to appoint poll         Section 102.012, F.S.- At least 20
 October 17 (Wed)
                       workers for the General Election.                             days prior to any election.

Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 13
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                                               2018 Election Dates

        Date                                      Event                                         Legal Reference
                                                                            Section 98.0981, F.S.; Rule 1S-
                  Deadline for Department of State to report to the
                                                                            2.053, F.A.C.- Within 45 days after
 October 21 (Sun) Florida Legislature voter registration and voting history
                                                                            certification of election results for
                  information for the Primary Election.
                                                                            Primary Election.
                  County canvassing board may begin canvassing vote-
                                                                            Section 101.68, F.S.- 7 a.m. on the
 October 22 (Mon) by-mail ballots for the General Election (the earliest
                                                                            15th day before the election.
                  start date).

                                                                                     Section 101.657, F.S.- Early voting
                  Early voting may begin prior to the mandatory early                may be offered at the discretion of
 October 22 (Mon) voting period, at the discretion of the Supervisor of              the supervisor of elections on the
                  Elections.                                                         15th, 14th, 13th, 12th, 11th,
                                                                                     and/or 2nd day before an election.

                                                                                     Section 101.131, F.S.- Prior to
                  Deadline to submit poll watcher designations for
 October 23 (Tue)                                                                    noon of the second Tuesday
                  election day for the General Election.
                                                                                     preceding the election.

                  If early voting begins on October 22, first day for                Section 101.657, F.S.; Rule 1S-
                  Supervisors of Elections to prepare and upload daily               2.043, F.A.C.- No later than noon
 October 23 (Tue)
                  electronic files of early voting summary and early                 of each day for the previous day's
                  voting details to the Department of State.                         activities.

                                                                                     Section 101.657, F.S.- Early voting
                       Mandatory early voting period begins for the General
  October 27 (Sat)                                                                   shall begin on the 10th day before
                       Election.
                                                                                     an election.

                  First day after mandatory early voting period begins               Section 101.657, F.S.; Rule 1S-
                  for Supervisors of Elections to prepare and upload                 2.043, F.A.C.- No later than noon
 October 28 (Sun)
                  daily electronic files of early voting summary and early           of each day for the previous day's
                  voting details to the Department of State.                         activities.

                  Deadline for Supervisors of Elections to approve poll              Section 101.131, F.S.- On or
 October 30 (Tue) watchers and provide poll watcher identification and               before the Tuesday before the
                  badges for the General Election.                                   election.

                       Deadline to mail or email sample ballots to voters for        Section 101.20, F.S.- At least
 October 30 (Tue)
                       the General Election.                                         seven days prior to any election.

                  Deadline for Supervisors of Elections to receive                   Section 101.62, F.S.- No later than
 October 31 (Wed) requests for vote-by-mail ballots to be mailed to                  5 p.m. on the sixth day before the
                  voters for the General Election.                                   election.
                  First day that a voter designee can pick up a vote-by-             Section 101.62, F.S.- Up to five
 November 1 (Thu)
                  mail ballot for the General Election.                              days prior to the election.

                       Deadline for Supervisors of Elections to mail vote-by-        Section 101.62, F.S.- No later than
 November 2 (Fri)
                       mail ballots requested for the General Election.              four days before the election.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 14
                                                          EXHIBIT 1
                                                2018 Election Dates

        Date                                      Event                                         Legal Reference


                   Deadline for late registration for specified subcategory
                   of UOCAVA individuals: any uniformed services or
                   Merchant Marine member discharged or separated, or
                                                                            Section 97.0555, F.S.- 5 p.m. on
  November 2 (Fri) returned from military deployment or activation after
                                                                            the Friday before the election.
                   29-day registration deadline; or for any overseas U.S.
                   citizen who left employment after 29-day registration
                   deadline, and any family member accompanying them.

                                                                                     Section 101.657, F.S.- Early voting
                       Mandatory early voting period ends for the General
 November 3 (Sat)                                                                    shall end on the third day before
                       Election.
                                                                                     an election.
                                                                                     Section 101.657, F.S.- Early voting
                                                                                     may also be offered at the
                       Optional extension of early voting period ends for the
 November 4 (Sun)                                                                    discretion of the supervisor of
                       General Election.
                                                                                     elections on the second day before
                                                                                     an election.
                                                                                     Section 101.68(4), F.S.- Until 5
                       Deadline for voter to submit vote-by-mail ballot cure
November 5 (Mon)                                                                     p.m. on the day before the
                       affidavit for the General Election.
                                                                                     election.
                                                                                     Section 101.657, F.S.; Rule 1S-
                 Last day for Supervisors of Elections to prepare and
                                                                                     2.043, F.A.C.- No later than noon
November 5 (Mon) upload daily electronic files of early voting summary
                                                                                     of each day for the previous day's
                 and early voting details to the Department of State.
                                                                                     activities.

                 Last day for Supervisors of Elections to publish sample
                                                                         Section 101.20, F.S.- Prior to the
November 5 (Mon) ballot in newspaper of general circulation in the
                                                                         day of the election.
                 county for the General Election.

                 Deadline for Supervisors of Elections to upload into
                 county election management system the results of all
                                                                          Section 102.141 (4)(a)- By 7 p.m.
November 5 (Mon) early voting and vote-by-mail ballots that have been
                                                                          on the day before the election.
                 canvassed and tabulated by the end of the early voting
                 period.
                 Last day for Supervisor of Elections to deliver 'no
November 5 (Mon) excuse' vote-by-mail ballot to voter or designee to pick Section 101.62, F.S.
                 up vote-by-mail ballot.
                                                                          Section 100.031, F.S.- On the first
                                                                          Tuesday after the first Monday in
November 6 (Tue) GENERAL ELECTION
                                                                          November of each even
                                                                          numbered year.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 15
                                                          EXHIBIT 1
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        Date                                      Event                                         Legal Reference

                  "Emergency excuse" affidavit required for delivery of
                  vote-by-mail ballot on election day. Supervisors of
                                                                                     Section 101.62, F.S.; Rule lS-2.052,
                  Elections may not deliver vote-by-mail ballots to
                                                                                     F.A.C. - Exception exists for
 November 6 (Tue) electors or electors' immediate family members on
                                                                                     supervised voting in assisted living
                  election day unless voters affirm in an affidavit that an
                                                                                     facilities as provided in s. 101.655.
                  emergency that keeps them from being able to go to
                  their polling places.

                                                                                     Section 101.67, F.S.- Except for 10
                                                                                     day extension for overseas vote-by
                       Deadline for receipt of vote-by-mail ballots for the          mail ballots as provided ins.
 November 6 (Tue)
                       General Election.                                             101.6952, F.S., all vote-by-mail
                                                                                     ballots must be received by 7 p.m.
                                                                                     on election day.

                  County canvassing boards to file preliminary election
                                                                                     Section 102.141, F.S.- All election
                  results with the Department of State within 30
                                                                                     day ballots cast, early voting
                  minutes after polls close and report updates in 45-
                                                                                     ballots, and for vote-by-mail
 November 6 (Tue) minute increments thereafter until all results for
                                                                                     ballots, those that are canvassed
                  election day ballots, early voting ballots, and vote-by-
                                                                                     and tabulated by each reporting
                  mail ballots (except for overseas ballots) are
                                                                                     increment.
                  completely reported.
                                                                                     Section 102.141, F.S.- On or
                       Deadline for all polling place returns to be submitted
November 7 (Wed)                                                                     before 2 a.m. of the day following
                       to county canvassing boards.
                                                                                     any election.
                                                                                     Section 101.048, F.S.; Rule 1S-
                  Deadline for persons voting a provisional ballot to
                                                                                     2.037, F.A.C.- No later than 5 p.m.
 November 8 (Thu) provide evidence of eligibility to Supervisors of
                                                                                     on the second day following the
                  Elections.
                                                                                     election.
                  Deadline for county canvassing boards to file First                Section 102.141, F.S.- No later
November 10 (Sat) Unofficial Results of General Election with the                    than noon of the fourth day after a
                  Department of State.                                               General Election.

                       Deadline for county canvassing boards to file Second          Section 102.141, F.S.- No later
   November 15
                       Unofficial Results of General Election with the               than 3 p.m. of the ninth day after
      (Thu)
                       Department of State, only if recount was conducted.           the election.

                   Deadline for receipt of overseas ballots for General
                   Election. Ballot must be postmarked or signed and
 November 16 (Fri) dated no later than the date of the election and                  Section 101.6952(5), F.S.
                   received no later than 10 days from the date of the
                   General Election.
                   Deadline for county canvassing boards to submit                   Section 102.112, F.S.- Noon on
   November 18
                   Official Results to the Department of State for the               the 12th day following the
      (Sun)
                   General Election.                                                 election.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 16
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        Date                                      Event                                          Legal Reference
                       Deadline for county canvassing boards to submit               Section 102.141, F.S.,- At the
   November 18
                       Conduct of Election reports on General Election to the same time that the results of an
        (Sun)
                       Division of Elections.                                 election are certified.
                                                                                     Section 101.591, F.S.; Rule lS-
                                                                                     5.026, F.A.C. -Immediately
   November 19         County canvassing boards to begin publicly noticed
                                                                                     following the certification of the
      (Mon)            audit of the voting system for the General Election.
                                                                                     election by the county canvassing
                                                                                     board.
                       Elections Canvassing Commission meets to certify              Section 102.111, F.S.- 9 a.m. on
   November 20
                       Official Results for federal, state, and multicounty          the 14th day after a General
        (Tue)
                       offices.                                                      Election.

                                                                                     Section 101.62, F.S.; Rule lS-2.043,
                       Last day for Supervisors of Elections to prepare and
                                                                                     F.A.C.- Beginning 60 days prior to
   November 21         upload daily electronic files of vote-by-mail ballot
                                                                                     the Primary Election on a daily
      (Wed)            request information to the Department of State for
                                                                                     basis by 8 a.m. until15 days after
                       the Primary Election and General Election.
                                                                                     the General Election.

                                                                             Section 101.591, F.S.; Rule lS-
                       Deadline for county canvassing boards to complete the 5.026, F.A.C.- No later than 11:59
   November 25
                       voting system audit and for the results to be made    p.m. on the seventh day following
      (Sun)
                       public.                                               certification of the election by the
                                                                             county canvassing board.

                  Deadline for Supervisors of Elections to submit request
                                                                           Section 99.097, F.S.- No later than
                  to Chief Financial Officer for reimbursement regarding
 December 1 (Sat)                                                          December 1 of the General
                  petition signatures verified at no charge to a candidate
                                                                           Election year.
                  or committee based on undue burden affidavit.

                  Last day by when Supervisor of Elections must make
                                                                          Section 101.048, F.S.- No later
                  information about provisional ballots available to
December 6 {Thu)                                                          than 30 days following the
                  individual voters on free access system for the General
                                                                          election.
                  Election.
                  Deadline for Supervisors of Elections to submit reports Section 101.591, F.S.; Rule lS-
  December 10
                  on post-election certification voting system audit to   5.026 F.A.C- Within 15 days after
     (Mon)
                  Division of Elections.                                  completion of the audit.
                  Deadline for Supervisors of Elections to submit reports Section 98.255, F.S.; Rule lS-2.033,
December 15 (Sat) on voter education programs to the Department of        F.A.C.- By December 15 of each
                  State.                                                  General Election year.
                  Deadline for Supervisors of Elections to submit reports
                                                                          Section 101.595, F.S.- No later
                  on the total number of overvotes and undervotes in
December 15 (Sat)                                                         than December 15 of each General
                  the Governor and Lieutenant Governor race to the
                                                                          Election year.
                  Department of State.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 17
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        Date                                       Event                                        Legal Reference

                                                                                     Section 98.0981, F.S.; Rule 1S-
                                                                                2.053, F.A.C.- Within 30 days after
                       Deadline for Supervisors of Elections to update official
December 20 (Thu)                                                               certification of election results by
                       voting history for General Election.
                                                                                Elections Canvassing Commission
                                                                                     for General Election.

                                                                                     Section 98.0981, F.S.; Rule 1S-
                       Deadline for Supervisors of Elections to file with the
                                                                                     2.053, F.A.C.- Within 30 days after
                       Division of Elections precinct-level election results of
December 20 (Thu)                                                                    certification of election results by
                       the General Election and a reconciliation of voting
                                                                                     Elections Canvassing Commission
                       history and precinct-level election results.
                                                                                     for General Election.

                       Deadline for Supervisors of Elections to submit to the
                       Department of State HAVA Funds Expenditure Reports
                       for use of funds relating to voter education, poll
    December 31                                                                      Help America Vote Act of 2002 (42
                       worker training, federal election activities, voting
       (Mon)
                       systems assistance, optical scan and ballot-on-demand
                                                                                     u.s.c. §§ 15301-15545).
                       for the reporting period October 1, 2017 through
                       September 30, 2018.

                       Supervisors of Elections shall remove post-election all
                                                                              Section 98.065(4)(c), F.S.; Rule 1S-
                       designated inactive voters who have not voted or
   December 31                                                                2.041(2), F.A.C.; and 52 U.S.C. §
                       attempted to vote, requested a vote-by-mail ballot, or
      (Mon)                                                                   2057 National Voter Registration
                       updated their voter registration record in two general
                                                                              Act (NVRA).
                       elections since they were first made inactive.

                       All user IDs and passwords issued by the state during
   December 31
                       prior year for access to statewide vote-by-mail ballot        Rule 15-2.043, F.A.C.
      (Mon)
                       request information expire.
                       Election administrators to review records against
                       Records Retention Schedule for Election Records
   December 31
                       (GS-3) and internal office retention schedule and             Florida Public Records Law.
      (Mon)
                       identify and schedule disposition of records that have
                       met retention.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 18
                                                           EXHIBIT 1
                                                2019 Election Dates

         Date                                     Event                                         Legal Reference

                       Deadline for voting systems vendors to file a written
                       disclosure with the Department of State identifying
                                                                                     Section 101.56065, F.S.- On
                       any known defect in their voting systems or the fact
  January 1 (Tue)                                                                    January 1 of every odd-numbered
                       there is no known defect, the effect of any known
                                                                                     year.
                       defect on the operation and use of the system, and
                       any known corrective measures to cure the defect.

                                                                                Section 98.0981, F.S.; Rule 1S-
                       Deadline for Department of State to report to the
                                                                                2.053, F.A.C.- Within 45 days after
   January 4 (Fri)     Florida Legislature voter registration and voter history
                                                                                certification of election results for
                       information for the General Election.
                                                                                General Election.

                       Deadline for Supervisors of Elections to certify to the       Sections 98.065 and 98.075, F.S.;
  January 31 (Thu)     Division of Elections address and registration list           Rule 1S-2.041, F.A.C. -No later
                       maintenance activities for prior six months.                  than January 31 of each year.

                       Deadline for Department of State to report to the
                       Governor, President of the Senate, and Speaker of the Section 101.595, F.S.- On January
  January 31 (Tue)     House of Representatives a report regarding overvotes 31 of each year following a
                       and undervotes cast in the Governor and Lieutenant    General Election.
                       Governor race.

                                                                                     National Voter Registration Act
                                                                                     (NVRA) (52 U.S.C. § 20508),
                       Deadline for Department of State and Supervisors of
                                                                                     Uniformed and Overseas Citizens
                       Elections to submit initial responses to U.S. Election
  February 1 (Fri)                                                            Absentee Voting Act (UOCAVA) (52
                       Assistance Commission's 2018 Election Administration
                                                                              U.S.C. § 20302), and Help America
                       and Voting Survey.
                                                                              Vote Act (HAVA) (42 U.S.C. §§
                                                                                     15301-15545).

                                                                                     National Voter Registration Act
                                                                                     (NVRA) (52 U.S.C. § 20508),
                       Deadline for Department of State and Supervisors of
                                                                                     Uniformed and Overseas Citizens
                       Elections to submit final responses to U.S. Election
    March 1 (Fri)                                                           Absentee Voting Act (UOCAVA) (52
                       Assistance Commission's 2018 Election Administration
                                                                            U.S.C. § 20302), and Help America
                       and Voting Survey.
                                                                            Vote Act (HAVA) (42 U.S.C. §§
                                                                                     15301-15545).

   March 5 (Tue)       First day of regular Legislative Session.                     Art. Ill, §3(b), Fla. Const.

                                                                                     Section 99.021, F.S.- 365 days
                                                                               before the beginning of applicable
                       Deadline for U.S. Representative, State Attorney, and
   April 28 (Sun)                                                              qualifying preceding the General
                       Public Defender candidates to change party affiliation.
                                                                               Election (Qualifying begins noon,
                                                                               April 27, 2020).




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 19
                                                          EXHIBIT 1
                                                2019 Election Dates

         Date                                      Event                                        Legal Reference
                                                                                     Art Ill, Sec 3(d), Fla. Const.-
     May 3 (Fri)       Last day of regular Legislative Session.                       Regular session not to extend
                                                                                      beyond 60 days.

                                                                                     Section 99.021, F.S.- 365 days
                       Deadline for State Senator, State Representative,             before the beginning of applicable
    June 16 (Sun)      County Office and Special District candidates to change qualifying preceding the General
                       party affiliation.                                      Election (Qualifying begins noon,
                                                                                     June 15, 2020).

                       Deadline for Supervisor of Elections to submit HAVA
                                                                                     Help America Vote Act
   July 31 (Wed)       "Balance" Report (i.e., remaining balance of HAVA
                                                                                     (HAVA)(U.S.C. §§ 15301-15545)
                       funds as of June 30, 2019).

                       Last day for Supervisors of Elections to certify to the       Sections 98.065 and 98.075, F.S.;
   July 31 (Wed)       Division of Elections address and registration list           Rule 1S-2.041, F.A.C. -No later
                       maintenance activities for prior six months.                  than July 31 of each year.


                       Deadline for Supervisors of Elections to submit to the
                       Department of State their HAVA Funds Expenditure
                       Reports for use of funds relating to voter education,
                                                                                     Help America Vote Act (HAVA)(42
December 31 (Tue) poll worker training, federal election activities, voting
                  systems assistance, optical scan and ballot-on-demand
                                                                                      u.s.c.
                                                                                           §§ 15301-15545).

                       for the reporting period October 1, 2018 through
                       September 30 2019.

                       Election administrators to review records against
                  Records Retention Schedule for Election Records
December 31 (Tue) (GS-3) and internal office retention schedule and                  Florida Public Records Law.
                  identify and schedule disposition of records that have
                       met retention.




Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday does not move to the
next business day.                                                                                                      Page 20
                                                           EXHIBIT 1
                                                     Change Log
     Date File
                        Action Taken        New Event Date                                 Event
     Amended

                                                                  Deadline for Supervisors of Elections to designate
                                                                  early voting sites for the Primary Election and to
    11/21/2017           Added event           7/29/2018
                                                                  provide the Division of Elections with addresses,
                                                                  dates and hours for early voting sites.

                                                                  Deadline to submit poll watcher designations for
    11/21/2017           Added event           8/14/2018
                                                                  election day for the Primary Election.
                                                                  Deadline to submit HAVA "Balance" Report (i.e.,
     6/25/2018          Moved Event            7/31/2018          remaining balance of HAVA funds as of June 30,
                                                                  2018).
     6/25/2018         Changed Cover               N/A            N/A
                                                                  Deadline for voter to submit vote-by-mail ballot cure
     7/6/2018            Added event           8/27/2018
                                                                  affidavit for the Primary Election
                                                                  Deadline for voter to submit vote-by-mail ballot cure
     7/6/2018            Added event           11/5/2018
                                                                  affidavit for the General Election




*Denotes a Holiday- Unless otherwise expressly stated in law or rules, a deadline that falls on a weekend or a legal holiday
does not move to the next business day.                                                                               Page 21
                                                         EXHIBIT 1
Florida Department of State
    Division of Elections
      Room 316, R. A. Gray Building
            500 S. Bronough St.
     Tallahassee, Florida 32399-0250
           Phone: 850-245-6200
    Web Site: http://election.dos.state.fl.us




                  EXHIBIT 1
EXHIBIT 4
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

MARTA VALENTINA RIVERA                            Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MI FAMILIA VOTA EDUCATION
FUND, UNIDOSUS, and VAMOS4PR,

       PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

       DEFENDANTS.

                         DECLARATION OF ELIZABETH HORNE,

                SUPERVISOR OF ELECTIONS OF COLUMBIA COUNTY

       I, ELIZABETH "LIZ" P. HORNE, in my capacity as Columbia County, Florida,

Supervisor of Elections, and according to 28 U.S.C. § 1746, hereby state:

       1.      My name is Elizabeth "Liz" P. Horne. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.

       2.      I have served as Columbia County Supervisor of Elections since 2005.            As

Supervisor, my duties include preparation of ballots, administering all aspects of voting,

including vote-by-mail voting, early voting, and election day voting, hiring and training election

workers, voter registration activities, voter education, and maintaining election equipment.
        3.     At the time of making this Declaration, my office employs seven full-time and

between four and six part time staff, and we are in the early voting phase of our primary election.

Early voting will end on August 25th and our primary election day will be August 28, 2018.

During early voting, my staff are receiving voters between 8:30 a.m. and 6 p.m. each day, and

the County canvasing board is meeting regularly to ensure timely canvas of ballots.

        4.     My understanding is that the Plaintiffs in this case seek an injunction ordering

thirty-two of the State's Supervisors of Elections, including myself, to provide several forms of

aid to non-English speaking Puerto Rican voters.

        5.     During this election cycle this office has made prov1s1on for one Spanish-

speaking voter who requested an accommodation. At no cost to the voter, my office secured an

interpreter who assisted the voter with completing a ballot for the primary election. Although we

do not retain an interpreter or interpreters on a full-time basis, we endeavor at all times to

reasonably accommodate any voter who requests assistance due to a language barrier to

effectuate each vote.

        6.     Based on my experience and the specific circumstances here in Columbia County,

I will not be able to provide any of the requested relief in time for the November 6, 2018 general

election.

        7.     The Plaintiffs want each Supervisor to provide information, materials, training,

and personnel in English and Spanish pertaining to all stages and every facet of the electoral

process, including retaining fluently bilingual fulltime staff and part-time employees on election

day for polling places. These employees will have to possess fluency in both the English and

Spanish languages.




                                                2
             a. The relief sought by the Plaintiffs would substantially affect everything this office

                does. This is true not only for elections like the one we are currently working on,

                but the periods of time between election cycles when we are planning and

                training. The requested relief would require a complete revision of the budget for

                this office with substantial increases affecting every aspect of our operations from

                employment issues through the cost of printing ballots. I would likely have to

                terminate at least one of my employees as none of my current employees are

                bilingual. I am not certain I would be able to identify and hire anyone who would

                meet the Plaintiffs requirements for bilingual staffing. Furthermore, this office

                lacks the budget, manpower, and time necessary to make any of the changes

                requested by the Plaintiff before the 20 18 General Election. I am of the opinion

                that most of the changes requested for the Plaintiff would be cost prohibitive even

                if we were not under deadline for the 2018 General Election.

        8.      If the Court were to grant an injunction that would take effect before the 20 18

General Election I am frankly uncertain how this office would staff or fund its response so as to

comply with the requested relief. In the process of making every effort to comply with any order

of the Court, I am concerned that the ability of my staff to maintain an orderly and fair election

for the people of Columbia County would be adversely impacted. I am concerned that granting

the relief requested by the Plaintiff at any time would be a difficult proposition, but I am more

concerned about granting that relief with so little lead time for compliance.

       On August 23, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that

the foregoing is true and correct:




                                                  3
      th "Liz" P. Horne
Columbia County Supervisor of Elections




  4
EXHIBIT 5
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

MARTA VALENTINA RIVERA               Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MI FAMILIA VOTA EDUCATION
FUND, UNIDOSUS, and VAMOS4PR,

      PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

      DEFENDANTS.

                     DECLARATION OF MIKE HOGAN,

           SUPERVISOR OF ELECTIONS OF DUVAL COUNTY

      I, Mike Hogan, according to 28 U.S.C. § 1746, hereby state:

      1.    My name is Mike Hogan. I am over 18 years of age, am competent to

testify, and declare the following facts based on my own personal knowledge.

      2.    I have served as Duval County Supervisor of Elections since July 1,

2015. As Supervisor, my duties include preparation of ballots, administering all

aspects of voting, including vote-by-mail voting, early voting, and election-day
voting, hiring and training election workers, voter registration activities, voter

education, and maintaining election equipment.

      3.     On a day-to-day basis after the conclusion of the August 28, 2018

primary election, in order to prepare for and administer the general election in

Duval County the Supervisor and staff will be engaged in doing the following:

             August 29 - remaining absentee ballots and provisional ballots must

                    be researched and tabulated I if valid.

             August 30- all voting equipment that has been deployed to election

                    day sites must be returned to election center. All bags, items

                    and supplies must be examined and replenished for distribution

                    October 15 for use in the November 6 general election.

             August 31 - if a recount is necessary, a recount must begin and be

                    completed by September 2.

             September 4 - certification of primary election and selection of

                    primary race and precincts to be manually audited.

             September 4 -poll worker training for general election begins. Over

                    1,800 poll workers must receive 3 hours of training that

                    includes voting system operation, polling place procedures,

                    problem solving, conflict resolution, and etiquette and




                                           2
      sensibility for dealing with voters with disabilities. Poll worker

      training will continue daily until October 13

September 7 - ballot proofs for general election sent to printer.

September 7 - vote tabulation system must be set up and programmed

      with proper candidates and referendum for general election.

      Each tabulator must be programmed individually.

September 7 until completion- 830 + EViDs must be received and

      cleaned from distribution to early voting sites and election day

      precincts and must be reset for use election day.

September 11- deadline to complete manual audit.

September 11 - voter data, ballots and templates must be sent to

      vendor for print, fold, tab ad mail of sample ballots.

September 17 - ballots received by vendor for in house testing of all

      tabulators and auto marks.

September 17 - 22 - ballots received for vote by mail ballots. Vote

      by mail ballots must be prepared for mailing in advance of

      September 22 deadline.

September 22 - Deadline to mail ballots to overseas, absentees voters

September 23 and daily until October 31 - mail absentee ballots to

      overseas, absentee voters on request.


                             3
             October 2 - mail absentee ballots to domestic civilian voters.

             October 3 and daily until October 31 - mail absentee ballots to

                   domestic civilian voters on request.

             October 9- sample ballots delivered to postal service in Jacksonville

             October 12- Logic and Accuracy test for general election

             October 15 - Individual ballots must be separated into precincts and

                   loaded for dispersion on election day.

             October 15- Load out of equipment to early voting sites.

             October 22 - Early voting begins and continues daily until November

                   4 at 18 early voting sites.

             October 29 - Load out of equipment to all 199 election day polling

                   sites.

      4.     My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      5.     Our current efforts to provide language assistance in Duval County

include:

             a.    Spanish translation of all posted information is available on our

      website.




                                          4
             b.    In every precinct and in every voting site, all election literature

      including signage, is currently available in both English and Spanish.

             c.    We will have a sample ballot translated in Spanish that can be

      accessed via telephone call-in.

             d.    We have Spanish interpreters in our call center and available by

      phone on election day to all precincts.

             e.    Our on-site precinct ballot printer can produce a voter-marked

      ballot in Spanish.

             f.    We provide Spanish speaking poll workers in polling precincts

      where we expect a concentration of Spanish voters.

             g.    We have ballot audio in Spanish on the ballot marking device.

             h.     We have recruited poll workers through Hispanic organizations.

             1.     We advertise on Hispanic media to advertise and advise on

      election issues.

             J.     We produce radio spots in Spanish to advertise and advise on

      election issues.

      6.     Based on my experience and the specific circumstances here in Duval

County, I will not be able to provide all of the requested relief in time for the

November 6, 20 18 general election.




                                           5
      7.     The Plaintiffs want each Supervisor to provide information in Spanish

about all stages of the electoral process pertaining to the issuance of notifications,

announcements and other informational materials concerning the opportunity to

register, voter registration deadlines, the times, places and subject matters of

elections, and the absentee and early voting processes. All of this information is

available through our website, which is translatable into Spanish.

      8.     The Plaintiffs want each Supervisor to provide in English and Spanish

the following election-related materials:

             a.     The official ballot: Official ballots must be sent to the printer

                    by September 10, 2018 in order for printing to be completed

                    and received by the Supervisor by the September 22, 2018

                    mailout deadline for overseas absentee voters. Duval County is

                    home to two large U.S. Navy bases and a correspondingly large

                    number of citizens requiring overseas mailouts of absentee

                    ballots.

             b.     Sample ballots: sample ballots must be sent to the printer by

                    September 11,2018 in order to receive the printed sample

                    ballots back in time to mail them out to the voters for receipt

                    prior to the October 22, 2018 start of early voting.




                                            6
c.   Absentee and early voting applications and ballots: absentee

     ballot return envelopes have already been sent to the printer for

     completion and return prior to the start of absentee voting on

     October 2, 2018. If the return envelopes were to be required in

     Spanish, it would be too late to get the envelope proof to the

     vendor to guarantee their return prior to the mailout date.

d.   Provisional ballots: provisional ballot envelopes have already

     been sent to the printer for use on election day. If provisional

     ballot envelopes were to be required in Spanish, the vendor

     requires a minimum of six weeks to produce a new batch of

     provisional ballot envelopes in Spanish.

e.   Voter registration cards and applications: voter registration

     applications are currently available in Spanish. Spanish

     language voter registration cards would have to be printed and

     distributed to all the voters. Each voter registration card would

     have to be reprinted in English and Spanish and reissued to

     each of Duval County's 592,345 currently registered voters

     since it would be impossible to determine which voters require

     a Spanish registration card.




                           7
             f.    Voting instructions: these are currently available because they

                   can be produced at each precinct.

             g.    Voter information guides and pamphlets: Constitutional

                   amendment information is produced by the State of Florida and

                   is available in Spanish. Locally produced voter guides are

                   printed annually and do not contain any specific information

                   applicable to the November 6, 2018 election.

             h.    Notification of elections and polling place changes: Each

                   registered voter in the precinct subject to the polling place

                   change would have to receive a new voter registration card.

                   These cards would have to be produced in both Spanish and

                   English since it would not be possible to determine which of the

                   affected voters only communicates in Spanish.

             1.    Polling place signage: these are currently available.

      9.     The Plaintiffs want each Supervisor to provide Spanish translations of

election-related materials, offices up for election, candidates who have qualified,

and local issues or referenda and announcements applicable to elections in the

Counties, including materials and announcements provided by the State of Florida:

These materials are not available in Spanish. In order to produce these materials in

Spanish, a vendor not othetwise encumbered by the printing work identified in


                                          8
paragraph 8, above would have to be located. These materials would have to be

sent to the vendor and printed and available in time to mail them out to the voters

for receipt prior to the October 22, 2018 start of early voting.

      10.    The Plaintiffs want each Supervisor to provide the Spanish-English

Election Terms Glossary prepared by the United States Election Assistance

Commission at each polling place: These materials are not currently available in

Spanish. It is unclear what would be required to obtain and produce these

materials in Spanish.

       11.   The Plaintiffs want each Supervisor to utilize a certified translator to

prepare translated materials. The translator shall ensure that bilingual and Spanish-

language materials are complete, accurate, and accessible for the Counties'

Spanish-speaking voters educated in Puerto Rico: This would require the

Supervisor to hire a certified translator to translate the existing materials into

Spanish. This currently unbudgeted translation service would have to be

concluded and the translations made to meet the mailout and production deadlines

noted in paragraph 8, above.

       12.   The Plaintiffs want each Supervisor to ensure that English-language

election information and services available on the County's website are available

in equivalent and accurate form in Spanish, including, but not limited to,

information concerning a) polling place location; b) voter information; c) absentee


                                            9
voting; and d) poll workers. Spanish-language information and materials shall be

readily accessible through easily visible and identifiable Spanish-language links on

each County's website in font comparable to that of English-language sections of

the website: These materials are currently available in Spanish.

      13.    The Plaintiffs want each Supervisor to provide information in Spanish

on the County's website and at polling places that any voter who requires

assistance to vote in English may bring a helper to assist them in reading the ballot:

This would be possible to put on the website. However, Duval County has 199

polling precincts. Producing these materials in Spanish would require preparation

of the materials and locating and contracting with a vendor to produce the

materials prior to the November 6, 2018 general election.

      14.    The Plaintiffs want each Supervisor to recruit, hire, train, and assign

bilingual poll workers who are able to understand, speak, write, and read English

and Spanish fluently and can provide effective translation assistance to Spanish-

speaking voters at the polls on election days and at early voting locations: Duval

County does not provide this service, nor does the County employ the workforce

necessary to meet this requirement of a certified translator for its 199 polling

precincts.

      15.    The Plaintiffs want each Supervisor to provide a) at least one bilingual

poll worker at any election precinct in which there are between 100 and 249


                                          10
registered voters with Spanish surnames; b) at least two bilingual poll workers at

any election precinct in which there are between 250 and 500 registered voters

with Spanish surnames; c) at least three bilingual poll workers at any election

precinct in which there are between 250 and 500 registered voters with Spanish

surnames; d) at least two bilingual election officials at each early voting location;

and e) bilingual personnel, trained in Spanish-language election terminology, on

call and available by telephone during all early voting hours and all hours when the

polls are open to provide assistance to any Spanish speaking voters: Duval County

has 592,345 registered voters. Going through the database of registered voters to

identify those individuals with "Spanish surnames" would unduly overburden the

staff and prevent them from performing the duties necessary to properly prepare

for the general election. Additionally, this request creates troubling equal

protection issues unless the Court identifies exactly what "Spanish surnames"

should be considered, since a "Spanish surname" in the opinion of one supervisor

might not be shared by another. Duval County currently has retained 8 bilingual

poll workers.

      16.    The Plaintiffs want each Supervisor to prominently post at each

polling place signs in English and Spanish explaining how voters can obtain

Spanish-language assistance: Duval County has 199 polling precincts. Producing

these materials in Spanish would require preparation of the materials and locating


                                           11
and contracting with a vendor to produce the materials prior to the November 6,

2018 general election.

       17.   The Plaintiffs want each Supervisor to recruit, hire, train, and assign

bilingual personnel who are able to understand, speak, write, and read English and

Spanish fluently and can provide effective translation assistance to Spanish-

speaking voters, including those who are seeking to register to vote in the Counties

or seeking to vote by absentee ballot: Duval County does not provide this service,

nor does the County employ the workforce necessary to meet this requirement of a

certified translator for its 199 polling precincts.

       18.   The Plaintiffs want each Supervisor to train all poll officials and other

election personnel regarding the requirements of Section 4(e) of the federal Voting

Rights Act, 52 U.S.C. §10303(e), including the legal obligation and means to make

effective Spanish-language assistance and materials available to voters: training

materials are developed by the Department of State, Division ofElections, with

some local training enhancement specific to Duval County. Once the new

materials are produced by the State, the Supervisor will implement the new

training materials.

       19.   The Plaintiffs want each Supervisor to, in addition to the above

general training, include in the training ofbilingual poll officials the following

election-related materials: the official ballot; sample ballots; absentee and early


                                            12
voting applications and ballots; provisional envelopes; voter registration cards and

applications; voting instructions; any voter information or pamphlets, notification

of elections and polling place changes, and polling place signage; Spanish

translations of election-related information, materials and announcements

applicable to elections in the Counties that are provided by the State of Florida;

and a copy of the Spanish-English Election Terms Glossary prepared by the United

States Election Assistance Commission: training materials are developed by the

Department of State, Division of Elections. Once the new materials are produced

by the State, the Supervisor will implement the new training materials.

       20.   The Plaintiffs want each Supervisor to provide several forms of aid to

non-English speaking Puerto Rican voters. The timing and logistic issues with this

are:

             a.     The August election will not be completed until September 4

                    unless there is a recount required. That would take perhaps up

                    to one week additional time.

             b.     The ballots for the November election need to be at the printer

                    by September 10.

             c.     We will have already started poll worker training on September

                    4, and depending on the decision made that would hinder us

                    from getting the new training information to the poll workers.


                                          13
             d.    The overseas and military ballots must be mailed on September

                   22.

             e.    Domestic civilian ballots must be mailed on October 2.

             f.    Early voting starts October 22.

             g.    Vote by mail envelope and literature inside would need to be

                   re-printed and that process would take 6-8 weeks to present to

                    the printer and get it back. Also, all of this work must be done

                    right away, and they are in the middle of elections and working

                    on election assignments.

      21.    The Plaintiffs request Spanish language ballots, registration and other

election materials and assistance for the November 6, 2018 election and all future

elections. That would require us to train and hire an estimated additional 225

bilingual poll workers based on the census data the plaintiffs provided. Nothing on

our voter rolls indicates whether a voter can or cannot speak Spanish, regardless of

whether their surname appears to be Spanish.

      22.     The Supervisor of Elections is the Florida Constitutional officer

responsible for registering electors and conducting elections in Duval County. The

Plaintiffs' requests in this lawsuit for production of various materials in Spanish in

time for the November 6, 2018 impossibly strain the limited resources available for




                                          14
adequately completing the current election and preparing for the November 6,

2018 general election.



      On August 24, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty

of perjury that the foregoing is true and correct:




                                           IS
EXHIBIT 6
               IN THE UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF FLORIDA

                           GAINESVILLE DIVISION



MARTA VALENTINA RIVERA                   Case No. 1:18-cv-00152-MW-GRJ

MADERA, on behalfofherselfand all

others similarly situated; FAITH IN

FLORIDA, IDSP ANIC

FEDERATION,

MI FAMILIA VOTA EDUCATION

FUND, UNIDOSUS, and VAMOS4PR,



      PLAINTIFFS,



v.



KEN DETZNER, in his official

capacity as Secretary of State for the

State of Florida; and KIM A.

BARTON,
 in her official capacity as Alachua

 County Supervisor of Elections, on

 behalf of herself and similarly-situated

 County Supervisors of Elections,



       DEFENDANTS.



             DECLARATION OF KAITLYN (KAITI) LENHART,

           SUPERVISOR OF ELECTIONS OF FLAGLER COUNTY

      I, Kaitlyn (Kaiti) Lenhart, according to 28 U.S.C. § 1746, hereby state:

      1.     My name is Kaiti Lenhart. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.

      2.     I have served as Flagler County Supervisor of Elections for three

years and eight months. My experience also includes five years of service as

Deputy Supervisor of Elections in Flagler County. As Supervisor, my duties

include preparation of ballots, administering all aspects of voting, including vote-

by-mail voting, early voting, and Election Day voting, hiring and training election

workers, voter registration activities, voter education, and maintaining election

equipment.

      3.     Election cycles are a marathon, Primary Election Day is only half of

the race. Florida's late primary means we must prepare for two elections at one
                                            2
time. While we are in the midst of early voting and Election Day preparations for

the Primary Election, we are ready to swing into action for the General Election

directly following August 28 and the certification of the results in order meet the

deadline to mail ballots for our overseas voters by September 21, 2018. Active

voting for the General Election begins in less than one month from the date of this

Declaration.

      4.       The current primary election is our first countywide election using our

new voting system which was installed in April 201 7 to replace 19-year-old

precinct-level tabulators. Our equipment testing period began in February of this

year to prepare and finalize our security protocols and election procedures to be

used with this new equipment. After receipt ofF ederal grant funding to upgrade

our e-poll book technology, we had a total of five working days to train, test and

deploy the equipment at our early voting sites. My staff of six full-time employees

and I have been working 12-14 hour days for almost two weeks straight because

this is what it takes to serve our community of over 81,000 registered voters. We

plan, train and test equipment _and procedures for months in advance because we

know that anything can happen at the last minute. Our deployment of the new e-

poll books was a success, and early voting is going smoothly. Our turnout today

has already exceeded the total2014 Primary Election early voting turnout with

6, 163 ballots cast. One day. of early voting remains, combined with Election Day

turnout in a midterm Primary Election that is on track to continue to exceed our
                                           3
expectations for voter turnout. Delivery trucks have been picked up and our voting

equipment and precinct supplies are packed and ready for delivery to polling

locations this morning. We are on schedule to meet deadlines even after installing

new hardware and software at the last minute, training staff and poll workers in

record time to further secure the elections process. I fear granting the Plaintiffs in

this case the requested relief en toto would greatly undermine the efficiency of this

election cycle that we have worked so hard to ensure. In fact, it may not be

humanly possible.

      5.     My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      6.     We currently have Spanish-speaking poll workers scheduled to work

in the General Election. Provisions of election law already allow voters to receive

assistance from a person of their choice or from workers at the polls during in-

person voting. Our website (FlaglerElections.com) offers a translation tool which

can be used to translate the content of the site into many languages, including

Spanish. On the website, we link to many forms, guides and the 2018

Constitutional Amendment ballot language which is available in Spanish. To my

knowledge, the requested relief has not been made by a voter in Flagler County

during this election cycle and the number of affected Puerto Rican citizens

displaced by Hurricane Maria who currently reside in Flagler County is unknown.
                                           4
However, I am willing to recruit and hire a Spanish-speaking temporary office staff

member to provide translation services for voters who may request assistance in

their native Spanish language during the 20 18 General Election. This staff member

must be immediately trained during the month of September to be available for

voter registration, early voting and Election Day needs of citizens who may request

assistance in Spanish.

      7.      Based on my experience and the specific circumstances here in

Flagler County, I will not be able to provide some of the requested relief in time

for the November 6, 2018 General Election.

      8.      The Plaintiffs have requested that each Supervisor Provide, in English

and Spanish, the following election-related materials: a) the official ballot; b)

sample ballots; c) absentee and early voting applications and ballots; d) provisional

ballots; e) voter registration cards and applications; f) voting instructions; g) any

voter information guides or pamphlets; h) notification of elections and polling

place changes; and i) polling place signage.

           a. Our absentee (Vote By Mail) ballot envelope design deadline was

              August 8, 2018. The materials for our ballot packages (exterior and

              interior envelopes, secrecy sleeves) are in production and likely near

              completion. Our vendor must have live data from us on September 10

              in order to meet our deadline to mail overseas ballots by the deadline

              of September 21, 20 18 for the General Election. This data includes
                                           5
our final ballot styles in electronic format and specific quantities per

precinct split. Our ballot layout and design for the General Election is

ready for final adjustments after the ballot certification (list ofF ederal

and state candidates) from the Secretary of State following this

Primary. If this injunction to require a Spanish ballot were ordered on

September 5, we simply would not have enough time to hit reset and

start our election preparations over again to produce a dual-language

ballot in time to meet upcoming deadlines. Likewise, the balloting

materials required in order to mail the official ballot could not be

reproduced in time for voters who have requested to Vote By Mail.

It should be noted by the Court that a dual-language requirement

would impact our page size and paper estimate for the 2018 General

Election, resulting in a potential delay for paper to become available

to print our ballots. With the Constitutional Revision Commission's

measures included, this is to be one of the longest ballots in Florida

history. Even if meeting the deadline were possible, there may not be

enough paper in stock from our vendor. When speaking with our

vendor earlier this year, I know they ordered extra paper in

anticipation of a long ballot, however, with the closing of paper mills

across the country and the potential of several customer counties now

exceeding their current estimates to produce a dual-language ballot,
                              6
there is a possibility of a paper shortage. Our ballot design and layout

has been created by measuring all possible races and proposed

Constitutional amendments for a 8.5 x 17" one-page, double-sided

ballot for Flagler County in this General Election. All estimates for

our ballot order and budget preparation has been based upon a one-

page ballot of this size. A dual-language requirement would push

content to a second page and essentially double our ballot order. There

is a potential wait time involved as other counties may be impacted in

a similar fashion. My office would likely need a budget amendment,

which would have to be provided for and approved by the Board of

County Commissioners at a time when that Board is closing out its

fiscal year. While the consideration of the paper ballot is of upmost

importance, we are also required to produce an audio ballot. Our

county population Census estimates do not meet the threshold to

require a Spanish ballot, and therefore we do not currently have

software to produce the Spanish audio ballot translation for persons

with disabilities. If a dual-language ballot were required, I would need

to purchase a software license, receive the software from the vendor

and through the Department of State (which could take 2-3 weeks for

delivery), install the software and receive staff training to use the

software in order to produce an audio ballot for use on our
                              7
              ExpressVote ballot marking devices. We have trained and tested our

              new voting system for months in preparation of this election cycle,

              and I believe there is simply no time for us to receive and effectively

              use this software in time for the 2018 General Election.

           b. Voter registration cards may be produced in Spanish, however it is

              unlikely that our vendor who is currently inundated with the printing

              of ballots and balloting materials would be able to reproduce the

              quantities of voter registration cards needed in Flagler County for the

              2018 General Election if it were needed on a mass scale.

      9.      The Plaintiffs request that each Supervisor provide: a) at least one

bilingual poll worker at any election precinct in which there are between 100 and

249 registered voters with Spanish surnames; b) at least two bilingual poll workers

at any election precinct in which there are between 250 and 500 registered voters

with Spanish surnames; c) at least three bilingual poll workers at any election

precinct in which there are between 250 and 500 registered voters with Spanish

surnames; d) at least two bilingual election officials at each early voting location;

and e) bilingual personnel, trained in Spanish-language election terminology, on

call and available by telephone during all early voting hours and all hours when the

polls are open to provide assistance to any Spanish speaking voters.

           a. While we have Spanish-speaking poll workers currently scheduled to

              work the 20 18 General Election, we do not have enough to staff each
                                           8
         polling place on Election Day. Our first poll worker training class

         begins on September 5, 2018, and there is simply no time to recruit

         Spanish-speaking workers who are available to attend a 3-4 hour

         training class during the month of September and work a 13-16 hour

         day on November 6, 2018. Additionally, there may not be enough

         bilingual workers available within the county to fulfill this request.

10. The formula used to request bilingual poll workers has little relation to the

   number of individuals who attended American flag schools in Puerto Rico,

   who are less than proficient in English, and who are registered to vote in

   Flagler County. According to the declaration of the Plaintiffs expert, Dr.

   Smith, as of July of this year, there are 497 individuals in Flagler County

   who were born in Puerto Rico that are registered to vote. It is unknown how

   many of those 497 are proficient in English, but even if all 497 were not

   proficient in English (an implausible assumption), it would not justify the

   number of bilingual poll workers requested. The plaintiffs formula frankly

   makes unwarranted assumptions about individuals with Hispanic surnames.

11. The mission of the Supervisor of Elections is to enhance public confidence,

   encourage citizen participation and increase voter awareness. Unfortunately,

   the relief requested by the plaintiffs in this case is impractical, and in some

   ways impossible, given the time constraints described above. I wish to



                                        9
      implement every aspect of the Voting Rights Act and am willing to make

      reasonable accommodations for the 2018 General Election.




On August 24, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of

petjury that the foregoing is true and correct:



Is/

Kaiti Lenhart




                                          10
EXHIBIT 7
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF FLORIDA
                                  GAINESVILLE DIVISION

MARTA VALENTINA RIVERA
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MI FAMILIA VOTA EDUCATION
FUND, UNIDOSUS, and V AMOS4PR,

       Plaintiffs,

v.                                                           Case No.: 1:18-cv-00152-MW-GRJ

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

       Defendants.
----------------------------~/
                     DECLARATION OF SHIRLEY ANDERSON
            SUPERVISOR OF ELECTIONS OF HERNANDO COUNTY. FLORIDA

       I, SHIRLEY ANDERSON, according to 28 U.S.C. § 1746, hereby state:

       1.      My name is SHIRLEY ANDERSON. I am over 18 years of age, am competent to

testify, and declare the following facts based on my own personal knowledge.

       2.      I have served as the Hernando County Supervisor of Elections since I was elected to

that position in 2012.

       3.      As Supervisor, I am responsible for the conduct of federal, state and county elections

in Hernando County. My duties include preparation of ballots, administering all aspects of voting,



                                            Page 1 of 7
including vote-by-mail voting, early voting, and election day voting, hiring and training election

workers, voter registration activities, voter education, and maintaining election equipment.

        4.      As Supervisor I am responsible for ensuring the accuracy and reliability of the

November 6, 2018 General Election in Hernando County.

        5.      The November6, 2018 General Election ballot will not be a single ballot. There will

be 4 styles of that ballot for electors depending on where the elector may live.

        6.      The master ballots for all of the races for the November 6, 2018 General Election

must be finalized as soon as possible so that the referendum issues and candidate races can be

programmed into the optical scan ballot readers and properly tested prior to printing. Accordingly,

I anticipate that my office will send the master ballots out to be printed as soon as my office formally

receives the ballot certification from the state on September 6, 2018.

       7.       Before the ballots can be printed, each ballot style must be formatted, programmed,

tested and proofed for accuracy.

        8.      The preparation and testing of the electronic voting machines and the printing,

sorting, and mailing ofballots requires a significant amount of preparation, planning and effort and

must be done on a strict timetable in advance of the election.

       9.       The master ballots are currently being coded by a vendor.

        10.    In accordance with Fla. Stat. § 101.62(4)(a), vote-by-mail ballots for overseas and

absentee military voters must be sent out on September 21, 2018.

        11.     To meet this deadline, all ballot styles must be formatted, programmed, tested,

proofed for accuracy so that they may be sent to the vendor by September 14, 2018.




                                             Page 2 of 7
        12.     In order to comfortably prepare the November election ballot, I must begin the ballot

preparation process no later than the morning of September 6, 2018.

        13.     Every hoirr of every day that I delay the preparation of the ballot, the built in time to

correct any errors in the ballot preparation process is reduced and the chance of error in the ballot

preparation process and thereby the election, however remote, is increased.

        14.     While it is logistically possible to fully program the November 6, 2018 General

Election by September 14, 2018 at the latest, waiting until that date will present a level of

unnecessary risk to the federal, state, county, municipal races and issues on the ballot.

        15.     My understanding is that the Plaintiffs in this case seek an injunction ordering thirty-

two of the State's Supervisors of Elections, including myself, to provide several fonns of aid to non-

English-speaking Puerto Rican-bom voters.

        16.     Based on my experience and the specific circumstances here in Hernando County, I

will not be able to provide some of the requested forms of relief in time for the November 6, 2018

general election.

        17.     For example, it is my understanding that the Plaintiffs are asking this Court to order

each Supervisor to print the official ballots in Spanish, with the translation to be performed by a

certified translator.

        18.     Respectfully, my office would not be able to provide that relief. At this point, my

office does not have sufficient time to complete all of the necessary steps required to produce an

official, Spanish language ballot prior to the September 21, 2018 deadline by which I must send out

vote-by-mail ballots for overseas and absent military voters. Those steps include, but are not limited




                                              Page 3 of 7
to, retaining a certified translator, having the master ballots translated, retaining a vendor to code the

translated ballots, and having the ballots printed.

        19.     The translation of the ballot would need to include all ballot headers. This would

include, but not be limited to, the translation of the election title, jurisdiction name, instructions,

precinct information, any other instruction information such as "Vote Both Sides." "Turn Card

Over,", etc. Further, the contest headers, choices (Yes/No, For/Against~ etc.), and any propositions

or ballot questions would have to be translated into Spanish. The secrecy sleeves and absentee ballot

envelopes would also need to be translated.

        20.     If the Court requires my office to utilize a bilingual ballot, as opposed to separate

English and Spanish ballots, the ballot size will likely double. This will increase my office's ballot

paper, printing, envelope, and postage expenses.

        21.     To accommodate Hernando County's blind and                visually~impaired   voters, the

Supervisor's office has contracted with its election systems vendor, Dominion Voting Systems

("Dominion"), to provide precinct~level voting devices with audio ballot capability. Due to the

requirements of Fla. Stat. Ch. 101, Rule    1S~5 . 001 ,   F.A.C., and the Florida Department of State's

Florida Voting System Standards (Form DS-DE 101), it would be impossible for my office to add

Spanish language capability to those voting devices in time for the 2018 General Election, to wit:

                A.      Dominion would need to obtain an additional user license agreement from

Cepstral, the company that provides the text-to-speech software that is utilized by the audio-capable

voting devices.

                B.      Once Dominion obtains the license from Cepstral, Dominion would then need

to prepare the "bronze disk" containing the installation programs, the software, and the manual.


                                              Page 4 of 7
                C.       Dominion would then send the bronze disk to the Florida Bureau of Voting

Systems Certification.

                D.       The Florida Bureau ofVoting Systems Certification Florida Bureau ofVoting

Systems Certification will then compare Dominion's software packages to Cepstral's previously-

approved Spanish language text-to-voice software.

                E.       Ifthe comparison does not reveal any changes, the Bureau of Voting Systems

Certification will send Dominion's software packages to the Supervisor's office. Florida law does

not allow a vendor to send election system software directly to supervisors' oflices.

                F.       Dominion's representative, Cheryl Holmes, has recommended that my office

allow for at least 3 week:! the company to obtain the license from Cepstral, prepare the bronze disk,

and then Express Mail it to the Florida Bureau of Voting Systems Certification.

                G.       According to Ms. Holmes, ''the State said that the turnarowtd time for review

ofthe Bronze Disk will depend on the number of requests submitted and when."

                H.       Ms. Holmes has furtberadvisedmethatDominionshouldbeabletoassistmy

technology stal1'install Cepstral's software by telephone. If the installation requires Dominion to

send on onsite technician, however, Dominion would charge my office $2,000 for each day of the

technician's site visit. That being said, Ms. Holmes has advised me that Dominion could not

guarantee that a technician would be available to install the software, as scheduling depends on the

technician's availability.

        22.     Gi veu the time frames and the difficulty of reprogramming an election, the relief

requested by the Plaintiffs in this matter at this late stage in the process may significantly hrum the

accuracy and reliability of the entire election and effect every race and referendum appearing on the


                                             Page 5 of 7
 ballot, depending on when an order in this case is received and when any appellate remedies are

 exhausted.

         23.     For example, the failure of my office to send out the mail ballots on or before

 September 21, 2018, would render the State of Florida unable to fully comply with 52 U.S.C.

 Chapter 203, "Registration and Voting by Absent Uniformed Services Voters and Overseas Voters

 in Elections for Federal Office," and the required reporting to the United States Department of

 Justice regarding such compliance.

         24.     All of that being said, please note that I have already taken the following actions to

 ensure my office's compliance with 52 U.S.C. § l0303(e):

                 A.      The Supervisor's website has a Spanish-language page that provides (1)

 instructions on how to register to vote, (2) instructions on how a voter can verify that he or she is

 currently registered, (3) translated sample ballots, ( 4) the form to request a mail ballot, (5) the form

 affidavit required to correct a mail ballot, (6) the Florida voter guide, (7) the voter's declaration of

 rights, (8) the statement of a voter's responsibilities, and (9) the instruction for voters. 1

                 B.      My office has hired 29 bilingual election workers, each of whom will be

. assigned to work at a precinct pending their successful completion of the requisite poll-worker

 training.

                 C.      Each precinct will have a Spanish-language sample ballot, Spanish-language

 instructional material (e.g., how to mark and cast a ballot, etc.), and a copy of the Spanish Election

 Terms Glossary that is prepared by the United States Elections Assistance Commission.

 FURTHER, AFFIANT SAYETH NAUGHT.


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         htt,ps ://www.hemandovotes.cornllnformacionElectoral.

                                               Page 6 of 7
                                             VERIFICATION

            Onthis~'-\ dayof ~~ %u~ \-,2018,pursuantto28U.S.C. § 1746, Ideclareunderpenalty
    of perjury that the foregoing is true and correct:



                                                         PRINT NAME:     S'n.: r-\.e"=(: \\,JJ e r5uf\.
                                                         (AFFIANT)




            SWORN T O and subscribed before me on this             24   day of ~ 2018 by

Shir--\~t\t;de.r5""'=' (Affiant) who is personally known to me or has produced _ _ __ __
    as identification.




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                                                 Page 7 of 7
EXHIBIT 8
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

 MARTA VALENTINA RIVERA                            Case No.1 :18-cv-00152-MW-GRJ
 MADERA, on behalfofherselfand all
 others similarly situated; FAITH IN
 FLORIDA, HISPANIC FEDERATION,
 MI FAMILIA VOT A EDUCATION
 FUND, UNIDOSUS, and V AMOS4PR,

        PLAINTIFFS,

 v.

 KEN DETZNER, in his official
 capacity as Secretary of State for the
 State of Florida; and KIM A. BARTON,
 in her official capacity as Alachua
 County Supervisor of Elections, on
 behalf of herself and similarly-situated
 County Supervisors of Elections,

        DEFENDANTS.

                               DECLARATION OF Penny Ogg,

               SUPERVISOR OF ELECTIONS OF HIGHLANDS COUNTY

       I, Penny Ogg, according to 28 U.S.C. § 1746, hereby state:

       1.      My name is Penny Ogg. I am over 18 years of age, am competent to testify, and

declare the following facts based on my own personal knowledge.

       2.      I have served as Highlands Supervisor of Elections for five (5) years. As

Supervisor, my duties include preparation of ballots, administering all aspects of voting,

including vote-by-mail voting, early voting, and election day voting, hiring and training election

workers, voter registration activities, voter education, and maintaining election equipment.

       3.      Currently I am actively working and/or overseeing the canvassing and tabulating

our Vote by Mail Ballots, assisting voters, organizing, packing and delivering equipment and
supplies to our precincts in preparation for Election Day, organizing, packing and coordinating

delivery of supplies to Precinct Clerks in preparation of Election Day, conducting Early Voting,

providing data in response to public records request, collecting financial reports from

Candidates, performing canvassing board duties as per Florida Statute, monitoring security under

our new critical infrastructure protocols.

          4.   My understanding is that the Plaintiffs in this case seek an injunction ordering

thirty-two ofthe State's Supervisors of Elections, including myself, to provide several forms of

aid to non-English speaking Puerto Rican voters.

          5.   As in many previous elections and with the current elections our County has

provided a bilingual election worker in all or nearly all of our twenty-five (25) precincts, all of

our three (3) early voting locations and we have a bilingual on full time staff in the elections

office.

          6.   In preparation for the elections of2018, our Elections' Office continues to have a

full-time bilingual staff member and I also added a telephone interpretation service. This service

is available for all our precincts, early voting locations and office staff to access if necessary.

Our office has available both English and Spanish voter registration applications on our front

counter. Additionally, these forms are available at all our voter outreach activities. Our voting

guide is also printed in both languages. The Elections' Office website is translatable into

Spanish as is our face book page. I have also updated signage and voter forms in the precinct

and early voting location to include both English and Spanish as provided by the Division of

Elections or by a professional translator. Upon request, I have Spanish vote by mail return

envelopes with secrecy sleeve instructions and if needed Provisional ballot envelopes including

the mandated free access instructions.



                                                   2
       7.        Based on my experience and the specific circumstances here in Highlands

County, I will not be able to provide some of the requested relief in time for the November 6,

2018 general election.

       8.        The Plaintiffs want each Supervisor to provide voter registration cards and other

listed specific Election Office printed items.

              a. Each print item that is office and/or voter specific requires a layout of information

                 that must be produced by a vendor printer. Print shops require preparation of a

                 description or sample layout prior to accepting an order. Then, the print shop may

                 take several days or weeks to layout, send proofs and print quantities necessary.

              b. The cost for Spanish language voter registration cards and other listed specific

                 Election Office printed items would also be a cost that has not been budgeted for

                 this year.

       9.        The Plaintiffs want each Supervisor to provide information in Spanish on the

County's website:

                 a.      I have no authority to revise the Highlands County website nor do I have

                 access to Highlands County's website; neither is any election related materials

                 already listed there.

                 b.      As mentioned above, the Elections' Office website is translatable into

                  Spanish.

        10.      The Plaintiffs request that I recruit, hire, train, and assign bilingual election

workers or specific multiples of bi-lingual election workers for precincts:

              a. As mentioned above, I have hired bilingual election workers as they are available

                 to work.



                                                    3
                b. Election workers are not full time and as such recruiting and retention of all

                   election workers are varied from election to election.

                c. I am not always successful in finding enough bilingual election workers as they

                   must also agree to be an election worker.

                d. I have no authority to demand a bilingual election worker to apply or assist in the

                   polling or early voting location.

    11.            The Plaintiffs request that I provide graduated numbers of bilingual election

          workers at any election precinct in which certain numbers of registered voters have

          Spanish surnames:

                a. Plaintiffs seek surnames as a basis for bilingual election workers but it is

                   impossible to know who would be in that category as there is no known source of

                   Spanish surname lists available.

                b. Additionally, if such list were available it would take many hours of research to

                   inspect our voter registration database to locate these voters.

          12.      The following factors also impact my inability to comply with the requested relief

of the Plaintiffs:

                   a.      Inflexible time line: Elections have a hard time line; it is not moveable or

                   flexible.

                   b.      Statutory mandates: The hours that it takes to conduct a successful

                   election are already filled with Statute driven mandates.

                   c.          Retired and elderly workers. Implementation of complete changes in

                   procedures are time consuming, expensive to begin and often confusing or




                                                       4
                            overwhelming to my current election workers, many of which are retired and

                            elderly.

                            d.              Compliance with new security protocols. Changes in security protocols

                            have already produced and continue to produce changes to our voting process and

                            threatens our ability to retain seasoned election workers.

                12.         The language assistance that we currently have in place has always been sufficient

to meet the needs of any voter who has a language barrier. We have never turned a voter away

nor had a complaint that a voter has not been successful at casting their ballot through either our

election worker assistance or by bringing their own translator assistance to the polling location.

On August 27,2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct:
   !r---.....
  I


STATE OF FLORIDA
COUNTY OF HIGHLANDS

The foregoing was sworn to be.f9re me on this 2 /"%.ay of August, 2018, by Penny Ogg, who is
personally known to me lW" or who produced                                               as
identification 0 and who signed the foregoing Affidavit in my presence.


       .·i-:.;r._v:~v~t:-. KAREN C. KENSINGER
       f {~\ ':Commission # GG 054030
       \~}~·~.:_j Expires January 10, 2021
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                                                                         Notary Public, State of Florida
        '•l.f.~Y.f~~~··· Bonded Thnl Troy Fain Insurance 8011-385-7019   My Commission Expires: _ _ _ _ _ __


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EXHIBIT 9
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

MARTA VALENTINARIVERA                Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MIFAMILIA VOTAEDUCATION
FUND, UNIDOSUS, and V AMOS4PR,

      PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors ofElections,

      DEFENDANTS.

                DECLARATION OF SYLVIA D. STEPHENS,

           SUPERVISOR OF ELECTIONS OF JACKSON COUNTY

      I, Sylvia D. Stephens, according to 28 U.S.C. § 1746, hereby state:

      1.     My name is Sylvia D. Stephens. I am over 18 years of age, am

competent to testify, and declare the following facts based on my own personal

knowledge.

      2.     I have served as Jackson Supervisor of Elections for over 29 years.

As Supervisor, my duties include preparation of ballots, administering all aspects
of voting, including vote-by-mail voting, early voting, and Election Day voting,

hiring and training election workers, voter registration activities, voter education,

and maintaining election equipment. In Jackson County, we have 14 voting

precincts throughout the County, which is an area that covers over 950 square

miles and has a population of approximately 48,330, with 27,741 registered voters.

      3.       I have been advised of the relief that the Plaintiffs in this case are

seeking, which includes injunctive relief ordering thirty-two of the State's

Supervisors of Elections, including myself, to provide several forms of aide to non-

English speaking Puerto Rican voters. As detailed further below, it would be

impossible for my office to comply with these items in time for the General

Election.

      4.       Currently, this office is:

            a. In the process of additional security upgrades and security

               requirements to ensure that the integrity of the election process is

               successful in this office and in the eyes of the public. In an office the

               size of my office, this in itself is extremely tasking and requires multi-

               tasking of staff with specific expertise.

            b. Involved in Vote By Mail Processing and Early Voting as well as

               Election Day Prep requirements for the August 28th 2018 Primary

               Election. This involves communication and management of over_


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              Precinct Election Officials (poll workers) and Polling Location access

              validation/delivery planning.

           c. Finishing and validating the final equipment and material preparation

              by August 30th for the November 6th election.

      5.      Once we conclude the August 28th Primary Election, we have a short

window of time to report and certify the Primary Election results and meet other

deadlines for the General Election. Those include the following items or

deadlines:

           a. August 31st - report unofficial returns of Primary Election to the

              Department of State;

           b. September 4th- deadline to certify results of Primary Election to the

              Department of State;

           c. September 7th - Ballot Certification is expected from the Division of

              Elections;

           d. September 1oth to 11th - Ballot Coding;

           e. September 12th- Vote By Mail Test Deck must be printed and

              created;

           f. September 14th- Vote By Mail testing;

           g. September 17th - first Vote By Mail ballots are mailed out.




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       6.    As indicated above, there is a short period of time (13 days) between

certifying the Primary Election results and sending out the first set of Vote By Mail

ballots. During this period of time, we need to have the General Election ballots

finalized, approved and printed and test our systems for the Vote By Mail ballots.

We also need to have supplies on hand to print the ballots and prepare envelopes

for mailing. At this point, we have already ordered the supplies (paper, envelopes,

printer supplies and other materials) based on the format of the ballots we

anticipate using and have templates done for the General Election ballots.

      7.     In the event we are required to prepare bi-lingual ballots, especially

those for Vote By Mail, it would double the size of the ballot (from the current 2

sheet, 4 page ballot to a 4 sheet, 8 page ballot), which would impact the necessary

supplies and materials and envelope sizes (which we currently do not have on

hand) and the ballot template. Without regard to other supervisors of elections that

could similarly be impacted, it would be difficult to obtain the additional supplies

needed in short order to meet such a change. However, since Plaintiffs' lawsuit

affects 32 counties in Florida, it would be impossible to obtain the necessary

additional supplies in a matter of a few days. This is just one example of the

logistical impossibility of meeting the requirements of what the Plaintiffs are

seeking in terms of injunctive relief in this case.




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       8.      When it comes to the Early and Election Day voting for the General

Election, a smaller county like Jackson County is also unable to meet the requests

the Plaintiffs seek in this case. For instance, Plaintiffs' request for bilingual

assistance with Early and Election Day voting and absentee voting would require:

            a. Training of bilingual poll workers, which has never been performed in

               Jackson County and would require development of written procedures

               and a training program.

            b. At least 28 bi-lingual Poll Workers to cover 14 precincts (1 bilingual

               Democratic poll worker and 1 bilingual Republican poll worker for

               each precinct) which is currently not available. In addition,

               independent or other third-parties could request bi-lingual Poll

               Workers, thereby increasing this number.

            c. A bi-lingual ballot (going from the current 2 sheet, 4 page ballot to a 4

               sheet, 8 page ballot) creates recording, storage and transportation

               logistical issues that have never been performed in the history of

               Jackson County and would be extremely problematic. This would

               essentially double the amount of materials in terms of ballots that

               would need to be transported to and from each precinct and stored

               thereafter. Our office has not anticipated or planned for such

               requirements for the 2018 General Election.


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      9.       Finally, I understand that Plaintiffs want each Supervisor to provide

Spanish-language election materials, voting guides, registration materials and

sample ballots. In my opinion and based upon my experience, I do not think this is

necessary and any cost to provide such would be outweighed by any benefit that

this would provide:

            a. Jackson County has not had this request in the past.

            b. Some Spanish language materials are available on the Florida

               Secretary of State Website, which include information of voting

               guides and registration materials.

            c. The limited amount of time available and the need for creation of new

               materials, training programs and testing within the time period for the

               relief requested by the Plaintiffs is not realistic.

            d. Complete documentation overhaul to include the Spanish language

               materials creates an additional unplanned task on this office.

      10.      To date, my office has not been notified of any need for or problems

with assistance to non-English speaking Puerto Rican voters in Jackson County. In

the past, we have always met the needs of our voters while I have been serving as

Supervisor of Elections, and I am not aware of any instances where non-English

speaking Puerto Rican voters' needs have not been met.




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       11.   Due to the fact that Plaintiffs waited until this date to file their lawsuit

and seek the injunctive relief requested in this case, it is fiscally impossible for my

office. Our budgeting for the current year has already been completed, and our

budget did not include allocations to accommodate the additional material and

labor requirements (detailed above) to meet the injunctive requests made by the

Plaintiffs. A budget request and approval would be required prior to being able to

meet the unfunded proposed relief requested.

      12.    As I understand it, Plaintiffs' expert has identified 36 registered voters

in Jackson County who were born in Puerto Rico and 123 adults in Jackson County

who are 18 and over, who speak Spanish at home, and who speak English less than

"very well." 1 These statistics are not the equivalent of there being 123 non-English

speaking Puerto Rican voters in Jackson County who would need assistance as

requested by Plaintiffs in this case. Even taking the higher 123 adult number, this

is less than 0.45% of the total registered voters in Jackson County. To completely

redo the ballot, election materials, voting guides, registration materials, sample

ballots and Vote By Mail materials and add bi-lingual Poll Workers is not only

fiscally and logistically impossible at this date, it appears such would be a strain on

resources based on even the potential (yet unproven) claim that there are affected

1
  These statistics are cited as Plaintiffs' "best case scenario" and not an admission
that such demonstrate any affected voters. Further, exception is taken with regard
to individuals who speak English "less than well" as being voters who would
require assistance.
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voters in Jackson County. Plaintiffs' requests in this case are not tailored toward

the needs (if any) of any non-English speaking Puerto Rican voters in Jackson

County who might need assistance. In the event any injunctive relief should be

entered which would affect my office and Jackson County, Plaintiffs should be

required to address and prove whether there are any voters actually affected, and

such relief should be tailored to address our specific needs. As stated above, I have

been in office for over 29 years and am unaware of any unaddressed needs in

Jackson County.

       13.   Despite this fact, Plaintiffs seek injunctive relief which would affect

the other 99.55+% of the 120,000 voters in Jackson County, whom have never

seen before or are familiar with a multi-language ballot. Due to the limited amount

of time available, it would not allow our office to adequately educate the Jackson

County voters and I anticipate it would cause confusion to most voters.

      14.    Based on my experience and the specific circumstances here in

Jackson County, I have no confidence that we would be able to comply with any of

the requested relief in time for the November 6, 2018 General Election based on

the fiscal, logistical and other issues described above.

      15.    In summary, the focus during this critical election time is to provide

secure, fair, and accurate elections free from confusion and errors while also

maintaining voter confidence. Months of preparation and planning have gone into


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the Primary and General Elections, and the current planned election timeline and

budget simply do not allow for the massive amount of changes and considerations

that would be required in order to successfully provide the relief the Plaintiffs are

requesting. These changes would put great strain on our available resources and are

potentially physically and logistically impossible to pull off in the requested

time line.




On August 24, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct:




Sylvia D. Stephens

Jackson County Supervisor of Elections.




                                                      CARA CRIPES
                                                   Commission# FF 931270
                                                   My Comm•ssion E><.p1res
                                                     JgniJQIY 18, 2020




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EXHIBIT 10
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

 MARTA VALENTINA RIVERA                            Case No. 1:18-cv-00152-MW-GRJ
 MADERA, on behalfofherselfand all
 others similarly sihiated; FAITH IN
 FLORIDA, HISPANIC FEDERATION,
 MI FAMILIA VOTA EDUCATION
 FUND, UNIDOSUS, and VAMOS4PR,

        PLAINTIFFS,

 v.

 KEN DETZNER, in his official
 capacity as Secretary of State for the
 State of Florida; and KIM A. BARTON,
 in her official capacity as Alachua
 County Supervisor of Elections, on
 behalf of herself and similarly-situated
 County Supervisors ofE1ections,

        DEFENDANTS.

                         DECLARATION OF ALAN HAYS,
                   SUPERVISOR OF ELECTIONS OF LAKE COUNTY

       I, Alan Hays, according to 28 U.S.C. § 1746, hereby state:

       1.      My name is Alan Hays. I am over 18 years of age, am competent to testify, and

declare the following facts based on my own personal knowledge.

       2.      I have served in the capacity of the Supervisor of Elections for Lake County, Florida

since Janumy 3, 2017. As Supervisor, my duties include preparation of ballots, administering all

aspects of voting, including vote-by-mail voting, early voting, and election day voting, hiring and

training election workers, voter registration activities, voter education, and maintaining election

equipment.
         3.        Currently, the following activities are being undertaken for the Primary Election,

and will also take place for the November General Election, all of which is being done by the 13

full-time employees retained by the Supervisor of Elections:

                   a.       Updating voter records;

                   b.       Providing responses to voter inquiries regarding voting location/times, etc.;

                   c.       Receiving and properly inventorying Vote-By-Mail Ballots;

                   d.       Sending Cure Affidavit requests to voters with deficient Vote-By-Mail

                   Ballots;

                   e.       Analyzing Vote-By-Mail Ballots for Canvassing Board review;

                   f.       Processing mailing lists for overseas Vote-By-Mail Ballots;

                   g.       Receiving and properly inventorying Early Voting Ballots;

                   h.       Providing technical and administrative support to the 10 Early Voting sites;

                   i.       Mailing out updated voter information cards (due to voter changes in

                   address/name changes/precinct changes);

                  j.        Contacting precinct host facilities to coordinate equipment deliveries;

                  k.        Contacting precinct clerks to review worker lists and voting preparation

                  including monitoring worker status and updating team lists;

                  I.        Training clerks, assistant clerks, inspectors, technicians, and poll deputies

                  to be election workers;

                  m.        Preparing voting equipment for use on Election Day;

                  n.        Preparing data/coding for ballots to be used in the General Election;

                  o.        Planning and preparing for· restaging equipment and supplies for the

                  General Election;


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                  p.        Proofing ballots for General Election;

                   q.       Testing election equipment for General Election.

          4.      My understanding is that the Plaintiffs in this case seek an injunction ordering

thirty-two of the State's Supervisors of Elections, including myself, to provide several forms of

aid to non-English speaking Puerto Rican voters.

          5.      My office already provides the following services to aid non-English speaking

voters:

                  a.        Bilingual poll workers will be stationed at 20 precincts throughout Lake

                  County on election day. For the November General Election, there will a total of

                   I 0 early voting sites, with 5 bilingual poll workers available to serve at those early

                  voting sites.

                  b.        There are 102 voting precincts within Lake County. At a minimum, each

                  precinct will have six sample ballots in Spanish for each ballot style.                    For those

                  precincts with a larger demographic of Spanish speaking voters, there will be 12

                  sample ballots in Spanish for each ballot style. There are 338 ballot styles which

                  equates to 19 different ballot faces.             Copies of three Primary Election Sample

                  Spanish ballots are shown in Exhibit A to represent the services already offered.

                  Exhibit A is attached hereto and incorporated herein by reference.

                  c.        At each polling place, there will be four signs posted in Spanish explaining

                  various aspects of the voting process. Copies of these signs are shown in Exhibit

                  B, attached hereto and incorporated herein by reference.

                  d.        A Spanish interpreter has been retained and will be available by phone from

                  the opening of the polls to the closing of the polls to assist poll workers or Spanish


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                   speaking voters. This service is being offered for early voting and on election day.

                   The interpreter will be stationed in the Elections Office located in Tavares, Florida.

                   e.       There are signs posted at each early voting site and election day precinct

                  notifying voters to contact a poll worker if language assistance is needed. A copy

                   of this notice is provided in Exhibit C, attached hereto and incorporated herein by

                   reference.

                  f.        The elections website (www.lakevotes.com) incorporates a translation

                  service offered by Google, which provides, at a touch of a button, translation of

                  every page on the website into 12 different languages, including Spanish.

         6.       Based on my experience and the specific circumstances here in Lake County, I will

not be able to provide some of the requested relief in time for the November 6, 2018 General

Election.

         7.       From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to provide information in Spanish about all stages of the electoral process

pertaining to the issuance of notifications, announcements, and other informational materials

concerning the opportunity to register, voter registration deadlines, the times, places and subject

matters of elections, and the absentee and early voting processes. This cannot be accomplished

prior to the November 6, 2018 General Election for the following reasons:

                  a.        The Lake County Supervisor of Elections Office has a total staff of 13

                  employees, all of whom are cunently engaged in assisting with the ftmctions related

                  to carrying out a Primary Election. The function of canying out a Primary Election

                  does not end on Augnst 28, 2018, with the closing of the polls.




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                   b.        After the closing of the polls on August 28, 2018, the Supervisor of

                   Elections Office is required to assist the Canvassing Board with reviewing

                  provisional ballots, certifying the Primary Election results, and conducting the post-

                   election audit.      In Lake County, the canvassing of provisional ballots by the

                   Canvassing Board is scheduled for August 31, 2018, and the post-election audit is

                   scheduled for September 5, 2018.

                   c.        Ballots for the November 6, 2018 General Election must be submitted to

                  the commercial printer no later than September 7, 2018. Based on the Canvassing

                  Board's schedule, Elections' staff has less than 2 days from the conclusion of the

                  Primary Election to prepare the final ballot for submission to the c01mnercial

                  printer.

                   d.        Diverting Elections' staff to the task of overseeing the translation of this

                  volume of instructional materials into hard copies is not feasible prior to the

                  November General Election.

                  e.         This information is already available on the County's website

                  (www.lakevotes.com) and can be translated into 12 different languages through the

                  use of Google Translate.

         8.       From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to provide, in English and Spanish, the following materials: (a) the official ballot;

(b) sample ballots; (c) absentee and early voting applications and ballots; (d) provisional ballots;

(e) voter registration cards and applications; (f) voting instructions; (g) any voter information

guides or pamphlets; (h) notification of elections and polling place changes; and (i) polling place

signage.


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                   a.       As indicated above, the November General Election ballots must be

                   delivered to the commercial printer on September 7, 2018. There is not sufficient

                  time in which to hire a certified translator to prepare the ballot for submittal to the

                  printer by September7, 2018. This applies to absentee, early voting and provisional

                  ballots as well.

                  b.        Sample ballots in Spanish will be available for the General Election, and are

                   available now for the August primary, as described in Paragraph 5(b) above.

                   c.       Voter registration cards and applications are currently available in Spanish.

                   d.       Notification of polling place changes and voting instructions are available

                  online (www.lakevotes.com) and can be translated into 12 different languages via

                  Google Translate.

                   c.       As indicated above, polling place signage is in both English and Spanish.

         9.       From my tmderstanding of the relief that has been requested, the Plaintiffs want

each Supervisor to provide Spanish translation of election-related materials, offices up for election,

candidates who have qualified, and local issues or referenda and announcements applicable to

elections in the counties, including materials and announcements provided by the State of Florida.

                  a.        This information is already available online. See www .lakevotes.com.

         10.      From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to provide Spanish-English Election Tenus Glossary prepared by the United

States Election Assistance Commission at-each polling place.

                  a.        Nothing within federal law requires the provision of a Spanish-English

                  Election Terms Glossary.




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                  b.        In order to provide this document at 102 polling precincts, it would be an

                  additional budgetary impact of approximately $1,000.

         11.      From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to utilize a certified translator to prepare translated materials. The translator is to

ensure that bilingual and Spanish-language materials are complete, accurate, and accessible for the

Counties' Spanish-speaking voters educated in Puerto Rico.

                  a.        The Lake County Board of County Commissioners previously utilized the

                  State contract for translation services. However, the State contract for translation

                  services expired on May 18, 2018.                 Therefore, in order to retain a certified

                  translator, a Request for Statement of Qualifications (RSQ) would need to be

                  prepared and notices of the RSQ would need to be sent to available vendors. This

                  process would take approximately 90 days.

                  b.        As indicated above, the ballots for the November General Election must be

                  provided to the commercial printer on September 7, 2018, in order to have them

                  printed and returned in time for the early voting and absentee processes. There is

                  insufficient time in which to accomplish this task prior to the November 6, 2018,

                  General Election.

         12.      From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to ensure that English-language election information and services available on the

County's website are available in equivalent and accurate form in Spanish, including, but not

limited to, information concerning (a) polling place locations; (b) voter information; (c) absentee

voting; and (d) poll workers.            Spanish language information and materials shall be readily




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accessible through easily visible and identifiable Spanish language links on each County's website

in font comparable to that of English language sections of the website.

                  a.       The Lake County Supervisor of Elections' website (www.Iakevotes.com) is

                  available in Spanish through the use of Google Translate. The Google Translate

                  button is prominently displayed on the home page of the website, and on each

                  subsequent page of the website. The Google Translate service does translate the

                  website in a fonnat that maintains the same font size as the English version.

                  b.       Polling place locations, voter information, and absentee voting information

                  are all available on the website.

         13.      From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to provide information in Spanish on the County's website and at polling places

so that any voter who requires assistance to vote in English may bring a helper to assist them in

reading the ballot.

                  a.       This is already being done in the early vote sites and polling places. See

                  Exhibit C.

                  b.       This information is already available on the website (www.lakevotes.com).

                  A screen shot of the website in both English and Spanish is attached hereto as

                  Exhibit D, and incorporated herein by reference.

         14.      From my understanding of the relief tlpt has been requested, the Plaintiffs want

each Supervisor to provide (a) at least one bilingual poll worker at any election precinct in which

there are between 100 and 249 registered voters with Spanish surnames; (b) at least two bilingual

poll workers at any election precinct in which there are between 250 and 500 registered voters

with Spanish surnames; (c) at least two bilingual election officials at each early voting location;


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and (e) bilingual personnel, trained in Spanish language election terminology, on call and available

by telephone during all early voting hours and all hours when the polls are open to provide

assistance to any Spanish speaking voters.

                  a.        This demand is not feasible nor is it required by federal election law.

                  b.        Neither federal law nor state law allows me, in my capacity as the

                   Supervisor ofElections, to draft poll workers. This demand shows ignorance on the

                  part of the plaintiff as to the election process within the State of Florida. Further,

                  not every voter with a Spanish surname              is   non-English speaking, nor were they

                  necessarily educated in an American Flag school, both of which are requirements

                  in order to seek the protections under Section 52 U.S.C. §10303. This approach

                  also would not capture any non-English speaking individual married to someone

                  who did not have a Spanish surname.

                  c.        Although my office routinely solicits poll workers through (a) online voter

                  registration, (b) a link of the website (www.Jal,evotes.com), and (c) through

                  monthly newsletters emailed to any person signing up for this service, there is a

                  minimum pool of applicants from which to choose to fill poll worker positions.

                  d.       Poll worker positions are temporary positions and are paid a flat, per day

                  stipend between $150-$245 depending on what position they hold, i.e., inspector,

                  assistant clerk, clerk, tech, poll deputy. Poll workers must meet minimum standards

                  as required under Florida law. At a minimum, poll workers must:

                           i.        be a registered voter in Lake County

                           ii.       read, write and speak the English language

                           iii.      be able to work a 14-hour day

                           iv.      be able to lift voting equipment and supplies as needed
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                            v.       have an email address and access to a computer and the internet

                            vi.      have reliable transportation (not public transportation)

                            vii.     successfully complete all training and assessment prior to each

                                     election

                            viii.    remain nonpartisan while at the polls

                            ix.      refrain from any divisive comments or discussions concerning a

                                     voter, a voter's party preference, a candidate, or issue, while

                                     working at the polls

                            x.       abide by a non-smoking policy on Election Day.

                  e.        In my experience, most individuals who apply to be poll workers will only

                  work the poll location closest to their homes. I cannot demand, nor dictate, that

                  any person, whether bilingual or not, work in any particular polling precinct. Such

                  demands will always result in the poll worker terminating their position with the

                  Elections Office.

                  f.        I currently have 765 poll workers available for the Primary Election (some

                  of whom will not actually show up to the precinct as scheduled). There are 830

                  poll workers scheduled to work during the November General Election (again not

                  all will actually show up as scheduled). Of those available and qualified to work

                  the polls, only 20 are bilingual as of the date this Declaration is executed.

         15.      From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to prominently display at each polling place signs in English and Spanish

explaining how voters can obtain Spanish language assistance.




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                  a.        There are signs posted at each early voting site and election day precinct

                  notifying voters to contact a poll worker iflanguage assistance is needed. A copy

                  of this notice is provided in Exhibit C, attached hereto and incorporated herein by

                  reference.

         16.      From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to recruit, hire, train, and assign bilingual personnel who are able to understand,

speak, write, and read English and Spanish fluently and can provide effective translation assistance

to Spanish speaking voters, including those who are seeking to register to vote in the County or

seeking to vote by absentee ballot.

                  a.        As indicated above, the Lake County Supervisor of Elections Office has a

                  total staff of 13 employees. The total budget for the Supervisor of Elections Office

                  is approximately $3,000,000. Budget appropriation requests are submitted by

                  Constitutional Officers to the Board of County Commissioners, but allocations are

                  strictly dependent on the approval of the Board of County Commissioners.

                  b.       The Lake County Board of County Commissioners set their maximum

                  millage rates on July 10, 2018. Pursuant to Florida law, the Board of County

                  Commissioners cannot adopt a millage rate higher than the amount established in

                  July. Final budget hearings to establish the 2018-19 Fiscal Year allocations for

                  each Constitutional Officer, including the Supervisor of Elections, are already set

                  for September 11, 2018, and September 25, 2018.

                  c.       It is not feasible and, in fact, would be completely impossible at this time to

                  request additional funding from the Board of County Commissioners for the

                  purposes of adding additional positions to the Elections Office.


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         17.      From my understanding of the relief that has been requested, the Plaintiffs want

each Supervisor to train all poll officials and other election personnel regarding the requirements

of Section 4(e) ofthe federal Voting Rights Act, 52 U.S.C. §10303, including the legal obligation

and means to make effective Spanish language assistance and materials available to voters.

                   a.       All poll officials and other election personnel will be trained as required by

                  law.

         18.      The Lake County Supervisor of Elections Office has a total of 13 full time

employees, and a budget of approximately $3,000,000. The demands made by the Plaintiffs are

unreasonable and, more specifically, not mandated by federal law. This Elections Office provides

many services to non-English speaking residents within Lake County, including voter registration

applications in Spanish, and a reliable option to translate the website into 12 different languages,
                                                                                                                  ·j
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through the use of Google Translate. Contrary to the assertions made with the complaint, Go ogle

Translate works well on all web pages, and has been duly tested to ensure its accuracy.

         19.      At no point in time has this Elections Office been contacted by any resident within

Lake County asserting a complaint that they have not been adequately accommodated, or

indicating that they have been denied the opportunity to vote. The Plaintiffs have also not provided

any affidavits from any resident of Lake Cotmty, Florida attesting to the fact that they were denied,

or will be the denied to cast their ballot in the November General Election.

         20. ·    Pursuant to records provided by the Florida Division of Emergency Management,

there are approximately 313 Puerto Rican immigrants, over the age 18, within Lake County. See

report in Exhibit D, attached hereto and incorporated herein by reference.

         21.      My office, as are other Constitutional Officers within Lake County, Florida, is

dependent upon the Lake County Board of County Commissioners for funding. The Board of

County Commissioners duly established its maximum millage rate on July 10, 2018. Further
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budget requests would more than likely not be approved at this late date. If approved, .such budget

accommodations would severely and negatively impact other Constitutional Officers within Lake

County, including the Sheriff, Tax Collector, Clerk of the Court, and/or Property Appraiser, all of

whom carry out important functions mandated by Florida law.

          22.      If forced to comply with the Plaintiff's demands, at a minimum, the fiscal impact

would be approximately $45;6.00. This fiscal impact would only cover the printing of the

November General Election ballots in Spanish and English. This estimated fiscal impact would

11ot cover any additional costs such as (a) the forced hiring of bilingual poll workers (assuming

any were actually available to serve in that capacity); (b) the hiring of a certified translator (which

could not be accomplished between the hearing set for September 5, 2018 and the deadline for

providing the ballots to the commercial printer of September 7, 20 18); {c) the translation of voter

informational materials; (d) the reconfiguring of the website to provide information in Spanish

without the use of Google Translate. None of the~e expenses have been budgeted for the 2018-

2019 Fiscal Year.



Respectfully Submitted this 24th day of August, 2018. Pursuant to 28 U.S.C. § 1746, I declare
under penalty of perjury that the foregoing is true and correct:




-£~-
A Ian Hays             ,;.r
Lake County Supervisor of Elections




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B:\DOCUMEN112018\SUPERVISOR OF ELECTIONS\Ililingual Ballot ltequirernent\Luke County SOE_Dcclarntion_8·27·18.doex
           EXHIBIT A: PRIMARY ELECTION SAMPLE BALLOTS IN SPANISH




                         0001                                  EJEMPLO DE PAPELETA OFICIAL                                                   PRECINT01

                                                                            28 de agosto de 2018
                                                                              Partido Dem6crata
                                                                       Condado de Lake, Florida

                 REPRESENTANTE: ANTE EL                             SECRETARlO DEL TRIBUNAL                                Contribuciones "Ad Valorem" para
                 CONGRESO DISTRITO 6                                DE CIRCUITO Y CONTRALOR                                Olstrito Escolar
                 (Vote par Uno)                                     PRIMARIA UNIVERSAL
                                                                    (Vote por Uno)                                         APROBACI6N DE IMPUESTOS
                0    Stephen Sevigny                    OEM                                                                ADICIONALES DE TRES CUARTOS
                                                                                                                           AD VALOREM PARA LA
                0    Nancy Soderberg                    OEM        0        Gary J. Cooney                       REP       SEGURIDAD ESCOLAR Y LOS
                0    John Upchurch                      OEM        o Jason D. Paynter                            REP       SERVICIOS DE SALUD MENTAL

                GOBERNADOR Y                                                                                               ,~.sa
                                                                                                                                                  '·-._,<,
                                                                                                                                   debe aprobar un imptlesto
                                                                    JUNTA DE COMISIONAOOS DEL                          .
                ~~E-GOBE~rooOR                                      CONOAOO OISTRITO 2                                       adicional de Ires cuartoS ~0.75) del
                    ote par Uno                                     PRIMARIA UNIVERSAL                                       impues_to de m!llaje a~ v~ orem del
                                                                                                                              Distrit& Escolar, ~ue cOroienZa 'ell
                0    Andrew Gillum                          OEM     {Vote per Uno)                                           de julio 'de 20fQ yfinallzS e! 30 de
                       Aun no Designado                                                                                      jumo -~E.l 2023 para Ja lm~fementacl6n
                                                                   0        Sean M. Parks                        REP         de Ia Ley de Seguridad .Ublica
                                                                                                                             Maljo!Y sjoQem{in,_Douglas High
                0    Gwen Graham                        OEM o               Tad Schnaufer                        REP         SchpOI.y pa(a las- majores de
                      Aun no Designado                                                                     "\~;-i\           SI'J~IciQS de 'Segurldad, y salud
                                                                    j~6fc~!~ ~~~~~c~~~~,__x,                   ''::\         mental de )a escuela, creando
                0    Jeff Greene                        DEM         (Vote par Uno)                 '<'S;, ,<,<:p0t-~-nt«     fin8ncla:nliento sostenible que sea
                                                                                                                           'crlt!ca para mejorar Ia seguridad de
                       Aun no Deslgnado                                                                                      huestros nlftos, programas y
                                                                   0        Don Barbee Jr
                                                                                                                            'serviclos de prevencl6n, y respuesta
                0    Chris King                             DEM    0        ~~ward   c,. t)p!iight _                         a emergencies?
                       Aun no Designado
                                                                 MIEMS'\o~p D"~k),~,Oftt~                                  o sl
                                                                 ESCOUI!j,pl :{Jl!TO \LW
                0    Philip Levine                          OEM _Q{~.te;P,,¥lU!Wl, ~-·<t<;,<Zi"'                           o No
                       Aun no Designado
                                                                  ·q:       PerrY 6erko~ltz
                                                                                                                 --
                                                        t"DEM ·~
                                                                        '         'l
                0   Alex "Lundy" Lundmark                                   BW· M~h1as
                      Aun no Designado                  '          6:: Mike py_kes
                0   John Wetherbee-                               ; MIEMBRO DE LA JUNTA
                                                        ,DEM
                     Aun   "0,
                           oesi~rado_           '   .
                                                                    ESCOLAR DISTRITO 5
                                                        '          {Vote por Uno)
                PRbcu&.DORGE~ERALV -~ ·                            0        Stephanie luke
                 (Volll'Poi'OnoJ     11\ •·
                                     ,,... -1
                                                                   0        Peter E. Tarby
                0   sean   shaw··.                      DEM
                0   Ryan Torrens                        DE_~
                COMISIONADO          DE
                AGRICULTURA
                (Vote per Uno)
                                                    ·-~


                0    Nicole "Nikki" Fried               OEM
                0   Jeffrey Duane Porter                OEM
                0   Roy David Walker                    OEM




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                                               EJEMPLO DE PAPELETA OFICIAL
                        R009                                                           PRECINT09
                                                     28 de agosto de 2018
                                                     Partido Republicano
                                                   Condado de Lake, Florida

                                                                                          Valorem~ para




                0




                0



                0   Ron DeSantls
                     Not Yet Designated

                0   Timothy M. Devine
                     Not Yet Designated

                0   Bob Langford
                     Not Yet Designated
                                                                                              y respuesta
                0   John Joseph Mercadante
                     Not Yet Designated
                                                                              o sl
                0   Bruce Nathan                                              o No
                     Not Yet Designated

                0




                o Matt Caldwell              REP
                o Denise Grimsley            REP
                o Mike McCalister            REP
                o Baxter Troutman            REP




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                                            EJEMPLO DE PAPELETA OFICIAL
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                                                   28 de agosto de 2018
                                                   Partido No-Partidarto
                                                 Condado de Lake, Florida




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sa               ~< ·carta-de ·oerechos   del Elector··                                              ·?·:•"·Responsabiiidad~s,dei·EI~~tor                                    :,,         =
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0                 Todo elector ln scrito en este estado tlene el derecho de:                            Todo elector lnscrlto e n este estado deb e:                                     rJJ
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                      1)   Votary que su voto sea tornado en cuenta con precision.                               1)      Famillarizarse con los candidatos y los asuntos tratados.       ~
                                                                                                                                                                                         >
6                     2)   Emitir elvoto si Ud esta en Ia fila a Ia hora del clerre oftclal de las
                           umas electorales de ese con dado.
                                                                                                                 2)      Mantener una direcci6n actual con Ia oficina del supervisor
                                                                                                                         electoral.                                                      ~
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en
a;
                      3)   Solicitar y recib!r aYloda para votar.
                                                                                                                 3)      Conocer Ia ublcad6n y los horarlos de opera d on del centro
                                                                                                                         de votacl6n.
                                                                                                                                                                                         z
                                                                                                                                                                                         rJJ

i
                      4)   Redbir hasta dos papeletas de votaciOn de reemplilzo por si el

                                                                                                                                                                                         ~
                           elector co mete un error en su voto antes de emitirlo.
                                                                                                                 4)      Llevar consigo identificaci6n apropiada al recinto
g'                    5)   Redbir una expiicaci6n si se cuestiona su insaipd6n o identidad                               electoraL                                                       .....,
t:::                                                                                                                                                                                     rJJ
~      .......
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                      6) Si se cuestiona Ia inscrlpdOn o ldentidad del elector, tiene derecho
                         a emitir el voto en una papeleta provisional.
                                                                                                                 5) Familiartzarse con el funcionamiento del equ ipo de
                                                                                                                    votad6n de su distrito electoral.                                    =
                                                                                                                                                                                         ~
"~f                   7)   Redbir instrucciones por esuito para utilizarfas durante Ia votadoo                   6) Tratar a los trabajadores de los d istritos electo rates con
                                                                                                                                                                                         ~
B                          y, si lo :solidta, redbir instrucdones verbales de los funcionarios
                                                                                                                                                                                         "d
§                                                                                                                        cortesfa.                                                       t"""C
r1r                        electorales.
                                                                                                                                                                                         >
                                                                                                                                                                                         zClz
                                                                                                                 7)      Respetar Ia prlvacidad de otros electores.
                      8)   Ejercer e l voto de forma fibre sin coercl6n ni intimidaci6n de parte
(")                        de los funcionarios electorales o cualquier otra persona.
0                                                                                                                8)      lnformarle sobre cualquler problema o infraccion de las
§                                                                                                                        Ieyes electorales al supervisor electoral.
                      9)   Ser parte de en un sistema de votadon quefundone
-<en                       correctamente y que perrnita que los votos sean emitldos con
                                                                                                                 9)      Hacer p reguntas, sl fuese necesarlo.                           ~
t,0                        precision.                                                                                                                                                    0
                                                                                                                                                                                         >-3
w                 Es poslble que usted tenga o tros d erechos electorates de                                     10)     Asegurarse de que su papeleta ha sido debidamente
                                                                                                                         completada antes de retirarse de su centro de votaci6n.         z
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                  confor mldad con las !eyes estatales y federates. Sl cree q ue se
                  han lnfrlngldo sus d erechos e lectorales, comunlquese con Ia                                                                                                          Cl
00
                  Lin ea Dlrecta de Fraude Electo ral del Departamento de Estado
                  de Florldaal 1.877.868.3737.
                                                                                                        AVISO A LOS ELECTORES: El lncumpllmlent o de cualq u lera
                                                                                                        de estas responsabllldades n o le lmplde a l elector votar.                      ;g
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                                                                                                                                                                 ELECTIO"lS          ~
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                  (s. 101.031(2), F.S.)                                 ELECTIONS              ~        {s.   101.031(2), F.S.J
(/)

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                            Aviso
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                                                                                   lnstrucciones para los Electores
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(;;                                                                                1) Us umas devotadonabrena las 7 a.m.ydenanalas 7 p.m.                   et diad!! Ia elecd6n.
sam        Si alguien comete o intenta                                                 Todo elq uusthm en llll fila de esperaa las 7 p.m. podrhotar. (s. 100.011. F.S.)
                                                                                       VUse •I horark> que Htlll por sepolllldo con ~· f~ y horas de c.ada una de las
;;o
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           cometer cualquier fraude en                                                 loadone hallllludas para voGr lomprano.

(/)                                                                                2) ~ .. un ~o do p<lmatlasctrr.KI;os. Es1oqu~«ededr quo, pan las
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           conexi6n con Ia votaci6n; vote                                             ~ ptlrnatl;os, uslfll debe ser un el ector reglstrado en el partido para el que
                                                                                      sa.-, rYIDndo las prlmarla.. Sln llnlbargo, todos los elHtor.-.sln lmportanu
~          una boleta fraudulenta, o vote o                                           lllfilladon partldlsta o Ia ausen<lit do estAI, pueden vow en una etocd6n ptlmarla
                                                                                      sl todoslosCllllldlctltosde Ia elecdon Uenen Ia ml<ma afiii;KIOO p;artldlsta, y €!
m                                                                                     gan;,dor no <OrUarj oon op<Hidon en lit Rtocdlln genenol, y para l a s . . _

§          intente votar mas de una vez en                                            no-p;orlldiUias o moclkli>s o probll!ll\iiS poblkos. tArt. 6, s.. S{b), Aa. Canst., Flil. StilL.
                                                                                       s. 101.021, F.S.)

~          Ia misma elecci6n, tal persona                                          3) Debe presftltilr una ldonllflCild<)n a>nfOioyfirma antesdavotar.{s. 101.043, F.S.J

§          puede ser condenado de un                                               4) Sl su oleglbdlditd es cuestlclNda o s l no tl@f,. una ldMUfiatdOn con fo!o, sele
§"'                                                                                   ptrmltlra llolal"con urY p;>ptleQ prow~ Par l'avor, reiii>Oculd.>d~onta
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""~        delito grave de 3.er grado. La                                              sera pr•sonlilda ill CornU~ d~ EKrutlnlop;on quodeU!rmlnesl su papoletasera
                                                                                       contada. (s. 1 01.048 F.S.I
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           pena maxima en ese caso es de                                           51 E11la sala de v01a<1ones enconuara papeletits do muestlil dlsponlbles p«a su
 ;;o OO                                                                               r wl>l<ln. {s. 101.20. F.S.)
..8        5,000 d61ares y/o 5 anos de carcel.                                     6] las tnstrualonessobre como utlllzar su eqUipod!! vota<IOn y como emlllr una
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            Linea de fraude electoral                                                  rwdbldow JnstrucclonG, el trab;>j;tdor que le ha itSI>Udose tra del Iugar p;oril que
                                                                                       usted puedavotar tnsecreto.IS- 10 15611, F.S.)

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                                                                                   7] Al ,.,..-,codevotitrdobeutorsoloonlacablnadevotackln,amonosd•quo
"'~                                                                                    hay,uo lkltadoitslstmcla allnS<rl>lrse paravOIM ocuando se roglstrO en Ia sa1a de
                                                                                       votxiOn.ts. 97.061. 10 1.0S1, y 101.5608, F.S.)
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,m                               FLOR.15W..6                                       Ill Oespues de . ,tlr su f'ill>"leta. debe Altr de Ia sala deVOCitdones. No podra volver
                                                                                       itfl1b'W.(S.101.51,F.S.)



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                                                                                   9) Los !rabil);odores de lit vobld<ln cuentln con total autorldiiKI para mantener el
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                                                                                   DS-DE68(rav.03·~01ll)                                             !M?.,l~! ~/~- ~
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 a·              Division de Elecdones • DepartAmento d e Est<Sdo de Ia Florldil

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                                 dos.myf!orida.com/"l"ctions                       (5-1 01 .031 (1 ), FS .)                                          ELECTIONS 4
           OS-DE 35 (rev. 0 3-2018)
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                  EXHffiiT C: "ASSISTANCE IS AVAILABLE" NOTIFICATION




         3 11W Muon St. Su01e 144   •   P.O Bo.• 451   •   Tuvort<, FL ~2778   P 352-343·9734   F 35 ~ 34 3·:1605   E hoyso(i'lnk•vo t•s.cono




                  LEAYUDAMOS
                   ENESPANOL
               PREGUNTE AL OFICIAL




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                     EXHffiiT D: WEBSITE NOTIFICATION FOR ASSISTANCE




            Hom e                    How to Vote
            Register to Vote         Proof of identrficalron is requ~red when castrng o ballo t o t fhe p olls Proof or
                                     rd enhfica tron rnclu des
            Voter Information
                                        · Flonda dn ver's license
            Address Change I            · Flor ido rdentifica tron card rssued by the Deportment o f Hrghwoy Sofety and Motor
            Replacement Card              Vehrcles

            Voter Party Change          · Umted States passport
                                        · Debit or credi t cord
            Fi nd My Precin ct
                                        · Military rd entlficaflon
            Vote-b y-Mall               · Studen t iden trftcolfon
            Sample Ballots              • Retrremen r center rdenttficotron

                                        · Nerghborhood association rd entiftcotron
                                       · Public as~stance ldenhfrco tron (ex· SoCial Secuntyl
            Early Voting
                                        · Health 10 rssued b y US D'.lportm ent of Veteran> Atfo•rs
            Vote In Honor o f    a     • Concealed Weap ons Permit
            Veteran
                                       • Employee 10 issued by any governmental entrty
            Wall of Honor
                                     Registered voters hove the opllon dunng cert01n etecltor'\s to vote pnor to Election Day
                                     d•;ring Early Voting at one ol the rollowrng locations. or Vo te ·b y-Mail If vohng on
                                     Eleclton Ooy. registered voters must cast thelf boltor or rheir d esignated precinct
                                     Voters con vrew a comp lete ltsl> o f preoncts here. or search fur o polling place by h rs
                                     Of her address


                                     What to know on election day:
                                       · Polls or<e open 7 o m until 7 p m.
                                       · Double -check your prelincl number and loca l ron
                                       · Snng your Photo 10 wllh srg narure
                                       · You may bnng your marked .;ompie b a llot wrtll you to osstst you      111   mokrng yO<;r
                                         -;elections
                                       · If you requrr'<! ossrstonc.e rn vonng. you may de>tgnate a per:;on of vo•Jr cho•ce




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     lnicio                     Comovotar
                                Se requiere uno pruebo de identificoci6n ol emitir su voto en las urn as Pruebo de
     registrarse para votar
                                identificoci6n incluye:
     Informacion para
                                  · uno licencia de conduor de Ia Rorida
     votantes de
                                  · l arjeta de identiticociOn de Ia Florida emitida por el Departamento de Segundad
     <;:ambi a de Direcci6n I       de Carre teras y Vehiculos Motorizados
     tarjeta de reemplazo
                                  • paso porte de los Estados Untdos
     de votantes del partido      · tarjeta de debito o cn§drto
     Cambia
                                  · identificaci6n militar
     encontrar mi Recinto         · idenliftcoo6n del estudtante

     Voto por correo              · 1dentificaci6n del t:entro doe Rehro
                                  · identificact6n asocioc16n Barrio
     Boletas de Muestra
                                  · ldentificaci6n de asistenCJa publtca (por e1emplo Ia Sf9uridod Social)
                                  · ldentificaci6n de salud emitido par el Departamento de Asuntos de Veteranos de
     Votaci6n Temprana              EE.UU
                                  · Permiso de las armos encubiertas
     Voto en honor de un
     veteran a                    · 10 de empleado ernrtida per cuolquier enhdad gubemamentol

                                Los votantes reg•strodos tienen Ia opciQn durante c1ertos elecciones de vola antes de
     muro de honor
                                Ia eleccion durante Ia Votacion Anticipada en una de las siguientes ubicaciones • o
                                volar par correo Stlo votaci6n el dio de e1ecet6n. los votonles registrodos deben
                                emthr su voto en su precin•o destgnodo. los votantes pueden ver una hsta completo
                                de los recintos aqui . o buscar un Iugar de votocion por su direccion .

                                Lo que debe saber sobre el dia de ta eleccion:
                                  · Las encu~stos son obierto de 7 om hasto los 7 pm
                                  · Compruebe Ia contidod y Ia ub•coc16n preonlo
                                  · Traer su tdentidad con su foto
                                  · Puede traer su popeleto de muestro marcodo con usted para oyudorle o hocer
                                    sus setecciones




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           EXHffiiT E: REPORT REGARDING PUERTO RICAN IMMIGRANTS




                       PR Total PR Total                    PR Total
                       House hoi      HH                    HH
                        d (HH)        Compositi PR Total    Com posit!             Total         Over 18 voting
                       reported       on        HH          on         Total       Reported      age from CMA
                       by FEMA        reported  checked     checked reported       House         household
                         as in        by FEMA   into TSA    into TSA PR            Hold          members (32
                       County         as In     Hotels by Hotels by Families       Members       counties
          County       7.16.18        County    County    County    in Florida     in Florida    highlighted)
          Alachua                so          100        0           0       so           100                 75
          Bay                21               42        0           0       21            42                 33
          Bradfo rd           2                4        0           0        2             4                  3
          Brevard           133              302        1           4      134           306                218
          Browa rd          S96            1,097       13          34      609          1131                901
          Calho un            1                1        0           0        1             1                  1

          Charlotte
                                 13           32        0              0    13              32                  22
          Citrus                 12           31        0              0    12              31                  22
          Clay                   36           83        0              0    36              83                  62
          Collier                29           63        2              8    31              71                  53

          Columbia
                                 s               9      0              0       s             9                8
          DeSoto              1                  2      0              0     1               2                2
          Duval             164             367         1              4   16S             371              2S9
          Escambia            7              12         0              0     7              12               11
          Flagler            23               so        0              0    23              so               39
          Franklin            1                1        0              0     1               1                1
          Gadsden             1                2        0              0     1               2                2
          Gilchrist           1                1        0              0     1               1                1
          Glades              0                0        0              0     0               0                0
          Gulf                0                0        0              0     0               0                0
          Hamilton            0                0        0              0     0               0                0
          Hardee              4                s        0              0     4               s                5
          Hendry              1                1        0              0     1               1                1

          Hernando
                             77             1S4         1              4    78             1S8              124

          Highlands
                             44             109         0              0    44             109                  79
          Hillsborou
          gh                702            1,496       2S          80      727          1576              1,118
          Indian
          River              17              29         1              0     0             29                   26
          Jackson             0               0         0              0     0              0                    0

          Jefferson
                                 0            0         0              0     0              0                   0




                                                                   22
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          Lafayette
                             0         0          0         0         0         0                         0
          Lake             191       412          3         5       194       417                       3i3
          Lee              152       359          2         4       154       363                       269
          Leon               8        21          0         0         8        21                        13
          Levy               4         5          0         b         4         5                         5
          Manatee           48        94          1         0        49        94                        71
          Marion           124       290          5        14       129       304                       215
          Martin             8        12          0         0         8        12                        12
          Miami-
          Dade             867     1,666         22        45       889      1711                      1,351
          Monroe             6        12          0         0         6        12                         10
          Nassau             8        12          0         0         8        12                         11
          Okaloosa          15        27          0         0        15        27                         25
          Okeechob
          ee                 1         1         0          0         1         1                          1
          Orange         2,241     4,886        99        243      2340      5129                      3,631
          Osceola        1,359     3,006       117        355      1476      3361                      2,239
          Palm
          Beach            266       568          0         0       266       568                        438
          Pasco            158       298          1         2       159       300                        256
          Pinellas         174       339          8        26       182       365                        274
          Polk             730     1,707          9        29       739      1736                      1,244
          Putnam             6        16          0         0         6        16                          9
          5t Johns          23        48          0         0        23        48                         41
          St lucie          48       102          1         4        49       106                         77
          Santa
          Rosa               3         4          0         0         3          4                         4
          Sarasota          27        53          1         1        28         54                        42

          Seminole
                           350       759        14         43       364       802                        587
          Sumter            13        23         0          0        13        23                         22

          Suwannee
                             2         3         0          0         2         3                          3
          Taylor             0         0         0          0         0         0                          0
          Union              1         6         0          0         1         6                          1
          Volusia          240       478         2          2       242       480                        373
          Wakulla            0         0         0          0         0         0                          0
          Walton             0         0         0          0         0         0                          0
          Washingt
          on                0          0         0          0         0         0                         0
          State To tal   9014      19200       329        907      9325     20107                     14603




                                                            23
S:\DOCUMENT\20 18\SUPERVISOR OF ELECTIONS\Bilingual Ballot Requirement\Lake County SOE_ Declaration_8-27- 18.docx
EXHIBIT 11
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

MARTA VALENTINARIVERA                      Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC
FEDERATION,
MIFAMILIA VOTAEDUCATION
FUND, UNIDOSUS, and
VAMOS4PR,

      PLAINTIFFS,

v.
KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A.
BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors ofElections,

      DEFENDANTS.

                    DECLARATION OF TAMMY JONES,

            SUPERVISOR OF ELECTIONS OF LEVY COUNTY

     I, Tammy Jones, according to 28 U.S.C. § 1746, hereby state:

      1.    My name is Tammy Jones. I am over 18 years of age, am

competent to testify, and declare the following facts based on my own

personal knowledge.
      2.     I have served as Levy County Supervisor of Elections since

2013. I have a total of 24 years' experience with elections. As Supervisor,

my duties include preparation of ballots, administering all aspects of voting,

including vote-by-mail voting, early voting, and election day voting, hiring

and training election workers, voter registration activities, voter education,

and maintaining election equipment.

      3.     My understanding is that the Plaintiffs in this case seek an

injunction ordering thirty-two of the State's Supervisors of Elections,

including myself, to provide several forms of aid to non-English speaking

Puerto Rican voters.

      4.     The two main obstacles toward providing Spanish-language

ballots, election materials, and assistance are the cost which has not been

budgeted and the limited timeframe to hire proper personal and vendors to

accomplish this request.

      5.      We have no training by our electronic voting system vendor on

how to create an electronic Spanish-language ballot. A cepstral license

would be needed for the language "voice". Once the license is received, a

certified Bronze Disk would be generated by my vendor and submitted to the

state for review and approval. The vendor has confirmed that they would

need at least 3 weeks to order and receive the license, time for them to create


                                           2
the disk and express it to the State. The State has confirmed that it would

take up to two weeks to review and approve the disk and return it to my

office. It is my understanding they can burn a disk for two to four counties

per day depending on the size of the file. Given the lack of proficient trainers

and the compressed learning curve, it would be extremely difficult to create

a dual-language ballot.     Our vendor has advised that it could assist in

installing the license at a rate of$2,000 per day. I do not have these expenses

included in my limited budget. The vendor's schedule is also subject to a

limited availability and all demands from other Elections Supervisors.

      6.     I would have to hire a certified translator to translate the English

ballot language into Spanish. Once the ballot layout is complete with the

assistance of our vendor, the certified translator would have to proofread the

ballot. Next, the ballot needs to be printed. The deadline to send UOCAVA

ballots is September 22nct. Ballot layout, translation into Spanish, proofing,

and printing is just one small aspect of preparation for the General Election.

In addition, the vendor that prints our ballot has already requested paper size

and quantity estimates so they can have sufficient product in stock. Making

the ballot larger or adding additional paper would pose a significant

challenge since they are not prepared for the huge change in quantities.




                                           3
      7.     Based on my experience and the specific circumstances here in Levy

County, I will not be able to provide most of the requested relief in time for the

November 6, 2018 General Election. I did not receive a letter from any group or

organization as mentioned in the complaint, paragraph 62 and 63, in April or June

of2018 advising me that my county was in need of Spanish-language materials

and assistance under Section 4( e) for the upcoming 2018 election cycle. I believe

after the November 2018 election with proper budgeting, training and preparation I

can and will be able to comply with what the court believes is necessary before the

2020 elections.

On August 24, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct:


;;d~~
Tammy Jones




                                           4
EXHIBIT 12
                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

 MARTA VALENTINARIVERA                Case No. 1:18-cv-00152-MW-GRJ
 MADERA, on behalf of herself and all
 others similarly situated; FAITH IN
 FLORIDA, HISPANIC FEDERATION,
 MIFAMILIA VOTAEDUCATION
 FUND, UNIDOSUS, and VAMOS4PR,

       PLAINTIFFS,

 v.

 KEN DETZNER, in his official
 capacity as Secretary of State for the
 State of Florida; and KIM A. BARTON,
 in her official capacity as Alachua
 County Supervisor of Elections, on
 behalf of herself and similarly-situated
 County Supervisors of Elections,

       DEFENDANTS.

                  DECLARATION OF MICHAEL BENNETT,

           SUPERVISOR OF ELECTIONS OF MANATEE COUNTY

      I, Michael Bennett, according to 28 U.S.C. § 1746, hereby state:

      1.    My name is Michael Bennett. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.

      2.    I have served as Manatee County Supervisor of Elections for 5 years and

8 months. As Supervisor, my duties include preparation of ballots, administering all

aspects of voting, including vote-by-mail voting, early voting, and election day
voting, hiring and training election workers, voter registration activities, voter

education, and maintaining election equipment.

      3.        My office and I are currently entrenched in the activities of the Primary

election. We are conducting early voting, processing vote by mail ballots, preparing

voting equipment, training poll workers, delivering equipment along with a large list

of other tasks. The Primary Election will be our prime focus until it is certified, and

the final audit conducted on September 12th. Preparations are already in place for the

General Election. We have begun printing training materials, we have ordered all the

supplies and materials for the General Election and we have begun ballot

preparations.

      4.      My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      5.      My office currently employs one bilingual staff member. We have

approximately 30 Spanish speaking poll workers that we place where the need is

greatest. We offer voter applications in Spanish. We are currently in the process of

implementing two of the requested items prior to the General election.

           a. Provide the Spanish-English Election Terms Glossary prepared by the

              United States Election Assistance Commission at each polling place.




                                              2
           b. Provide information in Spanish on the County's website and at polling

              places that any voter who requires assistance to vote in English may

              bring a helper to assist them in reading the ballot.

      6.      Based on my experience and the specific circumstances here in Manatee

County, I will not be able to provide most of the requested relief in time for the

November 6, 2018 General Election.

      7.     According to requested relief items 1, 2, 3 and 5 the Plaintiffs want each

Supervisor to [Provide information in Spanish about all stages of the electoral process

pertaining to the issuance of notifications, announcements, and other informational

materials concerning the opportunity to register, voter registration deadlines, the

times, places, and subject matters of elections, and the absentee and early voting

processes],[ Provide, in English and Spanish, the following election-related materials:

a) the official ballot; b) sample ballots; c) absentee and early voting applications and

ballots; d)provisional ballots; e) voter registration cards and applications; f) voting

instructions; g) any voter information guides or pamphlets; h) notification of elections

and polling place changes; and i) polling place signage ], and [Provide Spanish

translations of election-related materials, offices up for election, candidates who have

qualified, and local issues or referenda and announcements applicable to elections in

the Counties, including materials and announcements provided by the State of

Florida], and [Utilize a certified translator to prepare translated materials. The


                                             3
translator shall ensure that bilingual and Spanish-language material are complete,

accurate, and accessible for the Counties' Spanish-speaking voters educated in Puerto

Rico]. My issues relative to these items are similar as they all deal with producing

printed materials, so I am addressing them as one instead of repeating my answer 4

times.

         a. We have never used a certified Spanish translator before. I am not

             familiar with the differences of the various Spanish dialects and

             therefore there will be a lemning curve just to find appropriate certified

             Spanish translators. We would then be required to assemble all the

             required materials and get at least 2 quotes. Once the quotes have been

             evaluated and a translator is chosen we would have to wait on the

             translations. After the translations are produced we could send the

             materials to the appropriate printers to get the items printed in the

             volumes needed. This all assumes that there are any printers and

             translators left with capacity since 32 other counties would be following

             the same process. Many of these items such as signs are also specialty

             items that cannot be printed by just any printer. To believe all of this

             could be accomplished inside the 4-6 weeks that would be required in

             order to have the materials in time to be available for voters before the

             election, our staff for use, our staff for poll worker training, and to be


                                            4
   available to pack for delivery to the precincts, is highly unrealistic. Even

   double or triple that timeframe is highly unrealistic.

b. The production of the Official ballots is a challenge by itself.

       1. We are required to send out overseas ballots a minimum of 45

            days prior to the election. This means we have two weeks from

            the time the State Certifies the candidates to create, test and print

            the ballots before they must be mailed. This is an incredibly tight

            window as it is.

      11. Once we have created the ballot we have to get in line with every

            other county in the country to get their ballots printed.

     111.   We have never been trained on producing bilingual ballots. I

            know the system can accomplish this, however we have not been

            trained on it and do not feel comfortable with the process. It is

            much more complicated than flipping a switch.

     1v. We told our printer how many ballots and what size we would

            need weeks ago. This is because the printer must order special

            paper to print the ballots on and it is at least a month turnaround

            for them to get the paper. If we have bilingual ballots we will

            instantly go from a 1-page ballot to a 2-page ballot which will

            mean we will require twice as much paper. I don't think our


                                    5
                printer could accommodate us and could not accommodate all the

                counties that they print for that are included in this requested

                injunction.

            v. Ballots are expensive, and this would double the cost for the

                ballots.

      c. The budget required to accomplish this task at a normal pace would be

         quite high, but to accomplish it at this accelerated pace would be

         extreme and has not been accounted for. We would have to go to our

         County Commissioners for a budget approval to accomplish such a task.

         This adds additional time to the process.

8. The Plaintiffs want each Supervisor to [Item 6- Ensure that English-language

   election information and services available on the County's website are

   available in equivalent and accurate form in Spanish, including, but not limited

   to, information concerning a) polling place location; b) voter information; c)

   absentee voting; and d) poll workers.

   Spanish-language information and materials shall be readily accessible through

   easily visible and identifiable Spanish-language links on each County's website

   in font comparable to that of English-language sections of the website]

      a. We currently utilize google translate for our website. I understand this

         may not be perfect but from what I've been told it is quite good.


                                        6
      b. The issues related to having our entire website translated are similar to

          those in section 7 a & b. We would have to acquire a translator and then

         have that translator go through our entire website. This would be quite

          extensive as there is a lot of information on our website.

      c. Again, cost is a concetn especially since it is such an unknown

9. The Plaintiffs request for items 8-13 [Recruit, hire, train, and assign bilingual

   poll workers who are able to understand, speak, write, and read English and

   Spanish fluently and can provide effective translation assistance to Spanish-

   speaking voters at the polls on election days and at early voting locations],

   [Provide a) at least one bilingual poll worker at any election precinct in which

   there are between 100 and 249 registered voters with Spanish surnames; b) at

   least two bilingual poll workers at any election precinct in which there are

   between 250 and 500 registered voters with Spanish surnames; c) at least three

   bilingual poll workers at any election precinct in which there are between 250

   and 500 registered voters with Spanish surnames; d) at least two bilingual

   election officials at each early voting location; and e) bilingual personnel,

   trained in Spanish-language election terminology, on call and available by

   telephone during all early voting hours and all hours when the polls are open to

   provide assistance to any Spanish speaking voters], [Prominently post at each

   polling place signs in English and Spanish explaining how voters can obtain


                                        7
Spanish-language assistance], [Recruit, hire, train, and assign bilingual

personnel who are able to understand, speak, write, and read English and

Spanish fluently and can provide effective translation assistance to Spanish-

speaking voters, including those who are seeking to register to vote in the

Counties or seeking to vote by absentee ballot], [Train all poll officials and

other election personnel regarding the requirements of Section 4( e) of the

federal Voting Rights Act, 52 U.S.C. §10303(e), including the legal obligation

and means to make effective Spanish-language assistance and materials

available to voters], and [In addition to the above general training, include in

the training of bilingual poll officials the following election-related materials:

the official ballot; sample ballots; absentee and early voting applications and

ballots; provisional envelopes; voter registration cards and applications; voting

instructions; any voter information or pamphlets, notification of elections and

polling place changes, and polling place signage; Spanish translations of

election-related information, materials and announcements applicable to

elections in the Counties that are provided by the State of Florida; and a copy

of the Spanish-English Election Terms Glossary prepared by the United States

Election Assistance Commission.]

   a. We currently have approximately 3 0 bilingual poll workers. We place

      them where we believe the need for this is the greatest. We have one


                                      8
               bilingual staff member who is available throughout the office when the

               need arises.

            b. We continue to try to recruit additional bilingual poll workers. We have

               a hard time getting sufficient poll workers in general and getting

               bilingual poll workers is a huge challenge.

            c. We are unaware of what constitutes a Spanish surname. We also feel

               like this is a huge mis-characterization for identifying the need,

               especially if the focus is on voters educated in Puerto Rico.

      10.      Preparing and executing all the moving parts of an election is a huge

task. Changes in this process require time and planning to not jeopardize one of the

most sacred activities of our democracy. It would be a huge risk to try and

accomplish everything asked in such a short time ft·ame on such an important

operation.



On August 24, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury

                                conect:




                                             9
EXHIBIT 13
IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF FLORIDA

GAINESVILLE DIVISION



MARTA VALENTINA RIVERA               Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MI FAMILIA VOTA EDUCATION
FUND, UNIDOSUS, and VAMOS4PR,

PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors ofElections,

DEFENDANTS.


DECLARATION OF WESLEY WILCOX,

SUPERVISOR OF ELECTIONS OF MARION COUNTY

      I, Wesley Wilcox, according to 28 U.S.C. § 1746, hereby state:

      1.    My name is Wesley Wilcox. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.
      2.     I have worked in the Elections Industry for almost 28 years. I have

worked in the Marion County, Florida Elections Office since 2001. I currently

serve as the Marion County Supervisor of Elections, a position I have held for the

last five and one-half years. As Supervisor, my duties include the conduct of all

Official Elections held in Marion County, register voters and issue voter

information cards, voter education and outreach, ongoing voter registration list

maintenance activities, maintain, prepare, program and test all tabulation

equipment, preparation of ballots, administering all aspects of voting, including

Vote-by-Mail, Early, and Election Day voting, hiring and training election

workers, qualify candidates for county offices and maintain the candidate

campaign finance system.

      3.     Election preparation consists of minimally the following:

             a.    To administer the primary election, we are currently doing or

      have done the following, including but not limited to: 1) Delivering

      equipment to the respective election day polling places; 2) Administering

      early voting, including providing both telephone and on-site support to sites

      and providing online monitoring of early voting equipment; 3) Confirming

      placement of election workers for election day; 4) Providing customer

      service to voters, processing new voter registrations and voter updates daily,


                                          2
generating voter correspondences, and mailing voter information cards; 5)

Providing ballots to voters by personal delivery upon presentation of

appropriate ID; 6) Performing signature verification on ballots received from

both USPS and on-site drop boxes; 7) Continuing canvassing of voted Mail

Ballots; 8) Preparing areas for receipt of voted ballots and materials from

polling places on election night; 9) Continuing general circulation

newspaper ads; 10) Processing early voting returns daily during the entire

early voting period, includes unpacking and organizing voted ballots, voting

passes, completed forms, and provisional ballots; 11) Preparing for the

closing of early voting sites and pickup of early voting equipment; 12)

Preparing for election night reporting as mandated by Florida Statute; 13)

Preparing for availability of telephone support to all polling places on

election day; 14) Preparing and sending candidate data files daily; 15) Final

preparation to office technology for election day; 16) Monitoring and

projecting election-related budgetary items; 17) Monitoring of voter rolls

and removal of ineligible voters.

      b.     To prepare for the general election, we are currently doing or

have done the following, including but not limited to: 1) Scheduling Mail

Ballot delivery for new requesters; 2) Moving equipment and materials into

                                    3
      place to prepare for Mail Ballot packet delivery; 3) Placing important

      reminders on internal calendars for upcoming processes; 4) Ordered blank

      stock of envelopes, ballot paper, voter ID forms, and extra printer supplies;

      5) Scheduled and sent notices for classes to election workers, and continue

      to recruit and schedule prospective election workers into classes; 6)

      Monitoring and projecting election-related budgetary items; 7) Providing

      customer service to voters, processing new voter registrations and voter

      updates daily, generating voter correspondences, and mailing voter

      information cards; 8) Monitoring of voter rolls and removal of ineligible

      voters.

      4.     My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      5.     Current efforts include but are not limited to the following:

             a.     Providing Spanish Florida Voter Registration forms in our

      office and at every voting location.

             b.     Providing Spanish posters with voter information in those

      polling locations where we have higher concentrations of Hispanic

      population.


                                          4
             c.     Recruit, hire, train, and assign bilingual Election workers who

      are able to understand, speak, write, and read English and Spanish

      fluently and can provide effective translation assistance to Spanish-

      speaking voters at those polling locations where we have higher

      concentrations of Hispanic population.

             d.     Our website is multi-lingual, using the Google Translate

      service.

             e.     Recruited, hired, and trained a full time bilingual staff

      member who is able to understand, speak, write, and read English and

      Spanish fluently and can provide effective translation assistance to

      Spanish-speaking voters for telephonic and personal translations.

      6.     Based on my 28 years of experience and the specific circumstances

here in Marion County, I will not be able to provide all of the requested relief in

time for the November 6, 2018 General Election.

      7.     The Plaintiffs want each Supervisor to: Provide information in

Spanish about all stages of the electoral process pertaining to the issuance of

notifications, announcements, and other informational materials concerning the

opportunity to register, voter registration deadlines, the times, places, and subject

matters or elections, and the absentee and early voting processes;

                                           5
            a.     To provide the aforementioned; all items must be translated to

      Spanish by a Certified Translator and then proofed and published.

      September 7 (Fri) Post Polling Change notice in Office, F.S. 101.001(4)(a).
      - 60 days before the election.

      October 9 (Tue) Deadline to register to vote (book closing) for the General
      Election. Section 97.055, F.S.- On the 29th day before each election.

      October 12 (Fri) - October 26 (Fri) Period in which logic and accuracy
      (L&A) test for General Election may be conducted. (Specific L&A date
      during this period will depend on when the county begins early voting).
      Section 101.5612, F.S.- Not more than 10 days prior to beginning ofearly
      voting.


      I've set forth above all the items that need to be accomplished, I have set

      forth the pertinent deadlines. It is my opinion as Supervisor of Elections that

      the items above cannot be accomplished in compliance with the deadlines.



      8.    The Plaintiffs want each Supervisor to: Provide, in English and

Spanish, the following election-related materials: a) the official ballot; b) sample

ballots; c) absentee and early voting applications and ballots; d) provisional

ballots; e) voter registration cards and applications; f) voting instructions; g)

any voter information guides or pamphlets; h) notification of elections and

polling place changes; and i) polling place signage.



                                          6
      a.     To provide the aforementioned; all items must be translated to

Spanish by a Certified Translator. The items must then be proofed, ordered,

printed and delivered. The majority of these items for the General Election

have been purchased, therefore any additional purchases at this point are

unbudgeted items.

      b.     Furthermore, a timeline for preparation of vote by mail ballots

for the General Election has been set: 1) 9/4/2018 begin to deliver and print

voter envelopes for mail ballots; 2) 9/10/2018 UOCAVA data file released

to candidates; 3) 9113/2018 domestic data file released to candidates; 4)

9/21/2018 UOCAVA ballots mailed to voters; 5) 9/24/2018 UOCAVA 45-

day report due to Division of Elections; 6) 10/2/2018 domestic ballots

mailed to voters.

      c.     Additionally the following tasks must be completed; to include

but not limited to the following: Starting roughly nine weeks from the

election date, we are (in order): 1) building the ballot, that includes the paper

ballot, the ADA visual ballot, ADA audio ballot, various email ballot

packets, various Vote-by-Mail ballot packets; 2) submitting the ballot for

approval, making any needed corrections or adjustments, fully testing all

ballot types; 3) sending the ballot to be printed, printing Vote-by-Mail


                                    7
ballots; 4) generating Vote-by-Mail ballot packets, includes generating all

Vote-by-Mail ballot requests, printing all envelopes, building all packets,

postage for all packets, creating and sending all email- Vote-by-Mail

packets; 5) producing Sample Ballots, includes design of multiple types of

sample ballots, individual-specific printed, combined printed, individual-

specific for web, combined for web, combined for news print; 6) mailing the

Sample Ballots.

September 7 (Fri) Post Polling Change notice in Office, F.S. 101.001(4)(a).
- 60 days before the election.

September 22 (Sat) Deadline for Supervisors ofElections to send vote-by-
mail ballots to absent stateside uniformed and overseas voters (UOCAVA)
for the General Election. Section 101.62, F.S.- Not less than 45 days before
the General Election.

September 24 (Man) Division ofElections to submit to the U.S. Department
of Justice information on county compliance with 45- day UOCAVA vote-by-
mail ballot send-out for the General Election. 43 days before General
Election.

October 2 (Tue) - October 9 (Tue) Mandatory seven-day window for
Supervisors ofElections to mail vote-by-mail ballots to all domestic (non-
UOCAVA) voters who requested vote-by-mail ballots. Section 101.62, F.S.-
Between 35th and 28th day before the election.

October 2 (Tue) - October 9 (Tue) Mandatory seven-day window for
Supervisors ofElections to mail vote-by-mail ballots to all domestic (non-
UOCA VA) voters who requested vote-by-mail ballots. Section 101.62, F. S. -
Between 35th and 28th day before the election.



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      October 7 (Sun) - October 12 (Fri) Deadline for Supervisors ofElections to
      mail notice of time and location of logic and accuracy (L&A) test to county
      party chairs and candidates, who did not receive notice at qualifying.
      Section 101.5612, F. S. -At least 15 days prior to the beginning of early
      voting, specific date will depend on when county will begin conducting early
      voting.

      October 9 (Tue) Deadline to register to vote (book closing) for the
      General Election. Section 97.055, F.S.- On the 29th day before each
      election. If the 29th day falls on a Sunday or a legal holiday, the registration
      books must be closed on the next day that is not a Sunday or a legal holiday.

      October 30 (Tue) Deadline to mail or email sample ballots to voters for the
      General Election. Section 101.20, F.S. -At least seven days prior to any
      election.


      I've set forth above all the items that need to be accomplished, I have set

      forth the pertinent deadlines. It is my opinion as Supervisor of Elections that

      the items above cannot be accomplished in compliance with the deadlines.



      9.    The Plaintiffs want each Supervisor to: Provide Spanish translations

of election-related materials, offices up for election, candidates who have

qualified, and local issues or referenda and announcements applicable to

elections in the Counties, including materials and announcements provided by

the State of Florida.

            a.     To provide the aforementioned; all items must be translated to

      Spanish by a Certified Translator, proofed, ordered, printed, and delivered.
                                          9
             b.     Although State referenda is currently officially translated, our

      General Election ballot does contain local referenda that would require

      certified translation.



      I've set forth above all the items that need to be accomplished, I have set

      forth the pertinent deadlines. It is my opinion as Supervisor of Elections that

      the items above cannot be accomplished in compliance with the deadlines.



      10.    The Plaintiffs want each Supervisor to: Provide the Spanish-English

Election Terms Glossary prepared by the United States Election Assistance

Commission at each polling place.

             a.     To Provide the Spanish-English Election Terms Glossary

      prepared by the United States Election Assistance Commission at each

      polling place, the aforementioned must be downloaded, ordered, printed, and

      delivered.

             b.      The proposed budget for fiscal year 2018-2019, was

      submitted prior to June 1, 2018. The budget is due to be approved prior to

      September 30th, 2018. This is an unbudgeted item.




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      11.    The Plaintiffs want each Supervisor to: Ensure that English-

language election information and services available on the County's website are

available in equivalent and accurate form in Spanish, including, but not limited

to, information concerning a) polling place location; b) voter information; c)

absentee voting; and d) Election workers. Spanish-language information and

materials shall be readily accessible through easily visible and identifiable

Spanish-language links on each County's website in font comparable to that of

English-language sections ofthe website.

             a.     Our website currently provides Google Translate services. Any

      changes to this would require all items to be translated to Spanish by a

      Certified Translator



It is my opinion as Supervisor of Elections that the items above cannot be

accomplished in compliance with the deadlines.



       12.   The Plaintiffs want each Supervisor to: Recruit, hire, train, and assign

bilingual Election workers who are able to understand, speak, write, and read

English and Spanish fluently and can provide effective translation assistance to




                                          11
Spanish-speaking voters at the polls on election days and at early voting

locations.

             a.    Election workers have been assigned to voting locations.

      Election worker classes have been scheduled and will begin on 9/20/2018

      and continue for the three weeks following.



The materials, manuals and class presentations have already been completed for

the General Election, therefore wholescale changes could not be accomplished by

the requested deadline.



      13.    The conduct of an Election is no longer a single day event. The

preparation and planning begins months in advance. There are multiple areas with

multiple deadlines. Each successive task requires the successful completion of its

pre-requisite. Any disruption or delay in any of these areas will cause a ripple

effect across the entire organization. Therefore the introduction of any new

procedure, requirement or process has the potential to cause catastrophic failure

across the entire organization. Although there have been several jurisdictions in

the State of Florida who have completed a successful transition to bi-lingual status,

none of them have completed the task in the proposed timeframe.

                                         12
On August 24th, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct:




SUPERVISOR OF ELECTIONS

Marion County, Florida




                                          13
EXHIBIT 14
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

MARTA VALENTINARIVERA                      Case No. 1:18-cv-00152-MW-GRJ

MADERA, on behalf of herself and all

others similarly situated; FAITH IN

FLORIDA, HISPANIC FEDERATION,

MI FAMILIA VOTA EDUCATION

FUND, UNIDOSUS, and VAMOS4PR,

      PLAINTIFFS,

V.

KEN DETZNER, in his official

capacity as Secretary of State for the

State of Florida; and KIM A. BARTON,

in her official capacity as Alachua

County Supervisor of Elections, on

behalf of herself and similarly-situated

County Supervisors of Elections,

      DEFENDANTS.


                   DECLARATION OF R. JOYCE GRIFFIN,
          SUPERVISOR OF ELECTIONS OF MONROE COUNTY
      I, R. JOYCE GRIFFIN, according to 28 U.S.C. § 1746, hereby state:

      1.     My name is R. JOYCE GRIFFIN. I am over 18 years of age, am

competent to testify, and declare the following facts based on my own personal

knowledge.

      2.     I have served as Monroe County Supervisor of Elections for five (5)

years, after having been elected in November 2012. Prior to my election, I had

worked in the Monroe County Supervisor ofElections office since April 1984, and

was Assistant Supervisor of Elections since 1993 until my election as the

Supervisor. As Supervisor, my duties include preparation of ballots, administering

all aspects of voting, including vote-by-mail voting, early voting, and election day

voting, hiring and training election workers, voter registration activities, voter

education, and maintaining election equipment.

      3.     I currently am overseeing the day-to-day operations to prepare for and

administer the primary and general elections, which includes a myriad of duties

being conducted concurrently, for both elections.   Some of the current duties and

activities include but are not limited to, registering voters, changing names,

addresses or party affiliations, ordering and preparing supplies for polling

locations, training poll workers and new office staff on procedures and use of the

election equipment, conducting early voting for the primary and processing those

vote by mail ballots, programming election equipment for ballot printing,


                                         2
canvassing of the primary election vote by mail ballots, processing voter records of

deceased voters as notified by the State of Florida, preparing election ads and

letters for public circulation and media outreach, assisting candidates, parties and

committees, processing candidate petitions and finances for municipality elections,

processing any initiative Petitions, preparing manually vote by mail envelopes for

the general election, preparing letters to voters who had questionable or no

signature on vote by mail ballots, testing all voting equipment and completing

State mandatory voting reports, along with mapping election files with the State,

processing overseas ballots, oversee workers for early voting for the primary

election, determining status and condition of voting precincts and operation of any

required phone lines, scheduling pickup and delivery of election equipment for

primary election, proofreading of the general election ballots, interacting and

assisting the public or candidates in responding to questions and issues.

Additionally, we are updating all security measures to comply with cyber security

precautions pursuant to applicable grants or other election requirements, which

include meetings with the F.B .I., Homeland Security, and local police enforcement

entities, while also updating our disaster plan for hurricane season or any other

disaster. Within the next week, we will also be conducting the primary election,

conduct manual audits of the results, complete all post-election reports, research




                                         3
any provisional ballots, prepare certification of the results and process with the

State.

         4.   My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

         5.   My office currently has on staff several employees at vanous

locations, who are fluent in Spanish, which we utilize to communicate with any

Spanish language individuals, whether from Puerto Rico or another country. Staff

will field questions or concerns whether they are by phone calls or in-person at our

election offices. We also have poll workers we utilize, who are fluent in Spanish,

and able to efficiently communicate with voters for early voting and on election

day. Voters who need assistance are also provided with the proper documentation

to complete, which is in English and Spanish, in order to have an individual assist

them with their ballot in the voting booth.

         6.   Based on my experience and the specific circumstances here in

Monroe County, particularly the distance of over 150 miles for the County, I will

not be able to provide some of the requested relief in time for the November 6,

2018, general election, while still conducting daily operations and preparing for

both upcoming elections.      Several important factors that apply to most of the

requested relief, in addition to other issues as set forth herein, would be the time


                                          4
constraints, programmmg of election equipment, timely printing of election

materials, and the financial and budget related constraints due to the short time

period.

      7.     The Plaintiffs want each Supervisor to provide information in Spanish

about all stages of the electoral process pertaining to the issuance of notifications,

announcements, and other informational materials concerning the opportunity to

register, voter registration deadlines, the times, places, and subject matters or

elections, and the absentee and early voting processes.

           a. There are limited resources to employ for processing some election

              related materials or even programming equipment for the Spanish

              language on such short notice. We provide a link on our Monroe

              County Supervisor of Election website that directs one to the Florida

              Department of State, Division of Elections website for information in

              Spanish. Additionally, I already have bilingual staff and poll workers

              available for any needed assistance either in person or via the phone.

      8.     The Plaintiffs want each Supervisor to provide, in English and

Spanish, the following election-related materials: a) the official ballot; b) sample

ballots; c) absentee and early voting applications and ballots; d) provisional ballots;

e) voter registration cards and applications; f) voting instructions; g) any voter




                                           5
information guides or pamphlets; h) notification of elections and polling place

changes; and i) polling place signage.

         a. It would be difficult, if not impossible, to provide some information in

            both English and Spanish, in time for the November election,

            particularly the official, sample, vote-by-mail, and provisional ballots

            because these would first need to be translated by a certified

            translator, proofread, then have the ballots prepared, obtain the

            appropriate license for any system requirements, prepare a certified

             State Disk/CD for the State's review and approval, then once

            approved, have the appropriate license installed in the voting

            equipment, and confirm all is accurate. All this would be required

            before a ballot could even be printed. The size of the ballot has to be

            considered and whether it would be a separate ballot for each

             language or a combined ballot. The secrecy sleeve, any instructions,

            and ballot envelopes would need to be revised too. There are only

             limited printers who are authorized to prepare such election materials.

            The vote-by-mail ballots for the November general election must be

            mailed to any absent uniformed services voter or overseas voter by

             September 22, 2018, which would allow less than a month now, and

            to other voters beginning October 2, 2018. It could take as much as


                                         6
             three (3) weeks to even get a license, seek State approval of the

             disk/cd and have it installed, with none of this even being possible

             until you had a translated ballot. The State has until September 6,

             2018, to certify the official results for the primary election, which

             must be done before the County would have the final ballot to even

             begin the process.

      9.     The Plaintiffs request us to provide a) at least one bilingual poll

worker at any election precinct in which there are between 100 and 249 registered

voters with Spanish surnames; b) at least two bilingual poll workers at any election

precinct in which there are between 250 and 500 registered voters with Spanish

surnames; c) at least three bilingual poll workers at any election precinct in which

there are between 250 and 500 registered voters with Spanish surnames; d) at least

two bilingual election officials at each early voting location; and e) bilingual

personnel, trained in Spanish-language election terminology, on call and available

by telephone during all early voting hours and all hours when the polls are open to

provide assistance to any Spanish speaking voters.

           a. In order to be a poll worker, one must be able to read, write, speak

             English, and be a registered voter in the County. With the limited

              population of Monroe County, it would be difficult to find poll

              workers, who were willing and able to work, that meet the above


                                         7
             qualifications and also be bilingual in Spanish.         It has become

             extremely difficult since Hurricane Irma for employers to even hire

             workers for any job, much less ones that are bilingual and meet all of

             the qualifications necessary to be a poll worker or election official.

             Due to the current time constraints, it would be difficult to retain the

             ratio of people needed to meet this request. It is also difficult to

             determine whether the Spanish surnames are individuals that even

             require Spanish speaking assistance at a particular precinct. In point

             of fact, we already promptly provide all services we can with the

             current bilingual staff and poll workers without any issues, whether

             during early voting or at the polling sites on election day.        As it

             stands, securing the number of workers we need when we've had all

             year to prepare is a daunting challenge. The 11th hour nature of this

             request asks the county to perform the impossible.

      10.    In conclusion, there are numerous other issues that will arise if I am

required to meet all of the requests of relief set forth by Plaintiffs and comply prior

to the November 2018 election. Additional staff and poll workers will need to be

hired and trained during a time period that is already stressful and time sensitive

for all involved in the election process, which I hold very sacred, in addition to

these extra requirements that will be unfamiliar to those currently employed. For a


                                           8
small County with only 53,082 registered voters at this time, but yet a County that

is wide-spread over 150 miles, it is also challenging because we have three (3)

offices and 33 precincts that would need to be staffed with more bilingual

individuals that may not be available in the area. We have already begun some

procedures and work for the November election that may require review again.

Our budget for the upcoming year, which would include the November election, is

already established and to locate surplus funds for these additional costs will be

extremely challenging, if even possible. We currently already ensure that bilingual

staff and poll workers in greater numbers are available in the precincts that have a

higher registration of Hispanics.    While all of the thirteen requested items of relief

in such a short time period would be challenging, this Declaration sets forth those

that will be most difficult as I see it for my office.



On August   2B__,2018, pursuant to 28 U.S.C. § 1746, I declare under penalty
of perjury that the foregoing is true and correct.




Superviso o Elections
Monroe County, Florida




                                            9
EXHIBIT 15
                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

MARTA VALENTINA RIVERA                          Case No. 1:18-cv-00152
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC
FEDERATION, MI FAMILIA VOTA
EDUCATION FUND, UNIDOSUS,
and VAMOS4PR,

              Plaintiffs,

vs.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A.
BARTON, in her official capacity as
Alachua County Supervisor of
Elections, on behalf of herself and
similarly-situated County Supervisors
of Elections,

              Defendants.


                    DECLARATION OF PAUL LUX
           SUPERVISOR OF ELECTIONS OF OKALOOSA COUNTY

      I, Paul Lux, according to 28 U.S.C. § 1746, hereby state:

      1.     My name is Paul Lux. I am over 18 years of age, am competent to

testify, and declare the following facts based on my own personal knowledge.




                                      1 of 9
      2.     I have worked in the Okaloosa County, Florida elections office since

1999. I currently serve as the Supervisor of Elections for Okaloosa County Florida.

I have served in this role for nearly 10 years.

      3.     I also currently serve as President of the Florida State Association of

Supervisors of Elections (FSASE), a professional membership organization

representing the Supervisors of Elections of Florida’s 67 counties. Our goal is to

support fair, honest and accurate elections in the state of Florida.

      4.     The Okaloosa County Supervisor of Elections and staff are currently

engaged in the following activities in preparation for the August 28, 2018 Primary

election and the November 6, 2018 General election:

      a.     Daily processing of vote-by-mail ballots.          This includes intake,

      signature verification, and preparation for processing by the canvassing board.

      Additionally, ballot requests from overseas and absent military continue to be

      processed for email distribution.

      b.     Continuation of the mandatory early voting period through Saturday,

      August 25th. Upon conclusion of early voting, equipment must be recovered

      and supplies must be inventoried and re-stocked for the General election. This

      includes cleaning every voting booth and re-staging electronic poll books for

      reprogramming.




                                          2 of 9
c.    Preparation for the conduct of remaining canvassing board meetings.

With a small staff, this requires almost all members—along with temporary

staff—to participate in some fashion with the opening, removing of contents,

and actual tabulation of vote-by-mail ballots. Additionally, ballots that were

emailed or faxed to overseas and absent military voters which are returned

must be transcribed onto machine-readable ballot cards for tabulation—a

time-consuming and detail-oriented process.

d.    Scheduling and preparing for poll worker training for those who will be

working the November election. While doing this, the task of managing the

existing corps of poll workers (some 400+) assigned to work the current

Primary election continues as an ongoing task.

e.    Final preparations for precinct delivery on Monday for the Tuesday

Primary are being made while we continue to coordinate the scheduling of

picking up those same supplies on Wednesday. This involves scheduling

temporary delivery drivers and coordinating with precinct workers for

available times for pickup.

f.    Immediately upon recovery, equipment and supplies from each polling

place must be inventoried and restocked in preparation for the General

election. This includes cleaning every voting booth and re-staging electronic

poll books for reprogramming.

                                3 of 9
      g.     Once the Primary results are certified by the Election Canvass

      Commission (as late as September 9th), only then can we begin finalizing

      ballot layout for the General election. This task cannot be delayed as ballots

      for overseas and absent military voters must be ready for mail out not later

      than the 45th day before the General election – September 22nd. To meet that

      mailing deadline, ballot design must be completed, proofed, printed, and then

      tested. The actual mailing preparation (printing envelopes and then inserting

      ballots and voting materials into the envelopes) requires no less than a week’s

      work prior to the mailing deadline.

      h.     Making preparations for security upgrades across virtually every facet

      of the organization using Federal HAVA Election Security grant funds that

      must be completed before the 2018 General election.

      5.     My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State’s Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      6.     Okaloosa County, despite having no prior notice of the need for

language assistance in Spanish, has proactively taken the following actions:

           a. Outreach twice-yearly to the Northwest Florida Boricuas Ausentes

             Latin America Salsa Festival and the Hispanic Festival. Registration

             materials are always provided in both English and Spanish.

                                       4 of 9
b. Provide the Election Assistance Commission’s English-to-Spanish

   Glossary and Election Phrases at a Glance to every polling place and

   early voting site. Copies are available electronically in each office.

c. Secure on-call translation services to provide telephonic support for

   precincts that do not already have a bi-lingual poll worker assigned.

d. Provide required polling place notices from the Division of Elections

   in Spanish to all precincts.

e. In my capacity as Supervisor of Elections in Okaloosa County, I have

   made every conceivable effort to include everyone, regardless of race,

   background, political party, or language, in our efforts to register voters

   and to encourage them to vote and to be able to cast a meaningful and

   knowledgeable ballot. We have gone to Puerto Rican events every year

   for more than ten (10) years to provide an opportunity for any voter to

   notify us of anyone who needs assistance voting in Spanish (see Exhibit

   “A” attached). We have attempted to register voters, we have left

   registration material, all in the Spanish language, and we have

   personally appeared and personally advertised for bilingual volunteers

   to assist us in every aspect of our office, including that of poll workers.




                              5 of 9
      7.     To this date, we have not had one (1) person request additional

assistance to vote in Spanish, or to notify us that they needed any assistance in any

language other than English.

      8.     This is a largely military community. Those with Puerto Rican or

Hispanic backgrounds who live here tend to be associated with the military and, in

my personal experience, typically speak both English and Spanish. If I were

requested to provide assistance in the Spanish language, I would be hard pressed to

determine what dialect of Spanish would best communicate with our diverse

Hispanic voters. Again, no assistance has been requested from that community. I

attach to this Affidavit an email sent to me by one of the leaders of the Puerto Rican

community. This representative of the community has confirmed to me both our

efforts to serve that community, and in addition, the lack of need for additional

service for the Hispanic community.

      9.     I am familiar with the relief requested by preliminary injunction as to

Alachua County, and in general as to the State of Florida through the Secretary of

State. That list is entirely unrealistic and physically impossible for this office to

accomplish for many reasons. We did not get a letter in March or April of 2018

requesting assistance or aid to any Spanish speaking people including the Puerto

Rican community. If letters were sent to other counties, they were not sent to

Okaloosa. Had a letter been sent, we may have been able to do more; though I am

                                       6 of 9
not sure in what form it would have been; and I have no evidence that it would have

been needed, or used.

      10.    By this time, the Court has heard that new registrations to vote mainly

occur in Florida through the Department of Motor Vehicles and its driver’s licensing

program. We do not control the DMV and we do not know the provisions they make

for Spanish language registration.

      11.    Okaloosa County ballots are printed by an outside vendor located in

Orange County, Florida.      Those ballots are printed by contract pursuant to a

predetermined cost.     The estimated cost for conducting an election has been

presented to the Board of County Commissioners and approved by them in the

budget awarded in October 2017, one year ago. To print ballots at this late date in

two (2) languages will require at least double, if not triple, the number of pages

otherwise required for our ballots, and would extend the space needed to store those

ballots both before and after the election. It would also require changes in all of the

software in this office. Those software changes are again done by contract which

would require two (2) to three (3) weeks’ time to order and receive the new software

due to the security requirements. The software, after the order is placed, must be

transmitted from the vendor directly to the Secretary of State in the State of Florida,

where it will be analyzed to ensure that it is the same software program and version

that was previously certified for use in Florida. After that process is complete, it

                                        7 of 9
would be transmitted to each Supervisor of Elections, myself included. The cost of

these and other efforts demanded by Plaintiffs in this action could not be paid by this

office in our present budget. Next year’s budget will be set by October 2018, and

next year’s budget does not include any of the amounts necessary to accommodate

the relief Plaintiff demands. We would then be required to install whatever program

amendments were made and train all personnel in making certain they will use it

correctly. None of these changes could be instituted before ballot preparation would

need to be completed for the November general election.

      12.    In addition to the above, we believe a dual language ballot prepared and

intended to be used by more than 130,000 voters in this County in order to

accommodate a potential voter who has not been identified and who has not ever

identified himself after countless invitations to do so, would be confusing and

counterproductive.

      13.    We have advertised for poll workers and we have not always been able

to fill the positions we have. We believe a bilingual poll worker at each poll in

Okaloosa County to be unlikely and unnecessary.

      14.    I plan to be present in the courtroom on September 5, 2018, in

Tallahassee. If the Court has questions of me regarding any aspect of this Affidavit,

regarding anything I do as a Supervisor of Elections in the State of Florida or in




                                        8 of 9
Okaloosa County, Florida, or in any aspect of my job, I am happy to answer the

Court’s questions.


I say nothing further.

On August 27, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct:


/s/ Paul Lux
Paul Lux




                                        9 of 9
From:            Paul Lux
To:              Mike Chesser
Subject:         Fwd: Voting Materials in Spanish
Date:            Thursday, August 23, 2018 2:21:48 PM




Paul Lux, CERA
Supervisor of Elections

Begin forwarded message:


       From: Jose Luis G <fwboricuas@yahoo.com>
       Date: August 17, 2018 at 10:24:40 AM CDT
       To: Paul Lux <plux@myokaloosa.com>
       Subject: Re: Voting Materials in Spanish


       Hello Mr. Lux!

       The answer to your question is “negative”.
       To the contrary!
       From as long as I remember, but, especially since 2008 when your office first
       participated in the pre Latin Salsa Music Festival days (as my event is known
       today) your office has been participating and offering registration and other voters
       assistance information to those attending my event. And, as it is well known;
       since over 75% of those attending the festival are Hispanics, I have been pleased
       with all the information you make available not just in English but in my native
       Spanish language to all attending the annual event.

       Please let me know if I can be of further help in this matters!

       Take care!

       Respectfully,

       José L Garcia
       President, NWF Boricuas Ausentes, Inc
       850-240-4417



       Sent from my iPhone


             On Aug 16, 2018, at 10:35, Paul Lux <plux@myokaloosa.com>
             wrote:
      Jose,



      It appears that I, on behalf of Okaloosa County, am about to be
      enjoined in a lawsuit under the Voting Rights Act Section 4(e) which
      protects the voting rights of people educated in Puerto Rican schools
      in a language other than English.



      As you well know, I have been participating in outreach with your
      organization for over a decade.  We have always provided Spanish-
      language voter registration materials at every event and have not, to
      date, used even one of them.  You and I have spoken many times
      about many issues and I have never received even the slightest idea
      that we had any problems here in Okaloosa as it relates to voting.



      Are you aware of any issues that have not been brought to my
      attention concerning the Boriqua community here?



      Warmest Regards,



      Paul Lux, CERA

      Supervisor of Elections


CAUTION: This email originated from outside the organization. Do not click
links or open attachments unless you recognize the sender and know the content is
safe.
EXHIBIT 16
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

MARTA VALENTINARIVERA                Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC FEDERATION,
MI FAMILIA VOTA EDUCATION
FUND, UNIDOSUS, and VAMOS4PR,

      PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

      DEFENDANTS.

                DECLARATION OF DIANE HAGAN,
       SUPERVISOR OF ELECTIONS OF OKEECHOBEE COUNTY

      I, Diane Hagan, according to 28 U.S.C. § 1746, hereby state:

      1.    My name is Diane Hagan. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.

      2.    I have served as Okeechobee County Supervisor of Elections for 5 Yz

years. As Supervisor, my duties include preparation of ballots, administering all

aspects of voting, including vote-by-mail voting, early voting, and election day
voting, hiring and training election workers, voter registration activities, voter

education, and maintaining election equipment.

      3.      My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters before

the upcoming General Election.

      4.      My office currently offers (or will offer) the following language

assistance to non-English voters registered in Okeechobee County:

           a. Election information signs, provided by the State of Florida and

              translated in Spanish, are displayed at the entrance to each polling

              station. These signs offer general instructions, information on voter

              fraud and the voter fraud hotline, and the Florida Voter Bill of Rights.

           b. A translator function is available on the Okeechobee County website,

              which allows users to view the available election information m

              Spanish. This includes material on election sites, dates, and times.

           c. The Okeechobee County website will provide notification that any

             voter who requires language assistance may bring a helper to assist

             them in reading the ballot.

           d. A bilingual staff member is employed to assist Spanish speaking

             citizens with voter registration and absentee voting.


                                           2
           e. Signs explaining how voters can obtain Spanish-Language assistance

              will be displayed at each polling station.

           f. The Okeechobee County website instructs voters needing language

              assistance to either call the main office or ask for assistance at their

              polling location.

           g. To the extent available, bilingual poll workers will be provided to

              offer translation assistance.

           h. Voter applications are provided in Spanish.

      5.      Based on my experience and the specific circumstances here in

Okeechobee County, I will not be able to provide the additional relief requested by

Plaintiffs in their Motion for Preliminary Injunction.

      6.      Plaintiffs request that each Supervisor provide information in Spanish

about all stages of the electoral process, including the issuance of notifications,

announcements, and other informational materials, concerning the opportunity to

register, voter registration deadlines, the times, places, and subject matters of

elections, and the absentee and early voting processes. Providing these materials by

the proffered deadline is simply not possible. The election materials Plaintiffs

reference have been prepared, vetted, and approved well in advance of the

upcoming General Election. Producing Spanish translations of the same would

require hiring a certified translator, producing mockups, and finally securing


                                              3
vendors for production. In addition to the monumental logistical hurdles given the

limited staff I have available, I also face budgetary constraints. None of the above

referenced work has been budgeted, and I lack the resources on-hand to effectively

double the written materials purchased by the County in preparation for the

General Election. My budget has been approved and is in place for the 2018-2019

cycle and is not inclusive of this additional expense.

       7.    Plaintiffs request that each Supervisor provide, in English and

Spanish, the following election-related materials: a) the official ballot; b) sample

ballots; c) absentee and early voting applications and ballots; d)provisional ballots;

e) voter registration cards and applications; f) voting instructions; g) any voter

information guides or pamphlets; h) notification of elections and polling place

changes; and i) polling place signage. Providing Spanish translations of these

materials is subject to the same constrains discussed above. There is neither the

time nor resources available for my office to generate these materials in advance of

the General Election. In addition, Okeechobee County uses an electronic balloting

system. To provide the ballots in Spanish, as Plaintiffs have requested, would

require securing a license from the applicable software company. In addition to

that cost, which again is not budgeted, the software would need approval from the

State and testing before it could be implemented. The timeline until the General

Election is grossly insufficient for these tasks to be completed.


                                          4
       8.    Plaintiffs request that each Supervisor provide poll workers who are

able to understand, speak, write, and read English and Spanish fluently and can

provide translation assistance to Spanish-speaking voters at the polls on election

days and at early voting locations. There are eleven (11) polling stations in

Okeechobee County. Despite my best efforts over the last several months, my

office has been able to secure only four (4) bilingual poll workers. Okeechobee

County, by population, is one of the smallest counties in the State. Given the time

commitment the position requires, it is unrealistic to expect that my office will be

able to recruit the number of bilingual poll workers requested by the general

election. There is simply not the population available from which these workers

can be drawn on such short notice.

      9.     In preparation for the upcoming primary and general elections, and to

meet the obligations provided by Florida law, my office has a tight schedule of

deadlines. A copy of the tasks to be completed is attached as Exhibit A. Among

other logistical undertakings, my office must prepare election sites, finalize

delivery of voting equipment, finalize and publish sample ballots, retrieve ballots

and election materials from vendors, calculate and certify primary results, certify

the list of nominated officials, enter election information into the registration

system, recruit and train poll workers, audit and test voting equipment, update

voter history to the Department of Elections, and prepare and mail absentee ballots.


                                         5
The additional duties Plaintiffs seek to impose would thwart the timely completion

of these necessary tasks, and in consequence frustrate the orderly administration of

the primary and general elections.

      On this 24th day of August, 2018, pursuant to 28 U.S.C. § 1746, I declare




                                        6
EXHIBIT 17
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

MARTA VALENTINARIVERA                 Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA,                     HISPANIC
FEDERATION,
MIFAMILIA VOTAEDUCATION
FUND, UNIDOSUS, and V AMOS4PR,

       PLAINTIFFS,

V.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A. BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

       DEFENDANTS.

           DECLARATION OF HONORABLE BRIAN E. CORLEY,
           SUPERVISOR OF ELECTIONS FOR PASCO COUNTY

      I, BRIAN E. CORLEY, according to 28 U.S.C. § 1746, hereby state:

      1.     My name is Brian E. Corley. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.

      2.     I have served as Pasco County Supervisor of Elections for 11 Y2 years.

As Supervisor, my duties include, but are not limited to, voter registration,

preparation of ballots, administering all aspects of election administration, including
vote-by-mail voting, early voting, and election day voting, hiring and training

election workers, voter registration activities, voter education and outreach,

maintaining election equipment, and maintaining security throughout the process.

      3.     As the elected Supervisor of Elections for Pasco County, Florida, I am

cunently involved in the 2018 Primary election scheduled on Tuesday, August 28,

2018. My duties include, but are not limited to, the following:

             A.    Overseeing the entire Primary election process, which includes

                   administering ballots by mail, maintaining election equipment,

                   overseemg full-time staff of 22 employees and part-time

                   employees and volunteers, totaling approximately          1,500

                   individuals. In addition, I am responsible for security measures

                   over the entire election process.

            B.     I am a member of the Pasco County Canvassing Board whose

                   duties for the 2018 Primary began on August 13, 2018 and has

                   convened to canvass ballots on August 23, 2018 and August 24,

                   2018. The Canvassing Board is also scheduled to convene on

                   Election Day, August 28, 2018; August 30, 2018; September 4,

                   2018; and finally concluding on September 5, 2018 for the post-

                   election statutory audit. Further, additional Canvassing Board




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                    meetings may be required and scheduled in the event of any local

                    or statewide recounts.

      4.     My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      5.     Contrary to the general allegation in the Plaintiffs' pleadings filed in

the above-captioned matter, my General Counsel notified the Plaintiffs

representatives, Kira Romero-Craft, Esquire and Stumt C. Naifeh, Esquire by letter

dated June 28, 2018 the proactive efforts initiated by my office since April12, 2018

including, but not limited to, the following:

             A.     For the Elections' offices:

                    1)    Designated two staff members as Language
                          Assistance Liaisons for the office:

                          a)     Designated telephone line as the Language
                                 Assistance Hotline for day to day business,
                                 Early Voting and Election Day;

                          b)     Postcard notices on front counters of the
                                 Land 0 Lakes and New Pmt Richey offices
                                 with the Language Assistance Hotline
                                 information; and,

                          c)     Will hire additional bilingual temps to work
                                 in the office on Election Day.




                                             3
B.   For the Polling Places/Early Voting Sites:

     1)    Recruiting Bilingual Poll Workers:

           a)     Issued a Media Alert targeting Bilingual Poll
                  Workers;

           b)    Reached out to Hispanic Community
                 Activists to assist with recruitment:

                  i.)   Recruiting for the polling places with
                        high concentrations of registered
                        Hispanic voters;

           c)    Reassigning existing bilingual poll workers
                 to the polling places with the highest
                 concentrations of registered Hispanic voters:

                  i.)   Bilingual poll workers will have a
                        badge that denotes their availability for
                        language assistance;

     2)    Training of all poll workers on how to assist
           Hispanic voters at the polling place:

           a)     Who to contact, etc.;

     3)    Informational Materials in Spanish:

           a)     Voter Rights and Responsibilities;

           b)     Voter Bill of Rights;

           c)     Voter Fraud Info;

           d)     Voter Information;

           e)     Equipment available       for   Voters    with
                  Disabilities;


                           4
           f)    Early Voting Days/Times;

           g)    Notice to Voters- voting in precinct where
                 you live;

           h)    Silence Phones/No Photography;

           i)    Optical Scan Voting Instructions;

          j)     Voting Booth Instructions; and,

           k)    Amendment Booklets when applicable.

     4)    Polling Place Supplies:

           a)    Polling Place Affitmations with all voter
                 sections in Spanish;

           b)    Provisional Certificate Envelopes with all
                 voter sections in Spanish;

           c)    Provisional Information Receipts;

           d)    Provisional Secrecy Sleeves;

           e)    Provisional Manual Voting Passes; and,

           f)    Orange Manual Voting Passes.

C.   For the Website - utilized a professional Puerto Rican
     translator to translate items for the website and other
     relevant materials:

     1)    Language translation feature that allows visitors to
           the website to select a language;

     2)    Vote-by-Mail Request Card;

     3)    Voter Registration Application;


                          5
                   4)     Voter's Guide; and,

                   5)     Guide to Government Officials.

             D.    Voter Outreach/Education:

                   1)     Business Cards on how to register to vote for the
                          outreach booths - used at community events
                          throughout Pasco County;

                   2)     Contacted the Pasco County School District for a
                          list of Puerto Rican students and their
                          parents/guardians relocated from the huiTicane:

                          a)     Mailed a letter (in Spanish and English) with
                                 two Voter Registration Applications (one
                                 English and one Spanish) to the
                                 parents/guardians;

                   3)     Sample Ballots mailed to voters designated as
                          Hispanic on the voter file have a message in Spanish
                          informing them how to get language assistance
                          from the elections' office.

      6.     Based on my experience and the specific circumstances here in Pasco

County, I will not be able to provide some of the Plaintiffs' requested relief in time

for the November 6, 2018 General Election with the exception of the proactive

efforts in the last approximate four (4) month period outlined in Paragraph 5 herein.

      7.     The Plaintiffs have requested each named Supervisor to provide

information in Spanish about all stages of the electoral process pertaining to the

issuance of notifications, announcements, and other informational materials




                                          6
concerning the opportunity to register, voter registration deadlines, the times, places,

and subject matters or elections, and the absentee and early voting processes.

      With the exception of the proactive efforts outlined in Paragraph 5 herein, any

directives from the Court to prepare additional materials in Spanish would require

manpower and funding. A budget amendment would have to be processed by the

Pasco County Board of County Commissioners, which maintains its own procedure,

for constitutional officers, including a public hearing, which would ce1iainly cause

further delays.

      8.     The Plaintiffs have requested each Supervisor to provide in English and

Spanish, the following election-related materials: a) the official ballot; b) sample

ballots; c) absentee and early voting applications and ballots; d) provisional ballots;

e) voter registration cards and applications; f) voting instructions, g) any voter

information guides or pamphlets; h) notification of elections and polling place

changes; and i) polling place signage.

      As outlined in Paragraph 5 herein, certain materials identified above have

been created over the past four (4) months. In my opinion, there is not sufficient

time to re-design the various ballots, order required software from the vendor and

have said software be ce1iified by the Florida Division of Elections simultaneously

with the performance of other statutory and administrative duties. I have been in

contact with my vendor, ES&S, and it is anticipated the process for re-design and


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approval of ballots in Spanish and English would take several weeks to complete.

The additional materials, software, and manpower are not cuiTently a part of my

office budget, which would require a budget amendment request through my funding

source, the Pasco County Board of County Commissioners as outlined herein.

      9.     The Plaintiffs have requested each Supervisor to provide Spanish

translations of election-related materials, offices up for election, candidates who

have qualified, and local issues or referenda and announcements applicable to

elections in the Counties, including material and announcements provided by the

State of Florida.

      As outlined in Paragraph 5 herein, certain election-related materials have been

translated in Spanish. Any additional election materials not already translated must

be translated and a vendor legally selected to mass produce. Any additional election

materials to be produced is not within my current budget and would require

additional funding request and approval from my funding source, the Pasco County

Board of County Commissioners.

      10.    The Plaintiffs have requested each Supervisor to provide the Spanish-

English Election Terms Glossary prepared by the United States Election Assistance

Commission at each polling place.

      My office has provided the Spanish-English Election Terms Glossary

prepared by the United States Election Assistance Commission to our designated


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hotline interpreters. To mass produce the document for 110 precincts and 11 early

voting election sites is not a budgeted item. Additional funding request would have

to be initiated and approved to acquire said materials prior to the General Election

in 2018.

       11.   The Plaintiffs have requested each Supervisor to utilize a certified

translator to prepare translated materials and for the translator to ensure that bilingual

and Spanish-language material are complete, accurate, and accessible for the

Counties' Spanish-speaking voters educated in Puerto Rico.

       I have utilized the services of a professional translator who is a native of

Puerto Rico to assist in the translation of the election materials as outlined in

Paragraph 5 herein. I currently do not have a "certified" translator and would have

to locate said individual if required by the Court.        The cost associated with a

"certified" translator is not within my current budget and would require additional

funding from the Pasco County Board of County Commissioners to comply with any

court order on same.

       12.   The Plaintiffs have requested each Supervisor to ensure that English-

language election information and services available on the County's website are

available in equivalent and accurate form in Spanish, including, but not limited to,

information concerning a) polling place location; b) voter infmmation; c) absentee

voting; and d) poll workers and that Spanish-English information and materials be


                                            9
readily accessible through easily visible and identifiable Spanish-language links on

each County's website in font comparable to that of English-language sections of

the website.

      I have incorporated Google Translate, which includes Spanish on our website

and includes .pdf versions of the items outlined in the Plaintiffs' above requested

relief. Any additional modifications to our website to comply with the Plaintiffs'

demands would require the location and hiring of an expert. The cost of said expert

is not cunently budgeted and would require additional funding from my funding

source, the Pasco County Board of County Commissioners.

      13.      The Plaintiffs have requested each Supervisor to recruit, hire, train, and

assign bilingual poll workers who are able to understand, speak, write, and read

English and Spanish fluently and can provide effective translation assistance to

Spanish-speaking voters at the polls on election days and at early voting locations.

      I have made several hiring efforts of bilingual individuals including, but not

limited to, recruitment through my website, media alerts, and contacting local

community organizations. I have employed sixty (60) bilingual poll workers, three

(3) language assistance officers, and additional bilingual telephone bank employees.

I continue to seek additional bilingual poll workers for our eleven ( 11) early voting

sites and one hundred and ten (11 0) election day precincts. After all the above-

mentioned efforts and request for local resources available through the Plaintiffs'


                                            10
corporate organizations, I cannot assure this Court a bilingual poll worker can be

hired for all early voting sites and election day precincts. Additional funding would

have to be acquired from my funding source, the Pasco County Board of County

Commissioners, to retain said individuals if any additional were located.

      14.    The Plaintiffs have requested each Supervisor to provide a) at least one

bilingual poll worker at any election precinct in which there are between 100 and

249 registered voters with Spanish smnames; b) at least two bilingual poll workers

at any election precinct in which there are between 250 and 500 registered voters

with Spanish surnames; c) at least three bilingual poll workers at any election

precinct in which there are between 250 and 500 registered voters with Spanish

smnames; d) at least two bilingual election officials at each early voting location;

and e) bilingual personnel, trained in Spanish-language election terminology, on call

and available by telephone during all early voting hours and all hours when the polls

are open to provide assistance to any Spanish speaking voters.

      The first issue my office would incur is to timely identify and verify electors,

which have Spanish surnames in Pasco County, Florida. Secondly, the hiring of

requested bilingual election employees based on the Plaintiffs' arbitrary number of

voters with Spanish surnames would in all likelihood not be possible based on my

concetns outlined in Paragraph 13 herein.




                                         11
      15.    The Plaintiffs have requested each Supervisor to prominently post at

each polling place signs in English and Spanish explaining how voters can obtain

Spanish-language assistance.

      At each election day polling precinct and early voting site in Pasco County,

Florida, there is information made available to electors on how to obtain election

day assistance in English and Spanish. Any additional potential court ordered

materials would have to be designed and created. If the current signage is not

acceptable, additional funding would be required to acquire same.

      16.    The Plaintiffs have requested each Supervisor to recruit, hire, train, and

assign bilingual personnel who are able to understand, speak, write, and read English

and Spanish fluently and can provide effective translation assistance to Spanish-

speaking voters, including those who are seeking to register to vote in the Counties

or seeking to vote by absentee ballot.

      I currently employ two (2) full-time language assistance liaisons who are

available to assist all voters. Any additional manpower that may be required by this

Court would require time to recruit, train, and deploy. Additional funding to support

said efforts would be required from my funding source, the Pasco County Board of

County Commissioners.

      17.    The Plaintiffs have requested each Supervisor to train all poll officials

and other election personnel regarding the requirements of Sections 4(e) of the


                                          12
federal Voting Rights Act, 52 U.S.C. §10303(e), including the legal obligation and

means to make effective Spanish-language assistance and materials available to

voters.

      The Plaintiffs' request for training and education of my full-time election staff

and 1,500 part-time and volunteer poll workers would require additional time prior

to the General Election. Each of my full-time staff members have pre-assigned tasks,

duties, and responsibilities to successfully conduct the 2018 General Election. Any

additional training would potentially take precious time from other statutory and

administrative duties at this late date. The additional training is not within my

cuiTent budget and is conditioned on approval from my office funding source as

outlined herein.

      18.    The Plaintiffs have requested each Supervisor to provide, in addition to

the above general training, include in the training of bilingual poll officials the

following election-related materials; the official ballot; sample ballots; absentee and

early voting applications and ballots; provisional envelopes; voter registration cards

and applications; voting instructions; any voter information or pamphlets,

notification of elections and polling place changes, and polling place signage;

Spanish translations of election-related information, materials and announcements

applicable to elections in the Counties that are provided by the State of Florida; and




                                          13
a copy of the Spanish-English Election Terms Glossary prepared by the United

States Election Assistance Commission.

      In addition to the general training outlined in Paragraph 17 herein, the

Plaintiffs also seek specialized training of existing and potential new bilingual poll

workers prior to the General Election, which is outlined in Paragraph 17 above,

would require potentially additional personnel, training, and funds to accomplish

same, which are not currently budgeted.

       19.   In conclusion, during my tenure as Supervisor of Elections in Pasco

County, Florida, I am not personally aware of any qualified voter in the Plaintiffs'

proposed class who has been denied assistance to vote or cast a ballot in any election

in the past 11 Yz years. In my General Counsel's letter dated June 28, 2018 to the

representatives of Plaintiffs/organizational class, it was specifically requested that

the identification of any electors, including but not limited to voters educated in

Puerto Rico, in Pasco County who have requested assistance during any phases of

the election process and that have been denied. To date, Plaintiffs have not provided

or identified any specific elector in Pasco County, Florida who meets said criteria.

      The timing of Plaintiffs' lawsuit and request for temporary relief as a

Supervisor named in the proposed class has created and continues to create

difficulties in successfully fulfilling all our duties to complete in the Primary election

of 2018, while simultaneously working on our duties associated with the upcoming


                                            14
2018 General Election. For example, my office is simultaneously in the process of

implementing cyber security measures pursuant to the HAVA Elections Securities

Grant, which must also be completed prior to the November 6, 2018 General

Election. My full-time staff designated to timely accomplish said implementation

are the same individuals who would have the responsibility of acquiring the software

for the re-design of any ballots used in the General Election. I have taken proactive

steps since April12, 2018 as outlined herein to assist any elector that may be in the

Plaintiffs' class who are eligible to vote in Pasco County, Florida. The potential of

additional court ordered directives, at this late date, would certainly increase the

likelihood of me and my staff not successfully fulfilling all of our statutory and

administrative duties for the upcoming 2018 General Election. Simply put, the

Plaintiffs request for relief as outlined in their pleadings would require at a minimum

additional manpower, funding, and most importantly time. I respectfully believe the

issues outlined in the Plaintiffs' lawsuit should be addressed following the 2018

General Election.



      On this   d'-/   day of August, 2018, pursuant to 28 U.S.C. § 1746, I declare

under penalty of perjury that the foregoing is true and correct:



HONflL~Y
Supervisor of Elections in and for Pasco County, Florida
                                          15
EXHIBIT 18
                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

MARTA VALENTINA RIVERA               Case No. 1:18-cv-00152-MW-GRJ
MADERA, on behalf of herself and all
others similarly situated; FAITH IN
FLORIDA, HISPANIC
FEDERATION,
MI FAMILIA VOTA EDUCATION
FUND, UNIDOSUS, and VAMOS4PR,

       PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A.
BARTON,
in her official capacity as Alachua
County Supervisor of Elections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

       DEFENDANTS.

             DECLARATION OF CHARLES L. OVERTURF III,

           SUPERVISOR OF ELECTIONS OF PUTNAM COUNTY

      I, Charles L. Overturf III, according to 28 U.S.C. § 1746, hereby state:

      1.     My name is Charles L. Overturf III. I am over 18 years of age, am

competent to testify, and declare the following facts based on my own personal

knowledge.
      2.     I have served as Putnam County Supervisor of Elections for 5 ½

years. As Supervisor, my duties include preparation of ballots, administering all

aspects of voting, including vote-by-mail voting, early voting, and election day

voting, hiring and training election workers, voter registration activities, voter

education, and maintaining election equipment.

      3.     I am currently overseeing final preparations for the primary election.

This includes last minute changes to election workers, processing of the final mail

ballot requests, preparing for the final canvassing board meetings, insuring all

polling places have the proper equipment and supplies, conducting the final days of

early voting, along with many other items that are important for a successful

primary election. Preparations for the general election have already begun to

include, ordering of ballot paper, materials for vote-by-mail ballots, election

worker training, proofing of front page sample ballot and beginning stages of ballot

programming have already been completed.

      4.     My understanding is that the Plaintiffs in this case seek an injunction

ordering thirty-two of the State’s Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      5.     I currently have a bilingual election worker in the polling location

where I have the largest number of Spanish speaking voters. The Elections Office




                                           2
website has the capability of providing most all of the information in the Spanish

language.

      6.      Based on my experience and the specific circumstances here in

Putnam County, I will not be able to provide most of the requested relief in time

for the November 6, 2018 general election.

      7.      The Plaintiffs want each Supervisor to provide information in Spanish

about all stages of the electoral process pertaining to the issuance of notifications,

announcements, and other informational materials concerning the opportunity to

register, voter registration deadlines, the times, places, and subject matters or

elections, and the absentee and early voting processes; provide, in English and

Spanish, the following election-related materials: a) the official ballot; b) sample

ballots; c) absentee and early voting applications and ballots; d) provisional ballots;

e) voter registration cards and applications; f) voting instructions; g) any voter

information guides or pamphlets; h) notification of elections and polling place

changes; and i) polling place signage.

           a. First and foremost, the addition of a Spanish language ballot will add

              an additional 3 weeks to the programming and database design for the

              general election ballot, and equipment testing, as per the elections

              system vendor. Federal law states we must send out ballots to our

              UOCAVA voters by Sept. 21 so this change, if ordered, will make it


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             impossible for us to accomplish this. Also, this proposed order will

             double the cost of printing ballots, sample ballots, signage,

             advertisements, etc. from an already approved budget in a financially

             restrained county.

      8.     The Plaintiffs want each Supervisor to utilize a certified translator to

prepare translated materials. The translator shall ensure that bilingual and Spanish-

language material are complete, accurate, and accessible for the Counties’ Spanish-

speaking voters educated in Puerto Rico; recruit, hire, train, and assign bilingual

poll workers who are able to understand, speak, write, and read English and

Spanish fluently and can provide effective translation assistance to Spanish-

speaking voters at the polls on election days and at early voting locations; provide

a) at least one bilingual poll worker at any election precinct in which there are

between 100 and 249 registered voters with Spanish surnames; b) at least two

bilingual poll workers at any election precinct in which there are between 250 and

500 registered voters with Spanish surnames; c) at least three bilingual poll

workers at any election precinct in which there are between 250 and 500 registered

voters with Spanish surnames; d) at least two bilingual election officials at each

early voting location; and e) bilingual personnel, trained in Spanish-language

election terminology, on call and available by telephone during all early voting




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EXHIBIT 19
EXHIBIT 20
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION


 MARTA VALENTINARIVERA                Case No. 1:18-cv-00152-MW-GRJ
 MADERA, on behalf of herself and all
 others similarly situated; FAITH IN
 FLORIDA, HISPANIC
 FEDERATION,
 MIFAMILIA VOTAEDUCATION
 FUND, UNIDOSUS, and VAMOS4PR,

       PLAINTIFFS,

v.

KEN DETZNER, in his official
capacity as Secretary of State for the
State of Florida; and KIM A.
BARTON,
in her official capacity as Alachua
County Supervisor ofElections, on
behalf of herself and similarly-situated
County Supervisors of Elections,

       DEFENDANTS.


           DECLARATION OF TAPPIE A. VILLANE,
 SUPERVISOR OF ELECTIONS OF SANTA ROSA COUNTY, FLORIDA

      I, Tappie A. Villane, according to 28 U.S.C. § 1746, hereby state:

      1.    My name is Tappie A. Villane. I am over 18 years of age, am competent

to testify, and declare the following facts based on my own personal knowledge.
       2.     I have served as Santa Rosa County Supervisor of Elections for 6 years.

As Supervisor, my duties include preparation of ballots, administering all aspects of

voting, including vote-by-mail voting, early voting, and Election Day voting, hiring

and training election workers, voter registration activities, voter education, and

maintaining election equipment.
                                                                                     I
       3.    My office is currently in the second week of Early Voting for the

Primary Election. Election Day is next week, August 28, 2018. The remainder of

this week will be busy with canvassing board duties, loading trucks with equipment

and supplies, training Election Day clerks on last minute items prior to Election Day

and ensuring ballots/materials are ready to be delivered to 41 precincts. Early Voting

will conclude on Saturday, August 25 at 4:30 p.m. Central Time and

equipment/supplies will be delivered back to the main office where they will be

stored. Once the Primary Election is certified, we then immediately turn our focus

to the General Election.

      4.     My understanding is the Plaintiffs in this case seek an injunction

ordering thirty-two of the State's Supervisors of Elections, including myself, to

provide several forms of aid to non-English speaking Puerto Rican voters.

      5.     According to Fl. Statute 97.061, an elector who requires assistance is

entitled to receive assistance at the polling place. The clerk will provide a declaration

to secure assistance form to the voter (Fl. Statute 101.051) so it can be completed.


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      6.       Based on my experience and the specific circumstances here in Santa

Rosa County, I will not be able to provide most of the requested relief in time for the

November 6, 2018 general election.

      7.       My understanding of the Plaintiffs request and my response to each

request is as follows:

                      Relief Requested in Preliminary Injunction
      Provide information in Spanish about all stages of the electoral process
      pertaining to the Issuance of notifications, announcements, and other
      informational materials concemmg the opportunity to register, voter
      registration deadlines, the times, places, and subject matters or elections, and
      the absentee and early voting processes;
  1
      We provide notifications, announcements and other informational materials
      well in advance of an election cycle. For example, the current 2018 election
      cycle election information was advertised in June 2018, so that would require
      us to re-advertise immediately. On such short notice, the cost would be
      considerably higher. The current budget does not have the funds to cover these
      costs, nor does the budget that will become effective October 1, 2018.
      Provide, in English and Spanish, the following election-related materials: a) the
      official ballot; b) sample ballots; c) absentee and early voting applications and
      ballots; d) provisional ballots; e) voter registration cards and applications; f)
      voting instructions; g) any voter information guides or pamphlets; h)
      notification of elections and polling place changes; and i) polling place signage;

           a) The official ballot would have to be translated into Spanish. Additional
              testing along with additional personnel for testing purposes would be
 2
              required. Additional ballot stock would need to be ordered for each
              precinct. Santa Rosa County does not currently have a Spanish license
              for the ADA equipment, so one would need to be acquired by the vendor.
              Upon the request for the license, the vendor would need to send it to the
              state to be certified for our county. Timeframe on this is unknown.
           b) Currently, sample ballots are printed in English and mailed to all
              households along with being published in a newspaper of general

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      circulation. These ballots would need to be translated and additional
      costs would be incurred due to the fact there would be additional
     mailings and advertising requirements. The current budget does not have
     the funds to cover these costs, nor does the budget that will become
      effective October 1, 2018.
 c) Absentee cards (applications) are currently printed in English and would
     need to be translated into Spanish. The current budget does not have the
     funds to cover these costs, nor does the budget that will become effective
     October 1, 2018. Early Voting ballots are printed from the Ballot on
     Demand system, so the vendor would need to be contacted to find out if
     providing a Spanish ballot would be possible.
d) All provisional ballot envelopes are currently printed in English and
     would need to be translated and printed in Spanish. The current budget
     does not have the funds to cover these nor does the budget that will
     become effective October 1, 2018.
e) Voter registration cards are currently printed in English and would need
     to be translated and printed into Spanish. The current budget does not
     have the funds to cover these costs, nor does the budget that will become
     effective October 1, 2018. Voter registration applications are provided
     in Spanish by the State and an individual also has the opportunity to
    register to vote online and can choose a Spanish application.
f) Voting instructions are provided in Spanish by the State and they would
    need to be requested prior to the beginning of Early Voting and Election
    Day.
g) Voter Guides are currently printed in English and would need to be
    translated and printed in Spanish. The current budget does not have the
    funds to cover these nor does the budget that will become effective
    October 1, 2018.
h) We provide notifications and polling place changes well in advance of
    an election cycle. For example, the current 2018 election cycle election
    information was advertised in June, so that would require us to re-
   advertise immediately. On such short notice, the cost would be
   considerably higher. The current budget does not have the funds to cover



                                4
          these costs, nor does the budget that will become effective October 1,
          2018 .
       i) Santa Rosa County has 41 precincts. Current signs are in English and
          they are permanent at each Polling Place location. New signs would need
          to be ordered and installed by the county prior to Election Day. Early
          Voting signs are also in English and would need to be ordered in time
          for Early Voting which begins on October 22,2018. New signage would
          require additional funds . The current budget does not have the funds to
          cover these costs, nor does the budget that will become effective October
          1, 2018.

    Provide Spanish translations of election-related materials, offices up for
    election, candidates who have qualified, and local issues or referenda and
    announcements applicable to elections in the Counties, including materials and
    announcements provided by the State ofFlorida;
3
    There is no one currently on staff to translate these election materials. A person
    would need to be identified, hired and trained immediately following the
    primary election. The current budget does not have the funds to cover these
    costs, nor does the budget that will become effective October 1, 2018.
    Provide the Spanish-English Election Terms Glossary prepared by the United
    States Election Assistance Commission at each polling place;

4   The Spanish-English Election Terms Glossary would need to be printed for all
    41 precincts and 4 Early Voting locations. This is an additional cost the current
    budget does not cover, nor does the budget that will become effective October
    1, 2018.
    Utilize a certified translator to prepare translated materials. The translator shall
    ensure that bilingual and Spanish-language material are complete, accurate, and
    accessible for the Counties' Spanish-speaking voters educated in Puerto Rico;
5
    Would need to identify, hire and train a certified translator. This translator
    would also need to be educated in Florida Election Law. The current budget
    does not have the funds to cover these costs, nor does the budget that will
    become effective October 1, 2018.
    Ensure that English-language election information and services available on
6
    the County's website are available in equivalent and accurate form in Spanish,

                                         5
     including, but not limited to, information concerning a) polling place location;
     b) voter information; c) absentee voting; and d) poll workers.
     Spanish-language information and materials shall be readily accessible throu~h
     easily visible and identifiable Spanish-language links on each County's website
     in font comparable to that ofEnglish-language sections of the website;

     We would need to coordinate with current website vendor to see if this can be
     provided. We have no control over the County website and we are unsure if we
     would be able to make the necessary changes to the County website.
     Provide information in Spanish on the County's website and at polling places
     that any voter who requires assistance to vote in English may bring a helper to
     assist them in reading the ballot.

     Polling place signage is currently printed in English and would require
7
     translation and would need to be printed for all 41 Santa Rosa County precincts.
     We would need to contact the website vendor to see if this can be provided.
     According to Fl. Statute 97.061, if a voter needs assistance at the polling place
     they may fill out a declaration to secure assistance form and receive the
     assistance they need in the voting booth.
     Recruit, hire, train, and assign bilingual poll workers who are able to
     understand, speak, write, and read English and Spanish fluently and can provide
     effective translation assistance to Spanish-speaking voters at the polls on
     election days and at early voting locations;

8   Currently we do not require our poll workers to be bilingual. It would require
    us to identify who among our current poll workers, if any, can provide effective
    translation assistance. We likely do not have enough to cover all 41 election
    day precincts and 4 early voting sites. Therefore, we would need to identify,
    hire and train additional poll workers who meet those requirements. The current
    budget does not have the funds to cover these costs, nor does the budget that
    will become effective October 1, 2018.
     Provide a) at least one bilingual poll worker at any election precinct in which
    there are between 100 and 249 registered voters with Spanish surnames; b) at
    least two bilingual poll workers at any election precinct in which there are
9   between 250 and 500 registered voters with Spanish surnames; c) at least three
    bilingual poll workers at any election precinct in which there are between 250
    and 500 registered voters with Spanish surnames; d) at least two bilingual
    election officials at each early voting location; and e) bilingual personnel,
    trained in Spanish-language election terminology, on call and available by

                                       6
      telephone during all early voting hours and all hours when the polls are open to
      provide assistance to any Spanish speaking voters;

      It is not clear to us what constitutes a "Spanish surname," how this would be
      identified, and what relevance it has to whether or not a person needs Spanish
      language translation assistance. Currently we do not require our poll workers
      to be bilingual. It would require us to identify who among our current poll
      workers, if any, can provide effective translation assistance. We likely do not
      have enough to cover all 41 election day precincts and 4 early voting sites.
      Therefore, we would need to identify, hire and train additional poll workers
      who meet those requirements. The current budget does not have the funds to
      cover these costs, nor does the budget that will become effective October 1,
      2018.
     Prominently post at each polling place signs in English and Spanish explaining
     how voters can obtain Spanish-language assistance;

10   Signs would need to be created in English and Spanish and posted in all 41
     precincts. The current budget does not have the funds to cover these nor does
     the budget that will become effective October 1, 2018.

     Recruit, hire, train, and assign bilingual personnel who are able to understand,
     speak, write, and read English and Spanish fluently and can provide effective
     translation assistance to Spanish-speaking voters, including those who are
11   seeking to register to vote in the Counties or seeking to vote by absentee ballot.

     Would need to identify, hire and train bilingual personnel. The current budget
     does not have the funds to cover these costs, nor does the budget that will
     become effective October 1, 2018.
   Train al! poll officials and other election personnel regarding the requirements
   ?f Se~t10n 4(e) of the federal Voting Rights Act, 52 U.S.C. §10303(e),
   mc~udmg the legal obligation and means to make effective Spanish-language
12 assistance and materials available to voters

     All poll officials and election personnel (staff) would need to be trained
     immediately following the Primary Election on August 28, 2018.




                                        7
      In addition to the above general training, include in the training of bilingual
      poll officials the following election-related materials: the official ballot; ~a~ple
      ballots; absentee and early voting applications and ballots; provisiOnal
      envelopes; voter registration cards and applications; voting instructions; any
      voter information or pamphlets, notification of elections and polling place
      changes, and polling place signage; Spanish translations of election-related
   13 information, materials and announcements applicable to elections in the
      Counties that are provided by the State of Florida; and a copy of the Spanish-
      English Election Terms Glossary prepared by the United States Election
      Assistance Commission.

        All poll officials and election personnel (staff) would need to be trained in the
        above areas immediately following the Primary Election on August 28, 2018.


        8.     Election cycles are planned well in advance and many things are done

 months ahead of time such as training poll workers, preparing election materials,

 advertising, preparing ballots and educating voters regarding the upcoming

 elections. Once the primary election is certified, time is of the essence. UOCA VA

 (Uniformed and Overseas Absentee Voting Act) ballots will be mailed out on Friday,

September 21, 2018 and domestic ballots will be mailed on Tuesday, October 2,

2018. If Spanish materials are required to be implemented prior to the General

Election, time and money are of great concern. The current budget does not have

additional funds available nor does the new budget which will be effective October

1, 2018. Identifying, hiring, and training staff and poll workers who are bilingual is

also a concern. Acquiring a Spanish license from our vendor for the ADA equipment

is also a concern, due to the fact the State must certify the version for our county and

the time frame for this is unknown. Since being elected in 2012 and taking office in
                                           8
 January 2013, I have not been approached by someone needing this assistance. It

 also concerns me that a person's secret ballot could be compromised in the event

 there is only one voter in a particular precinct that casts a Spanish ballot. It could

 easily be determined how that person voted. This would be a violation of Fl. Statute

 101.041. There is simply not enough time prior to the General Election to implement

 all of the items that need to be completed.

       On August 24, 2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct.

       FURTHER AFFIANT SAYETH NOT.




                                                TAPP    A. VILLANE

STATE OF FLORIDA
COUNTY OF SANTA ROSA

      SWORN TO AND SUBSCRIBED before me this 24th day of August 2018,

by T APPlE A. VILLANE, who personally appeared before me and who [ ~] is

personally known to me or . __[_ __.] produced _ _ _ _ _ _ _ _ as identification.




                                               NOTARY PUBLIC, State of Florida

                                               Printed Name:   {\11 ~ke lie   K Pee. ters e'
                                               My Commissioner Expires:       z J 11   (a 1

                                         9
. c-
EXHIBIT 21
EXHIBIT 22
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

 MARTA VALENTINA RIVERA                             Case No. 1:18-cv-00152-MW-GRJ
 MADERA, on behalf of herself and all
 others similarly situated; FAITH IN
 FLORIDA, HISPANIC FEDERATION,
 MI FAMILIA VOT A EDUCATION
 FUND, UNIDOSUS, and V AMOS4PR,

         PLAINTIFFS,

 v.

 KEN DETZNER, in his official
 capacity as Secretary of State for the
 State of Florida; and KIM A. BARTON,
 in her official capacity as Alachua
 County Supervisor of Elections, on
 behalf of herself and similarly-situated
 County Supervisors of Elections,

         DEFENDANTS.

                          DECLARATION OF HENRY F. WELLS,

                SUPERVISOR OF ELECTIONS OF WAKULLA COUNTY

       I, Henry F. Wells, according to 28 U.S .C. § 1746, hereby state:

       1.      My name is Henry F. Wells. I am over 18 years of age, am competent to testify,

and declare the following facts based on my own personal knowledge.

       2.      I have served as Wakulla County Supervisor of Elections for 9.5 years. As

Supervisor, my duties include preparation of ballots, administering all aspects of voting,

including vote-by-mail voting, early voting, and Election Day voting, hiring and training election

workers, voter registration activities, voter education, and maintaining election equipment.

       3.      First and foremost we are working to educate the citizens on the voting process

and to get all eligible persons to register and then vote. Continuing to work list maintenance to
keep a working clean voter records. As with all elections we work to ensure all Election related

materials are available to the citizens of Wakulla County. Once the names of a[ candidates are

released for the ballot we start the coding process, we then create ballots for them to be printed in

order to mail UOCAV A ballots at least 45 days before the election and all other mailed 35-28

days before election. While they're being processed we are getting ready to start Early Voting

while mailing out mail ballots then, Election Day. Once the Primary is over the process starts

over to prepare for the General Election. The time between the Primary and General is short to

have everything ready (coding, ordering ballots and testing before mailing ballots) in time to

mail UOCAVA ballots. The process can be very taxing to have everything ready from the

primary election to the general election.

        4.     My understanding is that the Plaintiffs in this case seek an injunction ordering

thirty-two ofthe State's Supervisors of Elections, including myself, to provide several forms of

aid to non-English speaking Puerto Rican voters.

        5.     Currently we have had no need to supply ballots in any other language during my

term in office starting January 2009 until current time August 24, 2018. As Supervisor of

Elections in Wakulla County, we have had NO request for a ballot in any other language except

English. As Supervisor of Elections, I believe that the citizens of this County would ask for the

information needed even if in another language. As we prepare for future elections if needed we

would make every effort to supply our citizens with what is needed.

        6.     Based on my experience and the specific circumstances here in Wakulla County, I

will not be able to provide all of the requested relief in time for the November 6, 2018 general

election.




                                                 2
        7.        The Plaintiffs want each Supervisor to implement new software to enable the

processing and creating Spanish Ballots, try to locate translators; then to top that off my budget

for the upcoming cycle has already been approved without monies for any major change. This

would be a major change to implement before the General Election and almost impossible to

complete in so short a time frame.

             a. Major cost increase to our current budget without any reason for things not

                  needed at the current time and near future.

        8.        The Plaintiffs want each Supervisor to locate and train bilingual poll workers in a

rural area where we have a few people that speak the Spanish language fluently.

             a. I feel we would have a hard time finding translators plus the cost of having

                  someone to translate, we are a small county with limited funds. This would be an

                  additional cost we were not expecting.

             b.   The Plaintiffs request at least one bilingual poll worker for 100 to 250 registered

                  voters with Spanish sir names and 2 bilingual workers for 250 to 500 registered

                  voters with Spanish sir names ECT.

             c. I am not sure that we have more than 250 within the entire County that are

                  registered as Spanish (Hispanic). We work to make sure that all registered voters

                  in this County are given the tools needed to cast their ballot without any major

                  Issues.

       9.         Remember that the time frame from the Primary Election until the General

Election is only 68 days to complete all aspects of the Election, receiving the names from the

state of all candidates that will be placed on the ballot, then coding the election, proofing so that

all information is correct, creating the ballot layout, producing the ballots PDF to order ballots



                                                   3
for the General Election, and testing the systems to ensure it is ready to use for early voting and

election day. This is something that would create a major increase of cost of running an election

and in a small county that is a problem to find the funds to complete the request.




On August 23,2018, pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct:




ri:twfkk::
Henry F. Wells




                                                 4
EXHIBIT 23
